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35-10 Broadway
Suite 201
Astoria, New York 11106
Tel. (718) 522-1117
Norma E. Ortiz, Esq.
email@ortizandortiz.com
Counsel to Certa Dose, Inc.

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

    In re:                                                          Case No. 21-11045-lgb

         Certa Dose, Inc.,                                          Chapter 11


                  Debtor-in-Possession
                       DECLARATION OF DR. CALEB S. HERNANDEZ IN
                      OPPOSITION TO COPIC INSURANCE COMPANY’S
                            MOTION TO TRANSFER VENUE TO THE
                             UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF COLORADO
              Dr. Caleb S. Hernandez, president of the above-captioned debtor in possession (the

    “Debtor”), hereby declares as follows:

             1.     I am the CEO and founder of Certa Dose, Inc. (“Certa Dose” or “Debtor”). I

make this Declaration in support of my and the Debtor’s opposition to the motion [Doc. No.

36] filed by COPIC Insurance Company (“COPIC”),1 to transfer venue pursuant to 28

U.S.C.§1412 to the U.S. Bankruptcy Court for the District of Colorado (the “Motion”). Unless

otherwise set forth herein, I have personal knowledge of the matters set forth herein and if

called as a witness could and would testify competently thereto.



1Which is joined by Stephen R. Hoffenberg, M.D. Alan Young Synn, M.D., David K. Hurley, M.D., Brian C.
Harrington, M.D. Niles Cole; Geraldinse A. Lewis-Jenkins; Matthew Flieshman, M.D. Theodore J. Clarke, M.D.;
Katherin Driscoll, as Trustee of the 2015 LFD III Grat-Trust U/A/D 8/26/15; Phoebe Fisher, M.D.; Thomas S.
Cowan; and Anthony R. Mayer (collectively, the “Individual Movants”)
{00085228 }                                           1
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        2.     I am a practing seventeen-year Doctor of Osteopathic medicine having trained

and worked as an emergency room physician since 2004. In my career as a frontline doctor, I

have experienced and treated thousands of patients As described in my Declaration made

pursuant to Local Bankruptcy Rule 1007-2 [Doc. No. 12], as amended, in the course of treating

my patients I witnessed first-hand the dangers posed by inadvertent overmedication (termed

“dosing errors”) which can routinely lead to death or serious injury. I further learned that, in

the U.S. alone, dosing errors by medical professionals harm 140,000 children per year, 7,000

of which will result in death from such errors.

        3.     These realizations led me to invent and patent the technology behind Certa Dose

which is used by the company today. I created and founded Certa Dose in 2013 and the

products it sells include devices for delivering medicine to children and others in a way that

significantly reduces, and virtually eliminates, the risk of life-threatening over dosing in

addition to providing a much needed EpiPen alternative that is a fraction of the cost of that

product, amongst other exciting products and therapeutics.

Debtor’s Choice of Venue in New York City

        4.     Although the Debtor originated in Colorado, where I practiced at the time of its

inception, it was incorporated in Delaware, and its headquarters were relocated to New York in

2018. Indeed, it was COPIC and the Debtor’s former CFO, John Blood (“Mr. Blood”) who

insisted that I relocate to New York City full-time in 2018 to pursue the robust opportunities

offered by the New York City marketplace. Those opportunities included expanding and

developing my long-time involvement with the well known pharmaceutical company Johnnson

& Johnson (“J&J”) through its JLabs Innovations incubator in New York City amongst others.



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          5.     Since my and Certa Dose’s move to New York, I, on a daily basis on behalf of

Certa Dose travel to the office in New York City from my home in the city2 engage with

existing and prospective business partners and customers in New York and in New Jersey, and

devote my efforts as CEO of the Debtor towards growing the company here. In fact, more than

85% of Certa Dose’s revenue are generated in New York City.3 These include extensive

meetings which often occur on very short notice with prospective partners locally. Both the

Debtor and myself pay taxes in New York City and regularly conduct business here.

          6.     By way of example, in addition to its relationships with J&J, in recent weeks

Certa Dose has entered into, amongs others, an extremely valuable healthcare network

partnership agreement which makes Certa Dose products “preferred products” in over 5000

healthcare systems nationwide.4 All of the discussions involving Certa Dose’s preferred status

and the key persons involved are in and around New York City. Because of its proximity and

location in New York City, Certa Dose has also received interest from numerous city and state

government agencies for its life-saving products including, first responders. Certa Dose’s

location in New York City and the access it provides to the robust pharamecutical and life

science companies based in around the tri-state area, are nothing short of critical for the

companies day-to-day operation. This includes frequent weekly trips from New York City to

New Jersey known as the “Life Science State,” where many pharmaceutical and life science

companies have offices as well.



2   Particularly now that New York City’s lockdowns have been largely lifted.
3Debtor’s inventory is not maintained in Colorado but in warehouses outside of New York City
and Massachusettes primarily in the care of third-party logistics providers.
4In addition to the over 200 local customers (which includes the State of New York) which are
all located in and around New York City.
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        7.     In connection with the administration of the Debtor’s case, the Debtor has

retained its counsel in New York City and I have also indivudally retained counsel in New

York City as well. The Debtor also does banking in New York City and receives mail in New

York City.    Further in connection with the bankruptcy case, Certa Dose has already

commenced making preperations for an exit from chapter 11 and in that vein has met with a

number of New York City based investors and DIP lenders.5 My responsibilities to the Debtor

including, medical research, investor relations, and other essential work require me to be in

New York City. Because of my extensive involvement with the day-to-day operations of Certa

Dose, it will be difficult if not impossible to continue to attend to my daily activities with

regards to the Debtor with the Debtor’s bankruptcy case proceeding in Colorado. 6

        8.     Finally, a number of other shareholders in Certa Dose support venue of this

proceeding in New York City as they recognize it is in the overall best interests of the

Company to reorganize in a recognized and highly sophisticated judicial forum. Annexed

hereto as Exhibit “A” are true and accurate copies of Declartions of three separate

shareholders of Certa Dose which support the companies ororganization efforts in New York

City.

The COPIC Allegations as to Venue

        9.     Following my ascendance to CEO of Certa Dose (and my move to New York

City) at the behest of COPIC and Mr. Blood, Mr. Blood stepped into the role of CFO of Certa

Dose. I later learned that Mr. Blood and COPIC had intended for my absence to conceal from


5I anticipate Certa Dose will in the coming weeks bring on application for approval to the
Bankrutpcy Court in this regard.
6Notably, Certa Dose does not even have desk space in Colorado mainting only a virtual office
which costs the Debtor approximately $75.00 per month.
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me and others what he and COPIC had been plotting for many months - to recklessly drive-up

the Debtor’s expenditures to such an extent that a valuation of Certa Dose in a forthcoming

funding round would enable a hostile take-over of Certa Dose by COPIC and those individuals

who appear to have conspired with COPIC.

        10.    More specifically, COPIC’s primary means of executing this takeover was

through surruptiously maniupulating the financial position of Certa Dose following a carefully

plotted Series Seed 2 Preferred Stock Purchase Agreement which was issued between May 26,

2016 and June 13, 2016 (the “Series Seed 2”). At that time, Certa Dose was represented by the

Cooley LLP law firm (“Cooley”); however, Cooley was irretrievably conflicted in those

transactions and rather it appears that, rather than represent Certa Does in the Series Seed 2, it

Cooley attempted to deliver Certa Dose into the hands of COPIC. This would result in

extensive litigation for which the Debtor has asserted claims against those responsible.

        11.    Pursuant to the Series Seed 2, Certa Dose, with Cooley LLP as its counsel,

issued an Amended and Restated Investor Rights Agreement, Amended and Restated Co-Sale

Agreement, Amended and Restated Voting Agreement, in addition to Note Purchase

Agreements and Convertible Promissory Note (collectively, the “COPIC Agreements”). These

agreements which are discussed in the Motion at least in part, while relevant to those disputes,

do not bear upon the administration of Certa Dose’s chapter 11 bankruptcy case.

        12.    Having learned of COPIC and Mr. Blood’s transgressions, I as the largest

shareholder and on behalf of the those individuals and other investors who would fall victim to

COPIC’s plot in December of 2019 iniated protective measures for the company and




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authorized the initation of a complaint in the Supreme Court of the State of New York,7

Queens County, Commercial Division captioned Certa Dose, Inc. vs. COPIC et al., Index No.

720576/2019 (the “NY Action”). 8 Though the NY Action was ultimately dismissed on the

basis of forum selection clauses it was due to what the NY Court reasoned was a a question of

personal jurisdiction over those defendants in light of the forum selection clauses. Annexed

hereto as Exhibit “B” is a true and accurate copy of the Amended Complaint in the NY

Action. In the Debtor’s chapter 11 case, jurisdiction is not at issue whatsoever.

           13.      On February 19, 2021, Certa Dose initiated litigation captioned Certa Dose, Inc.

vs. COPIC Insurance Co. et al., Case No. 2021CV30160, in the District Court of Jefferson

County Colorado (“Jefferson County Action”). A true and accurate copy of the complaint in

the Jefferson County Action is annexed hereto as Exhibit “C.”

           14.      On January 19, 2021, Certa Dose initiated an action in the District Court of the

City and County of Denver Colorado captioned Certa Dose, Inc. vs. John Blood, Case No.

2021CV30193 (the “Denver Action”). Annexed hereto as Exhibit “D” is a true and accurate

copy of the complaint in the Denver Action.

           15.      Contrary to the allegations of COPIC and the Individual Movants, it has been

difficult and costly for both Certa Dose and myself to defend itself in the actions venued in

Colorado due specifically to the attendant needs of Certa Dose to attend to its day to day

operations. I believe that COPIC’s intention is to detract the Debtor from attending to the

orderly and natural proliferation of its life-saving technology in order to stifle growth increase

its debts in an blatant effort to consummate its takeover.


7   Notably the Debtor then asserted New York was its principal place of business at the time of that lawsuit.
8   At the time Certa Dose had two locations in New York, one in New York City and another in Queens.
{00085228 }                                                 6
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          I hereby declare that the foregoing is accurate and true to the best of my knowledge and
belief.
 Dated:       July 7, 2021
              New York, New York
                                                      ______________________________
                                                      Dr. Caleb S. Hernandez




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                             EXHIBIT A
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Fax. (888) 833-9534
Counsel to Dr. Caleb S. Hernandez

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

 In re:                                                       Case No. 21-11045-lgb

       Certa Dose, Inc.,                                      Chapter 11


               Debtor-in-Possession

                            DECLARATION OF DANIEL EASON

          DANIEL EASON, hereby declares pursuant to 28 U.S.C. § 1746, as follows:

          1.    By virtue of my interest in RBW2078 LLC, I control equity interests in the

Debtor, Certa Dose, Inc. (“Debtor” or “Certa Dose”). My company owns preferred stock

totaling 26,680 shares since 2017. I make this declaration in support of Dr. Caleb Hernandez

and the Debtor’s opposition to the motion filed by COPIC Insurance Company (“COPIC”)

seeking to transfer venue of Debtor’s chapter 11 case to the District of Colorado.

          2.    I along with my company reside in the State of Texas. I am aware of the

Debtor’s and Dr. Hernandez’s efforts to preserve the assets of Certa Dose for all of its various

stakeholders. I support the Debtor’s laying of venue in the U.S. Bankruptcy Court for the

Southern District of New York as Certa Dose has achieved significant milestones under Dr.

Hernandez’s leadership in the years since relocating to New York and I believe its presence in

New York, close to key pharmaceutical partners and industry figures, is essential to its

continued expansion of its key products.
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          I hereby declare that the foregoing is accurate and true to the best of my knowledge and

belief.


 Dated:       July 7, 2021

                                                      /s/ Daniel Eason
                                                      Daniel Eason




                          {00085226 }                                     2
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Counsel to Dr. Caleb S. Hernandez

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

 In re:                                                      Case No. 21-11045-lgb

       Certa Dose, Inc.,                                     Chapter 11


               Debtor-in-Possession

                            DECLARATION OF ANDREW GLASER

          ANDREW GLASER, hereby declares pursuant to 28 U.S.C. § 1746, as follows:

          1.    I am a stockholder of the Debtor, Certa Dose, Inc. (“Debtor” or “Certa Dose”),

owning preferred stock totaling 19,352 shares. I first invested in the Debtor in 2017. I make

this declaration in support of Dr. Caleb Hernandez and the Debtor’s opposition to the motion

filed by COPIC Insurance Company (“COPIC”) seeking to transfer venue of Debtor’s chapter

11 case to the District of Colorado.

          2.    I reside in New York City. I am aware of the Debtor’s and Dr. Hernandez’s

efforts to preserve the assets of Certa Dose for all of its various stakeholders. I support the

Debtor’s laying of venue in the U.S. Bankruptcy Court for the Southern District of New York

as Certa Dose has achieved significant milestones under Dr. Hernandez’s leadership in the

years since relocating to New York and I believe its presence in New York, close to key

pharmaceutical partners and industry figures, is essential to its continued expansion of its key

products.
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          I hereby declare that the foregoing is accurate and true to the best of my knowledge and

belief.


 Dated:       July 7, 2021

                                                      /s/ Andrew Glaser
                                                      Andrew Glaser




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Counsel to Dr. Caleb S. Hernandez

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

 In re:                                                       Case No. 21-11045-lgb

       Certa Dose, Inc.,                                      Chapter 11


               Debtor-in-Possession

                     DECLARATION OF ROBERT WILLOUGHBY, III

          ROBERT WILLOUGHBY, III, hereby declares pursuant to 28 U.S.C. § 1746, as

follows:

          1.    I am a stockholder of the Debtor, Certa Dose, Inc. (“Debtor” or “Certa Dose”),

owning individually and through my company preferred stock totaling 13,128 shares. I first

invested in the Debtor in 2017. I make this declaration in support of Dr. Caleb Hernandez and

the Debtor’s opposition to the motion filed by COPIC Insurance Company (“COPIC”) seeking

to transfer venue of Debtor’s chapter 11 case to the District of Colorado.

          2.    I reside in the State of Texas. I am aware of the Debtor’s and Dr. Hernandez’s

efforts to preserve the assets of Certa Dose for all of its various stakeholders. I support the

Debtor’s laying of venue in the U.S. Bankruptcy Court for the Southern District of New York

as Certa Dose has achieved significant milestones under Dr. Hernandez’s leadership in the

years since relocating to New York and I believe its presence in New York, close to key



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pharmaceutical partners and industry figures, is essential to its continued expansion of its key

products.

          I hereby declare that the foregoing is accurate and true to the best of my knowledge and

belief.


 Dated:       July 7, 2021

                                                      /s/Robert Willoughby
                                                      Robert Willoughby, III




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                             EXHIBIT B
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          SUPREME                 COURT                OF THE        STATE         OF NEW YORK
          COUNTY                 OF QUEENS:                    COMMERCIAL                    DIVISION
                                                                                                                               X
          CERTA            DOSE,           INC.,




          v.
                                                                                                                                                 AMENDED               AND
          COPIC           INSURANCE               COMPANY,                                                                                       VERIFIED             COMPLAINT,
          STEVE            RUBIN,            STEPHEN   R. HOFFENBERG,                                                                            AS PER           CPLR3025(a)
          JOHN            BLOOD,             COOLEY  LLP, ALAN   YOUNG                                  SYNN,
          DAVIS           K. HURLEY,                   BRIAN         C. HARRINGTON,
          DANIEL                LEE     MILLER,             NILES          COLE,
          J. DANIEL               MILLER,               JEFFREY            ALVIN       DORSEY,
          GERALDINE                     A.    LEWIS-JENKINS,                     MARK            A. FOGG,                                        INDEx       No.:     720576/2019
          MATfHEW                     FLEISHMAN,                  THEODORE                J. CLARKE,                                             (Livote,     J.)
          MICHAEL                 L. PLATT,             KELLY         BARTLING,
          ADAM             DINOW,             THOMAS           S. COWAN,                                                                         DATE       OF INDEx       NO.      PURCHASE:
          ANTHONY                  R. MAYER,                PHOEBE   FISHER,                                                                     December           9, 2019.
          LFD       III    GRAT-TRUST                    U/A      8-26-2015,
          KATHERINE                     DRISCOLL,                 Trustee,     and LEE           F. DRISCOLL,


                                                                       Defendants.
                                                                                                                               X


                          COMES          NOW the PlaintiR                    CERTA        DOSE,          INC.,     by     and       through       undersigned          counsel,         and    for    its


          a--h=t                  of the Complaiñt                 as a matter        ofright,       made        pursuant          to CPLR        3025(a),        which         incorporates         the


                                                                                                                   the"Complaint,"
          numbered              exhibits        (NYSCEF             Nos.      176-252),          heñi;;ape                                          it alleges:


                                                                                                  PARTIES


                                                                                                                                                  DOSE"
                           1.              Plaintiff      CERTA         DOSE,         INC.        (hent;:afer           also       "CERTA                      and    the "Company"),                  is


          a foreign         business           corpomtion           from      Delaware,          with    a New       York          DOS      ID   # of 5413489             and     an initial    DOS


          filing     date       of September              20, 2018;          it has a registered             New     York          principal      office     in the    County          of Queens,



          making          Plaiñtiff's          residence          in Queens        County         pursuant        to CPLR            503(a)      and    (c), that     address        being     36-11


          206                     2d
                   Avenue                  Floor,      Astoria,      NY      11105.       It also       has a New         York        DOS        process     address        of:    CERTADOSE,


          INC.,     15 Hudson                Yards      33B,      New York,        New York,             10001.         (Being         a Delawaæ            corporation,             Defendants




                                                                                                        1



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          should          be    on     notice          that      Dekware                  hw       will     apply        to    corporate            hw        portions         of    PlaintilPs           chims,


          subject          to governing                choice         of    hw         rules.)


                          2.             Defæht                  COPIC                 INSURANCE                  COMPANY                  is a Colorado               corporation          and        a medical


          professional             liability      insurance                provider         that     conducts           busiñcss        in the state          ofNew          York.


                          3.             With       regard            to the           allegahons          of the        preceding          paragraph,            COPIC,            A   RISK      RETENTION


          GROUP           (COPIC-RRG),                   is managed                    and reinsured            by COPIC               INSURANCE                 COMPANY,                 hereiñafer             also


          "COPIC,"
                                for   multi-state              coverage                in New       York.         As     ad-hd            by    COPIC,           COPIC-RRG                 insureds          "have


          direct      relatiemhips              with      [COPIC'S]                    recognized           physiciañ           risk    -...anagers,         claims      departmcat,            underwriting


          staft       and other        team       members;                 and     [also]        have     the option          to access        [COPIC'S]              exicasive         patient       safety      and


                                               resources."1
          risk     -...aneg-=æt                                              Furthcanore,                  COPIC'S             involvement              in    CERTA           DOSE,          INC.,        was       an


          extension            of its investment                operatic                business,                      a subject        of COPIC'S             board        meetings        and       a business
                                                                                                          being


          concem           treated      at the highest                level       of governance                within         COPIC.


                          4.             Defedart                STEVE                 RUBIN            is a natural          person      who       is a resident           of the      state     of Calamda


          and who           is employal                       and/or        af Filiated          with     COPIC          INSURANCE                     COMPANY.                                 his time         with
                                                    by                                                                                                                          During


          Plaintiff        CERTA            DOSE,             INC.,        STEVE            RUBIN              was     a COPIC-appointed                      Director        on the       CERTA           DOSE


          Board          of Directors.            He was          also        on the Board                of COPIC             and     its president


                          5.             Dafæaant               STEPHEN                   R.     HC1™™BERG                        is a natural         person         who    is a resident            of the state


          of Colorado              and who         has worked                    for    and/or       is ="'ietM           with         COPIC        INSURANCE                   COMPANY.                   During


          his     time      with      Plaintiff         CERTA               DOSE,           INC.,         STEVE           RUBIN           was       a COPIC-appointed                     Director          on the



          CERTA            DOSE          Board          of     Directors,               although          he    and      COPIC           referred        to him-            following           the    arrival      of




          1
              https://www.callcopic.com/coverage-options/mpli-coverage-options/risk-retention-group
          (as     of March            26,      2020).




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                                                                                                                                            Director,"
          STEVE        RUB1N             on    the    CERTA          DOSE            Boanl-as                 an "independent                                  despite        his     allegiances           to



          COPIC,           which        are further        efaced               throughout           this       Complaint.


                       6.                Defend-t            JOHN         BLOOD              is a natural           person      who         is a resident         of the      state       of Cdarado


          and who,          during       the times          id=±hl             in this      Complaiñt,            was    an officer          of CERTA             DOSE,        INC.


                       7.                Defendant           COOLEY                  LLP       is    a    foreign        registered           limited        liability        partnership            from



          Califomia,             with    a New       York     DOS         ID    # of 3415752                  and an initial        New       York       DOS      filing   date          of September



          22, 2006;         it has a New           York      DOS process                  address    of: CORPORATION                          SERVICE              COMPANY,                 80 STATE



          STREET,            ALBANY,             NEWYORK,                      12207-2543;               and it has registered               a Principal          Executive          Office      in New


                     at·
          York               COOLEY                 LLP,      THE         GRACE                BUILDING,                  46TH         FLOOR,               1114         AVENUE               OF    THE


          AMERICAS,                     NEW YORK,              NEW YORK,                     10036-7798.


                       8.                Defendant          ALAN          YOUNG                SYNN             is a natural        person       who        is a resident           of the       state      of


          Colorado           and who          is employed            by and/or            am'4±vi          with     COPIC          INSURANCE                   COMPANY.


                       9.                Defendant           DAVIS             K.    HURLEY               is a natural             person      who        is a resident             of     the   state      of


          Celerada           and who          is employed            by and/or            aEliated         with     COPIC          INSURANCE                   COMPANY.


                           10.           Defendant          BRIAN          C. HARRINGTON                            is a natural       person        who       is a resident             of the state       of


          Colorado           and who          is employed            by and/or            sELtal           with     COPIC          INSURANCE                   COMPANY.


                           11.           Dahdant             DANIEL                 LEE     MILLER              is a natural         person       who       is a resident           of the       state      of


          Texas      and who            is a relative        of STEPHEN                   R. HOFFENBERG.


                           12.           Dahdant            NILES         COLE             is a natural         person       who     is a resident         of the state         of Colorade              and


          who     is employed             by    and/or       affiliated         with       COPIC         INSURANCE                   COMPANY.


                           13.           Defendant          GERALDINE                      A. LEWIS-JENKINS                         is a natural         person     who       is a resident         ofthe


          state   of Colorado              and who          is employed              by and/or           amliated        with      COPIC        INSURANCE                  COMPANY.




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                       14.           Defenda.nt         MARK          A. FOGG             is a natural       person        who      is a resident        of the state        of Colomdo


          is an attorney,          and   is employed          by and/or          =ªE=+cd         with      COPIC          INSURANCE                  COMPANY.


                       15.           Defendant          MATTHEW              FLEISHMAN                      is a natural        person        who     is a resident         of the    state   of


          Colorado        and who          is employed        by and/or           amlia+ad        with      COPIC          INSURANCE                  COMPANY.


                       16.           Defendant          THEODORE                  J. CLARKE                is a natural         person     who       is a resident      of the        state   of


          Colorado        and who          is employed        by and/or           aEliatal        with      COPIC          INSURANCE                  COMPANY.


                       17.           Defendant          MICHAEL              L.     PLATT            is a natural          person        who     is a resident         of     the    state    of


          Colorado        and      an attomey        with     COOLEY              LLP.


                       18.           Defendant          KELLY           BARTLING                 is a natural             person      who       is a resident          of     the    state    of


          Colorado        and      an attomey        with     COOLEY              LLP.


                       19.           Defendant          ADAM          DINOW              is a natural       person        who      is a resident        of the state        of New       York


          and    an attomey         with     COOLEY           LLP.


                       20.           Defendant          THOMAS              S.    COWAN               is a natural         person        who        is a resident      of     the    state    of


          minnic       He     is also      an amliate       of JOHN                             as noted        further      in the body            of this   Con-3,1aint.
                                                                            BLOOD,                                                                                                  See, e.g.,



          M     44 and      72, infra.


                       21.           Defendant          ANTHONY              R.     MAYER               is a natural        person        who       is a resident       of the       state    of


          Colorado.          He is also      an aEliate       of JOHN            BLOOD,           as noted       further        in the body         ofthis    Complaint.            See, e.g.,



          M     44 and      72, infra.


                       22.           Defana_ant         PHOEBE           FISHER              is a resident       of the enmmanwealth                     of Pennsylvania.              She is


          a relative     ofKATHERINE                  DRISCOLL              and LEE            F. DRISCOLL.                She is also an aEliate               of JOHN             BLOOD,


          as noted       further     in the body        of this      Coñ-3,laiñt.         See, e.g.,       M 44      and     72, infra.


                       23.           Defendant          LFD    III    GRAT-TRUST                     U/A     8-26-2015           is a trust     established         under      the laws       of


          the state      of Colomdo           with   KATHERINE                   DRISCOLL                as the trustee.           In this,    KATHERINE               DRISCOLL                 is




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                               EXHIBIT C
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                                                              DATE FILED: February 9, 2021 11:28 PM
 DISTRICT COURT, JEFFERSON COUNTY, COLORADO
                                          FILING ID: 4AB17DDBB4D35
 100 Jefferson County Parkway             CASE NUMBER: 2021CV30160
 Golden, CO 80401


 Plaintiff:
 CERTA DOSE, INC.,

 v.

 Defendants:
 COPIC INSURANCE COMPANY, a Colorado corporation; STEVE
 RUBIN; STEPHEN R. HOFFENBERG; ALAN YOUNG SYNN;
 DAVIS K. HURLEY; BRIAN C. HARRINGTON; NILES COLE;
 GERALDINE A. LEWIS-JENKINS; MATTHEW FLEISHMAN;
 THEODORE J. CLARKE; KATHERINE DRISCOLL, Trustee of
 the 2015 LFD III GRAT-TRUST U/A 8.26.15; LEE F. DRISCOLL;
 PHOEBE FISHER; THOMAS S. COWAN; and ANTHONY R.
 MAYER.
                                                                             p COURT USE ONLY p

 ATTORNEY FOR THE PLAINTIFF:                                             Case Number:
 NAME:JOSUE DAVID HERNANDEZ                                              Division:
                                                                         Courtroom:
 ADDRESS:          P.O. Box 838
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 E-Mail: jhernandez@DenverContractLaw.com
 ATTORNEY REGISTRATION NUMBER: 44509


                               COMPLAINT WITH JURY DEMAND


        Plaintiff, CERTA DOSE, INC., for its Complaint, states as follows:

                                              THE PARTIES
        1.       Plaintiff CERTA DOSE, INC. (hereinafter also “CERTA DOSE” and the “Company”), is a
foreign business corporation from Delaware, with a New York principal office 101 Avenue of the Americas,
3rd Floor NY, NY 10013. (Being a Delaware corporation, Defendants should be on notice that
Delaware law will apply to corporate law portions of Plaintiff’s claims, subject to governing choice
of law rules.) Plaintiff has a principal Colorado office at 2590 Welton St #200, Denver, CO 80205. Plaintiff



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also has a registered agent with the Colorado Secretary of State of Registered Agents Inc. with a street
address of 1942 Broadway St. STE 314C, Boulder, CO 80302.

         2.    Defendant STEVE RUBIN is a natural person who is a resident of the state of Colorado
and who is employed by and/or affiliated with COPIC INSURANCE COMPANY. During his time with
Plaintiff CERTA DOSE, INC., STEVE RUBIN was a COPIC-appointed Director on the CERTA DOSE
Board of Directors. He was also on the Board of COPIC and its president.

         3.       Defendant STEPHEN R. HOFFENBERG is a natural person who is a resident of the state
of Colorado and who has worked for and/or is affiliated with COPIC INSURANCE COMPANY. During
his time with Plaintiff CERTA DOSE, INC., STEVE RUBIN was a COPIC-appointed Director on the
CERTA DOSE Board of Directors, although he and COPIC referred to him¾following the arrival of STEVE
RUBIN on the CERTA DOSE Board¾as an “independent Director,” despite his allegiances to COPIC, which
are further referenced throughout this Complaint.

       4.      Defendant ALAN YOUNG SYNN is a natural person who is a resident of the state of
Colorado and who is employed by and/or affiliated with COPIC INSURANCE COMPANY.

       5.      Defendant DAVIS K. HURLEY is a natural person who is a resident of the state of
Colorado and who is employed by and/or affiliated with COPIC INSURANCE COMPANY.

       6.      Defendant BRIAN C. HARRINGTON is a natural person who is a resident of the state of
Colorado and who is employed by and/or affiliated with COPIC INSURANCE COMPANY.

        7.      Defendant DANIEL LEE MILLER is a natural person who is a resident of the state of
Texas and who is a relative of STEPHEN R. HOFFENBERG.

        8.     Defendant NILES COLE is a natural person who is a resident of the state of Colorado and
who is employed by and/or affiliated with COPIC INSURANCE COMPANY.

         9.      Defendant GERALDINE A. LEWIS-JENKINS is a natural person who is a resident of
the state of Colorado and who is employed by and/or affiliated with COPIC INSURANCE COMPANY.

       10.     Defendant MATTHEW FLEISHMAN is a natural person who is a resident of the state of
Colorado and who is employed by and/or affiliated with COPIC INSURANCE COMPANY.

       11.     Defendant THEODORE J. CLARKE is a natural person who is a resident of the state of
Colorado and who is employed by and/or affiliated with COPIC INSURANCE COMPANY.

          12.      Defendant THOMAS S. COWAN is a natural person who is a resident of the state of
Illinois. He is also an affiliate of JOHN BLOOD, as noted further in the body of this Complaint. See, e.g.,
EXHIBIT 1 ¶¶ 44 and 72.




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       13.      Defendant ANTHONY R. MAYER is a natural person who is a resident of the state of
Colorado. He is also an affiliate of JOHN BLOOD, as noted further in the body of this Complaint. See, e.g.,
EXHIBIT 1 ¶¶ 44 and 72.

          14.     Defendant PHOEBE FISHER is a resident of the commonwealth of Pennsylvania. She is a
relative of KATHERINE DRISCOLL and LEE F. DRISCOLL. She is also an affiliate of JOHN BLOOD,
as noted further in the body of this Complaint. See, e.g., EXHIBIT 1 ¶¶ 44 and 72.

          15.   Defendant LFD III GRAT-Trust U/A 8-26-2015 is a trust established under the laws of the
state of Colorado with KATHERINE DRISCOLL as the trustee. In this, KATHERINE DRISCOLL is a
resident of Colorado. She is a relative of PHOEBE FISHER and LEE F. DRISCOLL. She is also an
affiliate of JOHN BLOOD and has affiliated the trust, LFD III GRAT-Trust U/A 8-26-2015, with JOHN
BLOOD, as noted further in the body of this Complaint. See, e.g., EXHIBIT 1 ¶¶ 44 and 72.

       16.        Defendant LEE F. DRISCOLL is a resident of Colorado. He is a relative of PHOEBE
FISHER and KATHERINE DRISCOLL. He is an affiliate of JOHN BLOOD, as further noted in this
Complaint. See, e.g., EXHIBIT 1 ¶¶ 44 and 72.

                                        JURISDICTION AND VENUE
         17.      Because the Defendants took actions within Colorado so as to harm the Plaintiff in the ways
identified in the GENERAL ALLEGATIONS and in the CLAIMS FOR RELIEF provided below, the Defendants
took actions in Colorado that constitute torts, which constitute grounds for the assertion of jurisdiction. As
also noted above, the majority of Defendants are residents of Colorado.

         18.    Defendants STEPHEN R. HOFFENBERG and THEODORE J. CLARKE are residents
of Jefferson County, Colorado, constituting grounds for the assertion of venue in Jefferson County, Colorado.

                                       GENERAL ALLEGATIONS
                     (Description of the events upon which the claims are based)
I.    HIDDEN CONFLICTS OF INTEREST AND CIRCUMSTANCES RAISING THE INFERENCE OF
INTENT TO TAKE THE COMPANY’S ASSETS.

        19.     Plaintiff incorporates all of the preceding allegations as though fully set forth herein.

         20.     The background allegations center around the involvement that the all the Defendants had
in aiding and abetting the wrongdoing of a CERTA DOSE, INC. officer and fiduciary, JOHN BLOOD, as
well as the aiding and aiding and abetting the wrongdoing of Defendants STEPHEN R. HOFFENBERG
and STEVE RUBIN, who were Directors of CERTA DOSE, INC. at the times concerned herein, as noted
below, and who were thus fiduciaries of CERTA DOSE, INC. These background allegations are recounted
in the New York Amended Complaint, annexed as EXHIBIT 1.

        21.  JOHN BLOOD offered to help the founder and majority shareholder of CERTA DOSE,
DR. CALEB HERNANDEZ (hereinafter “DR. HERNANDEZ”), offering to help incorporate the Company on July



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12, 2013, which JOHN BLOOD did through his connections at COOLEY LLP, acting as incorporator.
Thereafter, COOLEY LLP acted as counsel for CERTA DOSE and remained its principal counsel.

        22.      With regard to the facts of the preceding paragraph, JOHN BLOOD informed DR.
HERNANDEZ: that he had previously worked with the law firm COOLEY LLP; that it was the best in the
business for startups; that COOLEY LLP was expensive, but that it was worth it; and that he could use his
connections in COOLEY LLP to perhaps negotiate a discount. JOHN BLOOD treated his ability to
bringing on COOLEY, LLP as one of the greatest assets that he brought to the table.

         23.     Upon initially meeting JOHN BLOOD’S contacts at COOLEY LLP, KELLY BARTLING
and MICHAEL L. PLATT, they informed DR. HERNANDEZ that they had worked numerous times in the
past with JOHN BLOOD, that they were familiar with how he did business, and that JOHN BLOOD was
very knowledgeable and would be able to provide good internal legal guidance for the proposed startup.
(This last statement not only served as support for JOHN BLOOD, to build confidence in him, but it is
also—as a matter of law—a false statement: people who are not lawyers cannot provide legal guidance.)

          24.       Although admittedly familiar with JOHN BLOOD’S business practices, KELLY
BARTLING and MICHAEL L. PLATT failed to inform DR. HERNANDEZ about JOHN BLOOD’S
practice of running up the debt of a company for his own personal benefit, i.e., so as to facilitate its sale (an
arrangement that financially benefited COOLEY LLP, JOHN BLOOD and the preferred stockholder investors that benefited
from the desperation, dilution and windfall resulting from the combination of JOHN BLOOD and COOLEY LLP’S efforts),
as noted further below. See, e.g., EXHIBIT 1 ¶¶ 44, 57, 67-72, 75-77, 109-111. In fact, what they did
communicated at the time was not only false, as noted above, but also served to conceal this material
information. In all of their dealings with CERTA DOSE, neither COOLEY LLP, KELLY BARTLING,
MICHAEL L. PLATT, nor any other COOLEY LLP attorney ever informed CERTA DOSE of JOHN
BLOOD’S modus operandi, despite purportedly not representing JOHN BLOOD.

           25.       The facts addressed in the preceding three paragraphs¾particularly when taken in light of the
totality of the circumstances addressed in this Complaint¾raise the inferences that: (1) COOLEY LLP’S startup
practice, as well as the attorneys concerned, benefited financially from its relationship with JOHN BLOOD;
(2) the attorneys and firm concerned treated the relationship with JOHN BLOOD as more valuable or
important to them than the fiduciary obligations that they owed to a client and to a prospective client; (3) the
attorneys and firm concerned were willing to repeatedly engage in a pattern, and in a relationship, that
profited them, which involved the kinds of business practices that this Complaint attributes to JOHN
BLOOD, as well as a degree of sanction for JOHN BLOOD’S business practices; (4) the attorneys and firm
concerned were willing to conceal the material dangers implicated from those to whom they owed fiduciary
obligations, showing more loyalty to JOHN BLOOD than to their fiduciary; and (5) the attorneys and firm
concerned entered this arrangement with JOHN BLOOD knowingly and intentionally, acted with knowledge
of the results that JOHN BLOOD had and would likely have, and also, therefore, acted with intent in all of
their dealings, as addressed in this Complaint, infra.

           26.        Upon the preceding facts (e.g., EXHIBIT 1 ¶¶ 26-30, supra), upon the totality of the
circumstances, as well as upon information and belief, it is evident that COOLEY LLP and JOHN BLOOD
used concealment of the actual nature of their relationship and modus operandi¾through failures to disclose,
failures to give informed consent, coupled with waiver instruments such as arbitration agreements¾to preserve their ability to


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gain the confidence of future startups in a pattern that benefited them financially, allowing them a continued
means to serve up startups to venture capital firms and other predatory investors.

         27.      In its investigation for this litigation, CERTA DOSE has discovered that COOLEY LLP
has used this same model of practice with at least one other startup, further raising an inference that this is its
modus operandi with regard to startups. See EXHIBIT 1 ¶¶ 26-31, supra.

         28.     On or about December 19, 2014 through December 22, 2019, COOLEY LLP purportedly
represented CERTA DOSE in all matters concerned regarding an AMENDED AND RESTATED
CERTIFICATE OF INCORPORATION OF CERT A DOSE, INC., which was amended to account for
the sale of preferred stock¾through number of agreements that are incorporated herein by reference¾to Defendant
COPIC INSURANCE COMPANY, who COOLEY LLP also represented. A true and accurate copy of the
SERIES SEED PREFERRED STOCK FINANCING binder, containing the AMENDED AND
RESTATED CERTIFICATE OF INCORPORATION at 64-81 thereof. The principal attorney from
COOLEY LLP involved in these dealings was MICHAEL L. PLATT. JOHN BLOOD acted as President
of CERTA DOSE in the transactions. These transactions and corporate actions included a SERIES SEED
PREFERRED STOCK PURCHASE AGREEMENT, an INVESTOR RIGHTS AGREEMENT, a CO-
SALE AGREEMENT, and a VOTING AGREEMENT, which are incorporated herein by reference.

         29.     In the transactions referenced in the preceding paragraph, neither COOLEY LLP,
MICHAEL L. PLATT, nor JOHN BLOOD informed CERTA DOSE, INC., including the majority
shareholder of CERTA DOSE of: (1) the consequences that were likely, known, and which would result from
the kind of preferred stock that was being provided to COPIC; or (2) the nature and legal significance of the
anti-dilution provisions and minority stock protection provisions involved, which would work together over
time to provide all of the protections of a minority to COPIC, yet made it a practical certainty that COPIC
would, in time, become the majority shareholder of CERTA DOSE and own its intellectual property.

          30.       Although the transactions and instruments concerned in the preceding two paragraphs
required the informed consent of CERTA DOSE’S majority shareholders, the material facts mentioned and
referenced in paragraphs 26-34 of EXHIBIT 1 were never provided to, and concealed from, the majority
shareholder, DR. HERNANDEZ, when his consent was sought by the Defendants and faithless fiduciaries
concerned (raising the inference that the actions taken by the Defendants and faithless fiduciaries concerned were improper,
fraudulent and void).

          31.     Through the transactions referenced in the preceding three paragraphs, Defendant
STEPHEN R. HOFFENBERG became a director of CERTA DOSE, INC.; nonetheless, even after
becoming a fiduciary of CERTA DOSE, INC. and its shareholders, he too failed, and even refused, to
disclose the nature, effect and consequences of the preferred stock concerned to CERTA DOSE’S majority
shareholder, DR. HERNANDEZ, and to CERTA DOSE, INC. Similarly, STEPHEN R. HOFFENBERG
failed to provide the other material facts and information addressed in this Complaint which¾due to his position
with COPIC and the totality of the circumstances concerned¾he knew, withheld and concealed to the detriment of
CERTA DOSE and its good faith investors.

      32.     Between May 26, 2016 and June 13, 2016, the foregoing agreements and instruments were
amended and restated in a SERIES SEED 2 PREFERRED STOCK PURCHASE AGREEMENT, a


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CERTA DOSE, INC. AMENDED AND RESTATED INVESTOR RIGHTS AGREEMENT, a
CERTA DOSE, INC. AMENDED AND RESTATED CO-SALE AGREEMENT, and a CERTA
DOSE, INC. AMENDED AND RESTATED VOTING AGREEMENT. The principal attorney from
COOLEY LLP involved in these dealings was MICHAEL L. PLATT.

           33.       Given the totality of the circumstances surrounding the amendments and restatements
referenced in the preceding paragraph (such as the conflicts of interest concerned, factors that worked materially against the
interest of CERTA DOSE, and the incentives for wrongdoing that are implicated on behalf of the Defendants concerned in
these transactions), and given the reasonable inference that an attorney understands the legal effect of his or her
work product, while those not educated in the law typically do not, these facts raise the inference that
COOLEY LLP and MICHAEL L. PLATT operated to benefit their client COPIC, yet at the expense of
CERTA DOSE (despite asserting that they were representing, principally or exclusively, the interests of CERTA DOSE,
INC.), while also acting to their own economic benefit. See, e.g., EXHIBIT 1 ¶¶ 26-37.

          34.     In the transactions referenced in the preceding paragraph, neither COOLEY LLP,
MICHAEL L. PLATT, JOHN BLOOD, nor Defendant STEPHEN R. HOFFENBERG informed
CERTA DOSE’S majority shareholder or CERTA DOSE, INC. of the consequences that were likely, and
known to these Defendants, which should have been known to them, and which also would almost certainly
result from the kind of preferred stock that was being provided to COPIC INSURANCE COMPANY, as
would be known by people with the background in business and law of these Defendants (particularly given the
advice of COOLEY, LLP), and as also implicated by the facts referenced in ¶¶ 26-38 of EXHIBIT 1. (This raises
the inference that the Defendants’ statements as to informing the Company’s majority of shares, as required
by Delaware law, were deceptions and affirmative misrepresentations, and that the associated breaches of
fiduciary duties were knowing and intentional, as they were conducted despite an affirmance to the contrary.)

    II. EARLY 2018: BREACH OF FIDUCIARY DUTIES, PERMITTED WASTE, INTENT TO LOOT.

        35.         CERTA DOSE began 2018 with roughly $3.5 million in convertible promissory notes that
had been raised from friends and family of the shareholders, mostly the friends and family of DR.
HERNANDEZ. This occurred after CERTA DOSE had been extended promising business opportunities in
New York following favorable recognition in the industry, which its proprietary technology received in
November of 2017. Due to the efforts and urgings of JOHN BLOOD, STEPHEN R. HOFFENBERG
and COPIC INSURANCE COMPANY, the noteholders referenced in this paragraph, i.e., the 2017
noteholders, were told to expect a Series A in the Fall 2018. These investors/noteholders were informed by
Defendants COOLEY, LLP, MICHAEL L. PLATT, JOHN BLOOD, COPIC, and STEPHEN
HOFFENBERG that they would receive preferred stock with the discounts listed in the notes. This,
however, was a lie, as all those Defendants knew that by virtue of how the preferred stock provisions in the
CERTIFICATE OF INCORPORATION functioned—which these investors had not been provided nor informed of—
none of the good faith noteholders would receive preferred stock or the referenced discount. See ¶¶ 33-39 of
EXHIBIT 1. JOHN BLOOD even calculated that the investors would not receive preferred stock or the
discount. See, e.g., EXHIBIT 1 at ¶¶ 99, 109-110.

     36.   As per the language of the note instruments, COOLEY LLP purportedly represented
CERTA DOSE as its principal client, but also purported to represent the noteholders.




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        37.      In this, COOLEY LLP included a waiver of conflicts in the note documents; however,
COOLEY LLP never actually informed CERTA DOSE, nor the noteholders, of what the conflicts were,
what the nature of the conflicts were, nor did it advise any of them concerning the consequences of the
language in the agreements, which ultimately implicated conflicts with the interests of COPIC, as further
noted in this Complaint. Cf. id.

          38.     At this time (see EXHIBIT 1 ¶ 40), JOHN BLOOD, STEPHEN R. HOFFENBERG and
COPIC INSURANCE COMPANY also asked DR. HERNANDEZ to be CEO and Chairman of CERTA
DOSE, INC., yet they did so in a context where it was made clear, and understood, that he was, nonetheless,
still to go to New York to further CERTA DOSE’S interests in the business opportunities concerned.

           39.     With regard to the facts identified in the preceding paragraph, it later became evident to the
Company—in its subsequent investigations and through review of the corporate records and e-mails that had been hidden by the
Defendants concerned, which followed the dismissal of the COPIC-appointed Directors and JOHN BLOOD—that
having the CEO and Chairman in New York was used by those later-dismissed fiduciaries to conceal the
steps that these Defendants were taking to drive up the debt of the Company, to cause waste, and to use
those circumstances as the principal means of forcing a sale of shares that would benefit their investor
affiliates, i.e., Defendants COPIC INSURANCE COMPANY, ALAN YOUNG SYNN, DAVIS K.
HURLEY, BRIAN C. HARRINGTON, DANIEL LEE MILLER, NILES COLE, J. DANIEL MILLER,
JEFFREY ALVIN DORSEY, GERALDINE A. LEWIS-JENKINS, MATTHEW FLEISHMAN,
THEODORE J. CLARKE, THOMAS S. COWAN, ANTHONY R. MAYER, PHOEBE FISHER, LFD
III GRAT-TRUST U/A 8-26-2015, KATHERINE DRISCOLL, Trustee, and LEE F. DRISCOLL, at the
expense of CERTA DOSE, INC. (COOLEY, LLP used the distance, and the practical difficulties of
assembling the entire board, which included those complained of, as a pretext for not addressing the issue in
the methods required by the rules of professional conduct); cf. ¶¶ 53-59, 72-83 of EXHIBIT 1.

        40.       The facts concerned therefore raise the inference that the effort of moving of DR.
HERNANDEZ to New York, while also making him CEO and the Chair of the Board, were an intentional and
knowing set of acts complained of, which was instrumental in the coordinated effort of the Defendants
concerned to ultimately transfer the assets, shares and control of CERTA DOSE from those in the Company
to whom the COPIC-appointed Directors and JOHN BLOOD owed fiduciary duties to their affiliates. See id.
In short, encouraging DR. HERNANDEZ to move to New York allowed these Defendants to operate without
oversight and to easily have secretive meetings without the knowledge and oversight of CEO and Chairman,
or ultimately the Company.

        41.     In January of 2018, JOHN BLOOD was also hired as COO/CFO of CERTA DOSE,
following a conversation that he had with the COPIC-appointed director, Defendant STEPHEN R.
HOFFENBERG, and DR. HERNANDEZ. (Although JOHN BLOOD had originally taken part in the
incorporation of the Company, he had stepped away from the business after bringing in COPIC.) Once it
was found that CERTA DOSE was valuable,1 JOHN BLOOD’S interest in the Company was aroused, and

1
  At roughly the time that JOHN BLOOD first left CERTA DOSE, INC., he informed DR.
HERNANDEZ that he had experience with a lot of companies and that his approach was to see if a
company was ripe for applying his special approach to business. If a company was not ripe for his
approach, JOHN BLOOD admitted that he would move on to another company with which he had

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he pursued a place in the Company with a zeal that was, significantly, also aimed at dealing specifically with the
funds of the 2017 notes, as noted below. See, e.g., EXHIBIT 1 ¶¶ 48-51, 57, 66-67 and 75. To gain the
Company’s confidence at this time, and to gain greater control over the operations and capital of the
Company, JOHN BLOOD lied to DR. HERNANDEZ, stating that the prior CFO had falsified the Company’s
financials and that the financials were largely a work of fiction. The COPIC-appointed director, Defendant
STEPHEN R. HOFFENBERG, and JOHN BLOOD both urged DR. HERNANDEZ that it was appropriate
for JOHN BLOOD to rectify this problem through accounting. (As detailed below, however, JOHN
BLOOD would burn through the aforementioned $3.5 million in 6 months; a fact he kept from the CEO in
New York.) See EXHIBIT 1 ¶¶ 40, ¶¶ 48-51, 57, 66-67 and 75. Although Company records and subsequent
review by accountants reveal that JOHN BLOOD had done zero accounting, and had not even made a
journal entry with regard to the finances, he stated—at this time—that his efforts to correct and rectify the
books were akin to changing the engine on a car as it went down the road at 60 mph, and while changing the
tires.

        42.       JOHN BLOOD did not raise any of the aforementioned capital (see EXHIBIT 1 ¶ 40). He
was, however, given the task managing the financials, while helping with the organizational structure of the
Company and its operations. (The COPIC-appointed Directors and JOHN BLOOD convinced DR.
HERNANDEZ that it would be best for him to be in charge of new product development and product
manufacturing while in New York; JOHN BLOOD would stay Colorado to run operations and what was
believed at the time to be the core business, as well as sales.)

         43.      When DR. HERNANDEZ first arrived in New York, JOHN BLOOD had not brought up
any concern about finances, despite being asked; however, within one month, both he and STEPHEN R.
HOFFENBERG told DR. HERNANDEZ that there was an urgent need to raise capital, but that the good
news was that they had some of their investors on hand who could come in with that capital. At that time,
JOHN BLOOD mentioned that the Company would have to do an emergency funding round, which was a
surprise, as JOHN BLOOD and STEPHEN R. HOFFENBERG had actually sent some of the funding
that had been raised in the 2017 notes back to investors “because they were not the kind of investors that
[they] want[ed].”

         44.      DR. HERNANDEZ was surprised and upset that JOHN BLOOD was not keeping him up to
date on the financial state of the Company despite numerous requests. He informed both STEPHEN R.
HOFFENBERG and JOHN BLOOD that there should have been some explanation or diligence to
present the situation within the 6 months concerned so that the Company could address issues appropriately
and, at a minimum, do some degree of planning. STEPHEN R. HOFFENBERG responded by saying, “we
all make mistakes and we need to look out for each other.” DR. HERNANDEZ noted that when he asked
JOHN BLOOD for information, he had simply replied, “I've got this, don't worry about this; I know what

connections where investment money was present or coming in, where he could then apply his
approach to business. As noted earlier, JOHN BLOOD had a specific methodology that he applied
to companies with significant investment funds; companies that could then be sold to venture
capitalists with whom he and/or COOLEY, LLP had relationships, but at an artificially created
discount. That methodology, however, depended on the company concerned being ripe for
investment, such as when CERTA DOSE, INC. received FDA approval and industry recognition of
its technology. See, e.g., EXHIBIT 1 ¶¶ 29-42, 57, 66-67.

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I'm doing. You're a physician and you’d get upset if I asked you to explain yourself about medicine. I'm like a
doctor when it comes to finances and I have this covered.” The evident cooperation between JOHN
BLOOD and STEPHEN R. HOFFENBERG seemed out of place, particularly given the fact that they were
directing the rounds of funding only to their affiliates and refusing others who were interested in investing. It
felt like a bit of an ambush to DR. HERNANDEZ, but he trusted these fiduciaries and they had also left no
other option to the Company but what they were willing to bring in in the eleventh hour.

        45.       After the capital had been raised in the 2018 notes,2 JOHN BLOOD mentioned that he
wanted to start hiring more employees. Dr. Hernandez told him that he was concerned about that, as the
previous money had been used so quickly. JOHN BLOOD responded by saying, “Caleb, don't worry, even
if we don't sell a single bit of product, I've already done the calculations and we have 14 months of runway.
We're safe and in a good position: trust me, I know how to build world-class organizations.” STEPHEN R.
HOFFENBERG supported JOHN BLOOD in this position and affirmed that what he said was true.

         46.     Shortly after this, DR. HERNANDEZ asked JOHN BLOOD, in the presence of STEPHEN
R. HOFFENBERG about looking into changing banks. JOHN BLOOD noted that did not like the idea,
but said he would look into it. He then went to the Company’s controller/CPA, who had also been telling
him for some time that the Company could be making more interest on the savings at another bank (2% vs.
0.1%), but JOHN BLOOD told her a different story than that he had told DR. HERNANDEZ, as recounted in
the preceding paragraph. JOHN BLOOD told her, “Don't worry about it, we'll be through all this money in
4 months or so, so it's not worth it to make the change.” JOHN BLOOD then came to the board with a
pretext for not changing the bank that had nothing to do with what he told the controller, saying that it was
“too much brain-damage” to change the bank; that it would be “incredibly distracting and time-consuming”
to do so and that the Company should wait until after Series A.

        47.     An employee who was also a noteholder, who is also known to all Parties to this action
(CERTA DOSE’S Chief of Design at the time), also came on board with the Company in January of 2018,
due to the need to have a designer involved for the products that were linked to the business opportunities

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  Although the 2017 noteholders had been promised a Series A, and although the round of funding
exceeded the amount needed to convert the notes, JOHN BLOOD and COPIC maneuvered the
circumstances, in numerous ways, to ensure that the investment coming in was only in the form of
promissory notes to their affiliates. These facts, taken in light of the totality of the circumstances
(including the referenced deception), raise an inference that the Defendants concerned: (1) intended to
create dept that would then be used to effect a hostile takeover; (2) were working with their affiliated
noteholders to this end; and (3) the steps taken in furtherance of this coordinated effort were
intentional on the part of all concerned, particularly as JOHN BLOOD disparaged the notes. (These
inferences also arise from these fact that a reasonable investor—i.e., an investor who did not know that
that he or she had an agent in the Company who would drive up the debt up so as to ultimately create a Series A,
down the road, that only had such an investor and their affiliates invited to it and which would produced a total change
in the ownership of the Company at an artificially discounted price—would prefer a Series A to simply
purchasing notes that their ally within the Company considered to be on par with feces. It also
raises the inference that these investors were working with COPIC, as its control of the notes is
what made them dangerous to investors/noteholders and comparable to feces, as per JOHN
BLOOD’S admissions. See EXHIBIT 1 ¶¶ 61-62.

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developing in New York. (By the end of 2019, the New York-based operations would be the core business
of CERTA DOSE, INC., bringing in 85% of the Company’s revenue. Previously, and during this time, the
aforementioned employee who was also a noteholder was an investor in the Company through the
aforementioned convertible promissory notes. He had also worked earlier on CERTA DOSE projects as a
third-party contractor.

          48.       When the aforementioned employee who was also a noteholder entered the agreements
concerned in the aforementioned convertible promissory notes¾which he entered into with all of the other parties to
the note agreements on March 7, 2017 through December 15, 2017, July 2-16, 2018, and March 14 through April 19, 2019,
as noted in the Company’s bridge financing binders¾he was sent the agreements and instruments concerned in New
York, which he executed in New York and then mailed back to CERTA DOSE, INC. (ERIC EISBRENNER
and LARRY MILLER, who executed for CERTA DOSE, INC., were in Texas at the time). Nonetheless, the
convertible promissory note instruments were, by their end, agreements that were governed by common
provisions, which included covenants that were made by and between STEPHEN R. HOFFENBERG,
CERTA DOSE, COPIC, COOLEY LLP, MICHAEL L. PLATT, ALAN YOUNG SYNN, DAVIS K.
HURLEY, BRIAN C. HARRINGTON, DANIEL LEE MILLER, NILES COLE, J. DANIEL MILLER,
JEFFREY ALVIN DORSEY, GERALDINE A. LEWIS-JENKINS, MATTHEW FLEISHMAN,
THEODORE J. CLARKE, THOMAS S. COWAN, ANTHONY R. MAYER, PHOEBE FISHER, LFD
III GRAT-TRUST U/A 8-26-2015, KATHERINE DRISCOLL, Trustee, LEE F. DRISCOLL and all of
the other noteholders (of whom three were New York residents). The aforementioned employee who was also a
noteholder’s dealings on all but the first convertible promissory note were with JOHN BLOOD.

        49.   As noted in the preceding paragraph, all of the parties to the promissory note agreements
exchanged covenants with New York residents, as with the aforementioned employee who was also a
noteholder.

       50.        After the aforementioned employee who was also a noteholder had become an employee of
CERTA DOSE, JOHN BLOOD contacted the aforementioned employee who was also a noteholder about
amending the notes and informed the aforementioned employee who was also a noteholder that the notes
could be amended merely with his signature and the approval of COPIC, but that if the aforementioned
employee who was also a noteholder did not sign, that the notes would nonetheless be amended (indicating that
COPIC essentially held the power to amend the notes at will). See also EXHIBIT 1 ¶¶ 52-53.

         51.     With regard to the facts referenced in the preceding paragraph, JOHN BLOOD also used
his position as a superior officer to pressure the aforementioned employee who was also a noteholder into
signing an amendment of the notes that kept them from maturing or converting into equity, intimating that
there could be negative consequences for the aforementioned employee who was also a noteholder’s
employment if he did not comply.

           52.     Because JOHN BLOOD took steps with the COPIC-affiliated Directors to keep the 2017
notes from converting into equity—despite the fact that those noteholders, aside from COPIC, all wished to become
equity—insisting that the 2017 notes remain debt instead of being converted into equity with the promised
Series A, it is evident that JOHN BLOOD and COPIC were on the same page of creating debt that brought
no benefit to the noteholders or the Company, but which would benefit COPIC, JOHN BLOOD, and their
affiliates. (COPIC specifically noted that it would oppose efforts to convert the debt into equity.) This not


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only shows that COPIC, JOHN BLOOD and STEPHEN R. HOFFENBERG all deceived the Company
and the 2017 noteholders, with the help of COOLEY, LLP, but these inferences are also bolstered by the fact
that JOHN BLOOD spent the $3.5 raised through the 2017 notes in 6 months. (The 2017 notes included
the retirements and savings of over 24 people and trusts, raising the inference that the wrongdoing
concerned was committed with a depraved heart.) This, in turn, also shows that JOHN BLOOD and
COPIC had no intention of spending the money concerned in accordance with any duty of care, as he
deceptively indicated with his lies as to the previous accounting, but that COPIC and JOHN BLOOD,
instead, had the intention—from the beginning—of bringing in new investment, in the form of promissory
notes on account of the debt, which would be funneled only to their affiliates. See EXHIBIT 1 ¶¶ 46-51.

         53.      This was concealed from the CEO and Chairman of CERTA DOSE (who was in New York),
as it was revealed in the later investigation that: (1) JOHN BLOOD’S subordinate employees were told by
him not to communicate this information to the CEO; (2) the CEO was told something materially different
as to the status of the money raised in the 2017 notes;3 and (3) being in New York, the CEO and Chairman
did not have access to seeing what was happening in the Colorado office and depended upon JOHN
BLOOD, the rest of the board, and the information he was provided by employees. The efforts that JOHN
BLOOD would take to control employees at the Colorado office and to conceal information from the New
York office is recounted in DR. HERNANDEZ’S annexed affidavits. These efforts were, thus, used to conceal
the material information at issue from the Company.

         54.       With regard to the facts referenced in paragraphs 52-53 of EXHIBIT 1, the aforementioned
employee who was also a noteholder made it clear to JOHN BLOOD that he preferred to have his notes
either mature or become an equitable interest, given that the funds that were being invested in the bridge
rounds could have simply been treated as a conversion event under a good faith view of the provisions of the
contract (if all concerned were treating each other fairly). At the time, the actions simply did not make sense to the
aforementioned employee who was also a noteholder, as the facts that would ultimately lead to the
understanding the significance of these circumstances had not been revealed by COOLEY LLP or its
attorneys, COPIC, JOHN BLOOD or the COPIC-affiliated Directors, nor had it been revealed by the
troubling circumstances leading to the removal of the COPIC-affiliated Directors and JOHN BLOOD, nor
the investigation that followed, making any purported prior representations of disclosure affirmative
misrepresentations. The aforementioned employee who was also a noteholder’s referenced confusion was
representative of the confusion experienced by the other 2017 noteholders, who had been kept in the dark of
the material information concerned by the Defendants: something that would come to light in the
investigation following the suspension of JOHN BLOOD.

          55.       In the interactions referenced in the preceding three paragraphs, JOHN BLOOD did not
inform the aforementioned employee who was also a noteholder of the evident intentions that he or COPIC,
or their affiliated investors had with regard to the notes, which is something that was discovered later when
the aforementioned employee who was also a noteholder later became the COO of CERTA DOSE and had
access to JOHN BLOOD’S documents following JOHN BLOOD’S suspension. Similarly, when the
aforementioned employee who was also a noteholder purchased the notes (and even after he became a shareholder
prior to his notes converting on November 15, 2019), JOHN BLOOD refused to share the material information
concerned as to his intentions for the notes (or the intentions of COPIC and COOLEY LLP), for CERTA

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    See, e.g., EXHIBIT 1 ¶¶ 48-51.

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DOSE, to create debt and waste, and to disavow any duties of good faith to the noteholders, particularly the
2017 noteholders.

           56.        After JOHN BLOOD’S suspension, CERTA DOSE discovered that JOHN BLOOD
would openly tell the COPIC-appointed Directors that the promissory notes were horrible, actually
comparing them to feces, in crude terms, and that he could not imagine why anyone would be so “stupid” as
to buy them. JOHN BLOOD would, however, then turn around and tell investors that the notes were
amazing and that they were one of the best investments imaginable. This information was discovered by
interviewing JOHN BLOOD’S subordinates, whom he had also instructed not to disclose information
concerning his activities to the CEO. Because the notes concerned had so many terms that were against the
interests of CERTA DOSE and in the favor of COPIC (although COOLEY LLP had purportedly written them to
the principal benefit of CERTA DOSE), this strange behavior from JOHN BLOOD would otherwise simply be
perplexing, were it were not for the fact that he knew COPIC could amend the notes at will to make the notes
and their terms essentially meaningless, constantly extending them or changing the terms of their promised
payment. A strong inference, therefore, arises that JOHN BLOOD made affirmative misrepresentations to
both CERTA DOSE, INC. and any good faith noteholders, i.e., those who were not affiliated with COPIC
and JOHN BLOOD, through his efforts to sell the notes, especially as only one of his conflicting statements
could be true. (Because these acts were done in furtherance of the scheme, all those who took part in the
scheme, or who aided and abetted those involved, are also liable for this misrepresentation.)

         57.     The inferences of wrongdoing and bad faith identified in the preceding paragraph became
further evident when CERTA DOSE discovered an e-mail from JOHN BLOOD to the COPIC-affiliated
Directors, dated September 17, 2019, indicating that they would use a $97 Million valuation to value the
interests of those who were not their affiliates, whereas their affiliates¾as noted below¾were to receive a
valuation of roughly $15 Million. See also EXHIBIT 1 ¶¶ 99, 110.

         58.      Upon facts such as those of the preceding paragraph, it became evident to CERTA
DOSE¾in its investigation following the suspension of JOHN BLOOD and the COPIC-appointed Directors¾that the
referenced faithless fiduciaries intended to apply different terms to the noteholders in a Series A than they
would apply to their affiliated investors and that, intrinsically, the affiliated investors of these faithless
fiduciaries intended to apply different terms to themselves in a Series A than they would to the noteholders.

         59.      The aforementioned employee who was also a noteholder informed CERTA DOSE that he
would never have invested in CERTA DOSE if the intentions of JOHN BLOOD and the COPIC-affiliated
Directors had been disclosed to him. Because the associated concealment was managed by JOHN BLOOD
and the COPIC-affiliated Directors in furtherance of the hostile takeover scheme, all those who took part in
the scheme, or who aided and abetted it, are also liable for the associated deception, and this also serves to
show that but for the concealment and deception, the 2017 noteholders would not have been deprived of the
value of their investment.

        60.      The facts concerned in the preceding ten paragraphs also raise the inference that COPIC,
JOHN BLOOD and the COPIC-affiliated Directors all knew the significance of provisions that had actually
been written in their favor and in the favor of their affiliates, yet to the detriment of CERTA DOSE and the
good faith noteholders, i.e., those who were not receiving the preferential treatment that JOHN BLOOD and
the COPIC-affiliated Directors were giving to COPIC, its affiliates and JOHN BLOOD’S affiliates. These


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facts¾especially when considered in light of its concealment on behalf of JOHN BLOOD, COPIC, their affiliated investors,
and the COPIC-appointed Directors¾also indicate that COOLEY had likely written the documents concerned to
the benefit of COPIC, JOHN BLOOD and their affiliated investors (who it turns out would be the only parties
invited to a Series A financing round), particularly in light of the fact that COOLEY, LLP knew of JOHN
BLOOD’S method of operation.

           61.       While DR. HERNANDEZ was in New York (following the aforementioned January 2018 meetings),
JOHN BLOOD began to spend inordinate and unsound amounts of the Company’s funds, as evidenced by
Company records and also by the later review of accountants. For example, it was discovered in CERTA
DOSE, INC.’S investigation, and in reviewing billings that COOLEY, LLP sent to JOHN BLOOD, that
JOHN BLOOD allowed COOLEY LLP to begin billing at higher prices than their engagement letter, with
his evident knowledge, while not bringing that to the Company’s attention (something that benefited both of these
fiduciaries at the expense of the Company, particularly when considered in light of the totality of the circumstances). (As also
noted, JOHN BLOOD and COOLEY, LLP took efforts to conceal this information and its significance
from the Company.) See, e.g., EXHIBIT 1 ¶¶ 26-42, 77-83.

           62.        Among other things, JOHN BLOOD took the actions complained of in the preceding
paragraph by: (1) working with STEVE RUBIN and STEPHEN R. HOFFENBERG to keep the
promissory notes from becoming equity¾pushing strongly under the threat of COPIC’S displeasure if the wishes of the
COPIC-appointed Directors were not complied with¾to have the notes remain debt whenever a vote of the matter
arose; (2) expending a fortune in legal fees to COOLEY LLP, spending roughly $30,000 a month¾and more
than twice as much as other firms ultimately offered to charge for the same work¾because of the understanding that
COOLEY LLP was somehow, in an undefined way, essential for the success of the startup operation; (3)
pushing for, and hiring, a giant cast of employees and paying them well above the market rate¾salary with
benefits¾for jobs that were previously done on an “as needed” basis by outsourced services at a fraction of
the cost, something that could not have been done without the pressure of JOHN BLOOD and the
COPIC-affiliated Directors working within the Company to achieve these ends. In short, JOHN BLOOD
worked, intentionally, and even against the wishes of the CEO¾his superior officer¾to spend through the
roughly $8,000,000 dollars of funds that had ultimately been raised through all the convertible promissory
notes by August of 2019, spending at a burn rate of roughly $500,000 a month, which JOHN BLOOD did
with the full knowledge of COPIC, the COPIC-affiliated Directors and noteholders, along with the JOHN
BLOOD-affiliated noteholders/investors. This was all in accordance with his admitted modus operandi of
driving up the debt of a Company to then profit when it was sold to investors with whom he had a
relationship, who would then compensate him at that point (which he confessed to a subordinate employee, as discovered
in the investigation following his suspension). See, e.g., EXHIBIT 1 ¶ 68.

           63.        It was later discovered, in the investigation following JOHN BLOOD’S suspension, that the
accountant and controller who worked under JOHN BLOOD¾and whom he, as a habit, continually intimidated so
as to conceal his activities¾had informed him repeatedly that the burn rate was fiscally unsound, yet that JOHN
BLOOD, nonetheless, insisted on operating the Company at that burn rate. (Because JOHN BLOOD
depended on the expertise of this accountant and controller¾being that she was an actual accountant, and was
accomplished and competent in the requisite proficiencies, and in light of the fact that accountants would generally view it as
dishonest for JOHN BLOOD to refer to himself as an accountant, given his measurable lack of necessary and marketable skills
in that regard, as ultimately discovered in the Company’s investigation¾the facts concerned in this paragraph

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demonstrate that JOHN BLOOD acted knowingly, wantonly, for his own profit, and intentionally when
acting in opposition to the controller’s warnings.) See also EXHIBIT 1 ¶¶ 48-51.

         64.     Before his suspension, JOHN BLOOD informed employees and investors that a large
pharmaceutical company would be doing the Series A investment, wherein he spoke of this Series as if it
were a foregone conclusion. Once he was suspended, however, the Company discovered that there was never
an offer on the table and that the large pharmaceutical company concerned never even reached the point of
anything approaching a serious conversation on the topic, nor did any decisionmaker with apparent power at
that company ever make such a communication. Nonetheless, JOHN BLOOD used this as an excuse with
some of those who questioned him to continue to spend as if such a Series A were a sure thing even though
the Company was bleeding financially due to JOHN BLOOD’S efforts. This was also further deception
hiding the fact that he intended, all along, for it to be his affiliates and the COPIC-affiliated investors who
came in on the Series A. These facts raise an inference of JOHN BLOOD’S statements being deception that
concealed what he was actually doing and that bought him time in doing so. This set of facts also raises the
inference that is was his intention to actually create debt within the Company through waste, beginning
expensive projects that had no reasonable likelihood of achieving their ends before the money devoted to
them was spent, but which certainly achieved the end of creating debt through such waste of the note funds.

         65.       As another example, although JOHN BLOOD communicated to others that the business
would be selling product with the JIT (just in time) business model, wherein product would be produced just
in time for the distributors as orders came in, that was actually a deception. To inflate the sales numbers,
JOHN BLOOD had actually purchased more than 20,000 vials of epinephrine and had placed a purchase
order to produce 20,000 kits. In this, JOHN BLOOD wasted money and product, further evidence of his
methodology to create debt/waste in the Company for his own, ultimate personal benefit. In this, JOHN
BLOOD took these actions with distributors so that it appeared as if the Company had consumer sales,
which JOHN BLOOD both knew not to be the case and which he actually took steps against, keeping the
waste increasing, while limiting the securing of revenue to the Company (which would have hindered his aim and
methodology of creating debt so that he could profit in the forced sale of a company to investors with whom he had a relationship).

          66.        It was later discovered, as evidenced by Company records that had been kept hidden by
JOHN BLOOD, as well as interview with employees, that JOHN BLOOD had communicated secretly with
his affiliated investor Defendants: THOMAS S. COWAN; ANTHONY R. MAYER; PHOEBE FISHER;
LFD III GRAT-TRUST U/A 8-26-2015, KATHERINE DRISCOLL, Trustee; and LEE F. DRISCOLL,
informing them of the debt within the Company, of the control they would receive in a Series A round that
would be based on a low valuation of the Company (due to the debt JOHN BLOOD was creating), and of his
efforts to ensure that only they, their affiliates, COPIC, and its affiliates knew of the state of the COMPANY
and would be invited to the Series A round of financing. See, e.g., EXHIBIT 1 ¶¶ 48-51, 99, 109-111. These
facts, along with the fact that JOHN BLOOD continually and evidently acted as an agent for these investors
within the Company¾by, for example, giving them preference above other investors and by computing capitalization tables for
their benefit¾serve to demonstrate that JOHN BLOOD had an interest in these affiliates reaping a benefit
from the waste and detriment inflicted upon CERTA DOSE by JOHN BLOOD’S actions, and which he
oversaw, particularly as they fit within his pattern and admitted methodology of purposefully creating debt
within a company to benefit from its sale in a Series A round of financing to investors with whom he was
affiliated. See also EXHIBIT 1 ¶¶ 22, 44, 57, 60, 67, 69-70, 77, and 109-111.



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         67.      The facts concerned in the preceding paragraph also raise the inference of a quid pro quo
between JOHN BLOOD and his affiliated investors, as well as the inherent and significant support offered to
JOHN BLOOD through the security that his efforts would be rewarded in taking such a risk—particularly as
the relationships with these affiliated investors were ultimately described by JOHN BLOOD in economic
terms and the efforts taken against CERTA DOSE, INC., through JOHN BLOOD’S actions, would make
no economic sense without there being such a quid pro quo. See EXHIBIT 1 ¶¶ 22, 44, 57, 60, 67, 69-70. This
inference is also bolstered by the fact that the group of investors concerned, THOMAS S. COWAN;
ANTHONY R. MAYER; PHOEBE FISHER; LFD III GRAT-TRUST U/A 8-26-2015, KATHERINE
DRISCOLL, Trustee; and LEE F. DRISCOLL, knew of the debt, were kept informed by JOHN BLOOD
of the debt (which they knew he caused), and affirmatively told the Company that one of their demands was that
JOHN BLOOD remain within the Company (despite the Company’s protests about JOHN BLOOD’S misfeasance),
thereby providing support to JOHN BLOOD’S efforts to further the hostile takeover scheme, not merely
through purchasing the securities concerned and through actions that would—absent for the scheme—be
contrary to their interest, but through efforts to maintain their agent within CERTA DOSE, INC., continuing
the efforts of the hostile takeover scheme. The fact that investors from this group had worked with JOHN
BLOOD previously, which he and they admitted to the Company, also serves as evidence that this support of
the JOHN BLOOD was knowing and intentional.

         68.       It was also later discovered, in CERTA DOSE’S investigation following the suspension of
JOHN BLOOD, that he communicated on an almost daily basis with then Director STEPHEN R.
HOFFENBERG, doing so outside of the normal and proper channels, outside of Board meetings, outside
of the presence of the Chair of the Board (to an extensive degree), and outside of the regular accountability that
is created when a board functions as a body (as opposed to individual board members taking unsanctioned action). It was
evident to employees who were subordinate to JOHN BLOOD, and who had been intimidated by JOHN
BLOOD (from the nature of the communications and the circumstances concerned), when these employees relayed this
information to CERTA DOSE during its investigation, that STEPHEN R. HOFFENBERG was managing
JOHN BLOOD and monitoring the state of the Company on behalf of COPIC, the COPIC-affiliated
investors, and its interests.

          69.      As with the facts referenced in the preceding paragraph, STEVE RUBIN, who was a CPA,
would also meet with JOHN BLOOD and would also review the state of the Company on the evident
behest of COPIC. (This raises an inference that he and COPIC, along with their affiliated investors, indeed
knew the state of the Company and what was being done to it by JOHN BLOOD’S efforts, which makes
STEVE RUBIN’S efforts to keep the other noteholders from knowing this information evidence of
concealment of the scheme and understanding to achieve a hostile takeover to the benefit of COPIC, its
affiliated investors, and JOHN BLOOD’S affiliated investors.)

          70.      The facts referenced in the preceding two paragraphs raise the inference that there was full
knowledge among the Defendants concerned of the harm being done to the Company and to its good faith
investors by JOHN BLOOD’S actions, particularly when those facts are considered in light of the
circumstances, which also raise the inference of these Defendants’ knowledge as to the benefit that they and
their affiliates would reap from the harm concerned. (As noted, the 2017 notes included the retirements and
savings of over 24 people and trusts, which JOHN BLOOD had deceptively burned through in 6 months to
place his and COPIC’S affiliates in a favorable position.) See EXHIBIT 1 ¶¶ 49-53 and 57. It also raises the
inference that the referenced efforts in favor of waste and the associated hostile takeover were intentional and


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were being kept from the Company by keeping their treatment out of the proper channels that a company
needs to address such matters, e.g., bringing matters to the attention of upper management and Company
governance, or bringing these matters up in board meetings, so as to remedy them. This concealment would
not have been possible without the transfer of the CEO and Chairman of the Board to New York and these
Defendants took advantage of the CEO and Chairman of the Board’s presence in New York to manage and
oversee the creation of the debt and to keep it hidden from the parts of the Company’s body that were
needed to address the scheme, e.g., the CEO and Chairman of the Board.

          71.      JOHN BLOOD also took other efforts to create waste by sabotaging opportunities that the
Company had to create revenue and also did so by alienating investors who were not his affiliated investor
Defendants, i.e., those noted in ¶ 53 of EXHIBIT 1, including extremely bizarre actions such as leveling racial
insults at pharmaceutical executives.

           72.        As per Company documents, numerous concerns raised by the facts referenced in the
preceding paragraph were brought to the attention of the COPIC-appointed board members and to
COOLEY LLP, yet no action or investigation was taken by these fiduciaries to stop JOHN BLOOD. To the
contrary, the COPIC-appointed board members fought the efforts to address JOHN BLOOD’S waste (even
cryptically stating that the entire operation depended on JOHN BLOOD, which would only make sense if the operation involved
driving up the debt and using that as a basis for selling control of the intellectual property to COPIC and those with which it was
aligned), which constituted support of his aforementioned efforts. See, e.g., id. Similarly, COOLEY, LLP,
through Defendants MICHAEL L. PLATT and KELLY BARTLING refused to advise on the issue without
the entire board being present, which they did despite being warned by DR. HERNANDEZ that the COPIC-
appointed Directors were resistant to having the issue brought to the attention of the Board in any formal
capacity, which would require it take action on the best advice of counsel. In this, Defendants MICHAEL L.
PLATT and KELLY BARTLING took steps in contravention of Colo. RPC 1.13(a)-(d) and (f).

           73.       Similarly, in the late summer and early fall of 2019, on a date known to ADAM DINOW,
DR. HERNANDEZ approached ADAM DINOW in New York on CERTA DOSE’S behalf about the
Company’s concerns and about the steps that KELLY BARTLING was evidently taking to shelter JOHN
BLOOD’S actions from being addressed by counsel, so that those actions could then receive proper attention
on the Board. In response, ADAM DINOW portrayed that he was fully aware of the circumstances (which
raises an inference that he knew everything that Defendants MICHAEL L. PLATT and KELLY BARTLING knew,
as noted, above), yet he too refused to advise the Company as to how to deal with the circumstances concerned
and also failed to take steps to rule out the likelihood of wrongdoing on the part of KELLY BARTLING.
As alleged, these actions were in violation of the duties placed on ADAM DINOW by New York Rules of
Professional Conduct 1.13(b). Instead, ADAM DINOW sent the matter back to MICHAEL L. PLATT.
(Because ADAM DINOW was evidently familiar with the circumstances, an inference is raised that he knew
of the wrongdoing and simply covered it up, internally, despite the aforementioned duty to speak and address
the issues, and by actively steering it once more into the control of a co-conspirator in the hostile takeover
scheme of COPIC and the JOHN BLOOD-affiliated investors: something that violates the standards
required of an attorney and which also raises the inference that COOLEY, LLP, as an organization, was aware
of the troubling circumstances and supported the scheme through concealment, obfuscation and retained
control.)




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            74.        Under the totality of the circumstances, these aforementioned repeated refusals on the part
of the COOLEY-affiliated attorney Defendants concerned to advise the Company when advice was
requested by Company agents who certainly had the authority to request advice under the governing law and
rules¾and the fact that the refusal was on bases that violated the applicable and governing standards of conduct¾raise the
inference that the excuses given were pretextual and deceptive, and were, thus, affirmative steps in favor of a
scheme from which COOLEY, LLP profited (meant to avoid advising CERTA DOSE, INC. about a material
conflict of interest that COOLEY LLP had on account of its relationship with COPIC).

          75.     This determined refusal to address the dangers to CERTA DOSE, as also noted in the
preceding paragraph, served to insulate COPIC’S actions from proper treatment and discovery at a time
when CERTA DOSE still had enough money to operate for about a year without needing further
investment, if run properly: a factor that would not only have thwarted the evident takeover attempts by
JOHN BLOOD, COPIC, STEVE RUBIN, STEPHEN HOFFENBERG and their affiliated investors
earlier, but which also would have minimized the associated financial harms that the Company suffered from
the efforts that JOHN BLOOD and the COPIC-affiliated Director Defendants continued to engage in to
bring about that harm. These determined refusals also show that COOLEY, LLP and its attorneys knew of
these conflicts before all of the money concerned was spent, going back to its initial concealment, but had
determinedly kept those issues from CERTA DOSE, INC., to whom it owed fiduciary duties of loyalty and
candor. See also EXHIBIT 1 ¶¶ 26-33, 37, 53.

           76.        The financial harm associated with the wrongs referenced in the preceding two paragraphs
would have been avoided if proper action had been taken by the attorney Defendants concerned. Because
these attorney Defendants were also informed by the Company of the difficulty that the complained of
circumstances were creating for investment that coincided with its appraised value, i.e., the Scalar valuation, the
attorney Defendants were on notice that their excuses, obfuscation, concealment and refusal to comport with
their legal and fiduciary duties of loyalty, care and candor—as well as their duties to disclose the true nature of any
conflict of interest involving COPIC—also contributed to the loss of value that the Company suffered as the
COPIC and JOHN BLOOD-affiliated Defendants created that loss of value so as to later profit from it in a
Series A financing that provided an artificial discount to the COPIC and JOHN BLOOD-affiliated investors.

       77.      The facts concerned in the preceding paragraph illustrate another example of COOLEY
LLP and the attorneys concerned using legal pretext to conceal their improper relationships with the
Defendants, or other similarly-situated predatory investors, and, as a result, the benefits that those involved in the
improper relationships would all receive through the aid of this particular kind of concealment. See, e.g.,
EXHIBIT 1 ¶¶ 26-42.

           78.     The facts concerned in the preceding three paragraphs also illustrate examples of how
COOLEY LLP and the attorney Defendants concerned provided aid to faithless fiduciaries and their
affiliates, doing so to the detriment of a client, CERTA DOSE, to whom they owed fiduciary duties.

        79.    In the late Summer of 2019, investors affiliated with COPIC and JOHN BLOOD made
what appeared by all reasonable accounts to be a coordinated hostile takeover attempt, as JOHN BLOOD
had coordinated meetings with those involved, which were kept secret from CERTA DOSE’S CEO and
Chair of the Board, coordinating efforts between his affiliated investors, STEVE RUBIN, STEPHEN R.
HOFFENBERG, COPIC, as well as COPIC’S affiliated investors.


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           80.        With regard to the facts of the preceding paragraph, a demand was made by CERTA
DOSE for candor form the referenced fiduciaries¾JOHN BLOOD, STEPHEN R. HOFFENBERG and
STEVE RUBIN¾as to the nature of their dealings with the affiliated investors, and further requesting
candor with regard to the aims that the faithless fiduciaries and affiliated investors concerned had for the
Company. Nonetheless, the demand was not honored, nor was the requested material information turned
over to the Company or provided by the fiduciaries concerned (despite the explicit acknowledgement by those
fiduciaries that their fiduciary duties did indeed require them to provide candor to the Company).

           81.       The outright refusal to comply with candor requirements reference in the preceding
paragraph¾particularly in light of the recognition by those fiduciaries of such obligations, as well as in light of statements which
indicated that the COPIC-affiliated Directors intended to take part in the transaction concerned, along with statements that they
also intended to invite only a specially invited list of family members and close affiliates, accidental admissions that they had
discussed more with COPIC and the affiliated investors than they were willing to share with CERTA DOSE, INC., as well as
the fact of the coordination between JOHN BLOOD, STEVE RUBIN, STEPHEN R. HOFFENBERG, COPIC
and their related camps of secretly invited investors, which ultimately resulted in the hostile takeover offers that were made to
CERTA DOSE, INC. progressively becoming worse through the elimination of any competition between these two
camps¾raises the inference that there was self-dealing on the part of these evidently faithless fiduciaries and it
also raises an inference that all of those involved in the two camps of affiliated investors were supporting the
waste created by JOHN BLOOD, were benefiting from that waste, and were operating in an illicit manner
that was benefited by the various forms of concealment employed by the various Defendants. See also
EXHIBIT 1 ¶¶ 22, 44, 57, 60, 67, 69-70. These circumstances also demonstrate a certain meeting of the minds
between all of the Defendants concerned and further demonstrate that there was mutual support in a
material and significant way that benefited all of the Defendants in the hostile takeover scheme.

        82.        Given the circumstances raised in the preceding paragraph, an inference is also raised by the
facts involved that the Defendants concerned significantly supported the breach of fiduciary duties
concerned by coordinating with the evidently faithless fiduciaries for mutual reward at the expense of CERTA DOSE,
INC., through a meeting of the minds with those faithless fiduciaries, and through taking part in a common
plan and scheme¾evidencing a meeting of the minds¾which would not have been possible if the parties
concerned had refused to so aid the faithless fiduciaries involved or contribute to their efforts in the ways
referenced. See, e.g., id.; EXHIBIT 1 ¶¶ 48-53.

        83.      In September of 2019, the Board of CERTA DOSE voted to investigate the relationship
between JOHN BLOOD, STEPHEN R. HOFFENBERG and STEVE RUBIN, as well as the true nature
of the offers that were being assembled for the Series A round. The Chair of the Board, DR. HERNANDEZ,
who had urged the investigation and pushed through the vote for an investigation, noted to the Board that its
members owed a duty to the noteholders and to the shareholders to make sure that their investments were
protected.

        84.    With regard to the facts of the preceding paragraph, CERTA DOSE’S outside counsel at
the time, COOLEY LLP (through KELLY BARTLING), who was also a longtime associate of JOHN
BLOOD, had suggested, in prior Board meetings, that there was no such duty owed to noteholders.
Nonetheless, the Chair of the Board took issue with that statement, even though COOLEY LLP’S
aforementioned position¾presented through KELLY BARTLING¾was also voiced, and approved of, by the



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Directors that opposed the investigation, i.e., Defendants STEVE RUBIN and STEPHEN R.
HOFFENBERG.

         85.     Ultimately, and outside of the Board meeting, CERTA DOSE’S counsel at the time
(KELLY BARTLING of COOLEY LLP), after being confronted by CERTA DOSE’S Chairman, had to
admit that there indeed was a duty owed to the noteholders to protect their investment, but this admission
was only made to DR. HERNANDEZ after he had pressed her repeatedly outside of the Board meetings for
clarity on the point she had previously offered as advice to the Board. (This, along with the fact that
COOLEY, LLP refused to take action outside of board meetings, raises the strong inference not only that
COOLEY, LLP had previously lied in the board meetings concerned, but that it was using the very
mechanisms of the Company to actively avoid its legal obligations and to conceal its role in assisting COPIC
and JOHN BLOOD in their hostile takeover efforts.)

        86.      In subsequent meetings and communications to the other directors and to COOLEY LLP,
the Chair of the Board noted that that the red flags and irregularities surrounding the apparent coordination
between JOHN BLOOD, the waste he created and the offers of apparent hostile takeover, all indicated that
there was danger, which should be investigated, that threatened the value of the investments that those who
had already invested in the Company had made, and that such danger should be looked into before simply
proceeding, blindly, with a sale round that was surrounded by warning signs.

        87.      With regard to the facts of the preceding paragraph, there were also other indications, as
noted from what was advocated by JOHN BLOOD, STEPHEN R. HOFFENBERG and STEVE RUBIN
in Company meetings, that the promissory notes would not actually be treated with the same terms or
ultimate valuation that was to be provided to the potential COPIC and JOHN BLOOD-affiliated investors,
who were being jockeyed by the COPIC-affiliated Directors and JOHN BLOOD to come in on the Series A
round. See EXHIBIT 1 ¶ 62.

         88.     As could also be noted from the positions that the Defendants concerned took as to the
danger noted by DR. HERNANDEZ, the Directors who opposed the investigation (STEPHEN R.
HOFFENBERG and STEVE RUBIN), as well as JOHN BLOOD, were evidently working with certain of
the “potential Series A investors,” i.e., those other Defendants in this litigation who are not attorneys, to
eliminate the normal market factors and to drive down the value of CERTA DOSE’S stock, thereby driving
down the value of the investments that had previously been made into the Company, while also driving down
the value of the Company itself for all but those who would capitalize on the lowered value. See, e.g., EXHIBIT
1 ¶¶ 48-53.

          89.      JOHN BLOOD did not communicate to the good-faith noteholders, either before or after
cooperating with COPIC to extend the note maturity dates, that the only investors for a Series A would be his
and the COPIC-affiliated investors. In short, although the affiliated investors were purportedly offered the
chance to take part in the Series A, the other note holders were not offered the same opportunity. See also id.
Conversely, and as noted above, JOHN BLOOD, the COPIC-affiliated Directors and COOLEY, LLP were
unified in opposing disclosure to the 2017 noteholders of the opportunity or of other issues that greatly
affected their investment. (This further raises the inference that the waste that JOHN BLOOD and the
COPIC-affiliated Directors wrought upon the funds that had been provided through the notes was to benefit
their affiliated noteholders, both creating an opportunity for them and allowing only them to benefit in this


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opportunity to purchase the Company stock at an artificially discounted rate.) In this way, these interested
parties used unjust/deceptive measures, benefiting themselves while systematically neglecting or harming
weaker groups (i.e., the investors who did not have similar influence within the Company on account of
lacking involvement in the scheme), and the public good.

           90.    Nonetheless, instead of even extending the notes another 6 months and/or doing another
bridge round of investment (as they had done before), JOHN BLOOD and the COPIC-affiliated Directors
moved to extend the maturity of the notes by only 45 days. This was exactly enough time to “squeeze”
CERTA DOSE, financially, into taking a bad deal to survive. In September of 2019, the aforementioned
employee who was also a noteholder asked DR. HERNANDEZ, “How many times did John and Steve mention
the Company would be insolvent today if you didn't take the deal?” DR. HERNANDEZ responded, “At least
200 times today.” In this, it was evident that 45 days was just enough time to close a Series A deal with JOHN
BLOOD’S friends and repel any existing/active, and then courting, investors due to the weak cash position.
See, e.g., EXHIBIT 1 ¶¶ 48-53. DR. HERNANDEZ and the aforementioned employee who was also a
noteholder were desperately trying to attract investors, yet JOHN BLOOD used some of his various
financials to counter these efforts, only now he was using the Company’s “high month” cash spend and its
last cash position to give potential Series A investors a picture that would cause them to run from CERTA
DOSE.

          91.      CERTA DOSE’S outside counsel at the time, i.e., the named attorney Defendants other than
MARK A. FOGG of COPIC, refused to answer direct questions as to the likely harm that these
circumstances posed for investors and the Company; nonetheless, the COOLEY Defendants concerned had
previously admitted, after being pressed significantly, that the circumstances were generally problematic and
suggestive of abuse. (Thus, they were willing to concede that there was a troubling set of issues present, but
they still refused to help address the problem, as noted earlier, supra.)

          92.     With regard to the facts referenced in the preceding paragraph, the COOLEY LLP counsel
concerned had also noted that they represented COPIC, for which the two Directors who voted against the
investigation worked or had worked (Defendants STEVE RUBIN and STEPHEN R. HOFFENBERG);
similarly, and as also stated in the convertible promissory notes, COOLEY LLP purported to represent the
noteholders, although it had never notified the Company or the noteholders of how these provisions would
negatively affect and/or impact the Company or the noteholders. See, e.g., footnote 5 of EXHIBIT 1.

         93.     Similarly, it should also be noted that MARK A. FOGG had previously given legal advice to
CERTA DOSE, i.e., before the hostile takeover attempts referenced in EXHIBIT 1 to this COMPLAINT,
conveying upon it an attorney-client relationship which was dishonored by the acts and omissions referenced
in this Complaint, as well as in EXHIBIT 1 to this COMPLAINT, so as to bring about harm to the Company
while also breaching fiduciary duties that were owed to the Company. He and COPIC were similarly asked to
provide relevant information based on the duties of good faith and loyalty that they owed CERTA DOSE,
INC., but they refused to provide the relevant information and continued to conceal COPIC’S efforts.

        94.      At about this time (August of 2019 through September of 2019), Defendant COPIC had ordered
an appraiser’s valuation of CERTA DOSE, which came back at between $67 Million and $120 Million.
Although it was evident that the COPIC-affiliated Directors certainly intended to use this valuation for setting
the value that some investors would receive, it was also clear that they planned to offer a roughly $15 Million


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valuation to their affiliated investors, with whom they had close ties. See, e.g., EXHIBIT 1 ¶ 62. Thus, the
existence and apparent significance of these two different valuations, among other factors which indicated
that the noteholders would probably not be receiving the benefits that the COPIC and JOHN BLOOD-
affiliated investors would be receiving, presented a potential for abuse that could not be ignored. See id. It also
raises an inference that the faithless fiduciaries concerned sought to benefit from the waste caused by JOHN
BLOOD under the watch of the COPIC-affiliated Directors and that they also intended such waste as a
means to benefit themselves and their affiliates at the expense of CERTA DOSE, INC. (As such, the Chair
of the Board pressed the issue of the investigation with COOLEY LLP and with the COPIC-affiliated
Directors, reminding them all of the fiduciary duties implicated.) This raises an inference that the acts and
omissions of the Defendants concerned, both before and after being pressed by DR. HERNANDEZ, were
knowing and intentional.

        95.      Nonetheless, and despite the aforementioned vote for an investigation, the COPIC-affiliated
Directors, who had opposed the investigation concerned, attempted to hold a meeting at COPIC
headquarters in Colorado, on October 4, 2019, with the apparent intent of forcing the sale on through
without an investigation. (Because the COPIC-affiliated Directors lacked the votes to do this, there were other
circumstances and factors present which indicated that the meeting was suspect, irregular, and was being
scheduled to facilitate the apparent hostile takeover concerned.)

          96.     Because of the danger that proceeding without vetting a sale, or looking into potential self-
dealing, posed for the Company and its investors, shareholder action was taken on October 4, 2019,
supported by an action without vote of the majority of shares in the Company, to suspend the COPIC-
affiliated Directors and JOHN BLOOD. These evidently faithless fiduciaries were also asked by the Company
to provide copies of the communications that they had exchanged with the potential Series A investors to
whom they had close ties, i.e., their affiliates, thus being further asked by the Company to comply with their
duty of candor. The evidently faithless fiduciaries concerned did not comply with these requests, resulting in
admissions by silence of their involvement in the referenced hostile takeover.

         97.    Defendants STEVE RUBIN and STEPHEN R. HOFFENBERG refused to turn over the
requested communications and, instead, on October 21, 2019, attempted to conduct another meeting at
which it appeared quite evident that they were seeking to force a sale through without an investigation.

          98.      In similar fashion to the breach of fiduciary duties referenced in the preceding paragraph,
and instead of providing advice to the sitting Board (now that its prior excuses for refusing to give advice on the dangers to
the Company had been removed by the suspension), COOLEY LLP resigned as counsel for CERTA DOSE without
addressing the pending questions that it had been asked, which was highly irregular given the requirements
placed upon COOLEY LLP by the rules of professional conduct. As such, these circumstances also raise a
further inference that COOLEY LLP had been avoiding disclosure of the nature of its conflicts, i.e., what
COPIC was planning to do to CERTA DOSE, and that COOLEY LLP was, thus, working to conceal its
role in the efforts of JOHN BLOOD, COPIC and their affiliates to prey upon CERTA DOSE (to whom
COOLEY LLP owed the duties of a fiduciary), as these acts of avoidance amount to an admission of silence and
also raise the inference that COOLEY, LLP was providing support for those involved in the referenced hostile
takeover, supporting the efforts at earlier stages, including those efforts that the other Defendants took to
bring about waste in the Company, as well as through obfuscation, concealment and even advice to COPIC
and/or JOHN BLOOD’S affiliates. See, e.g., ¶¶ 53-56 of EXHIBIT 1.


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         99.     With further regard to concealment, the investigation following JOHN BLOOD’S
suspension revealed that budgets, which JOHN BLOOD had shown investors, the Board of Directors and
the controller are missing, including the vast body of Company documents that JOHN BLOOD kept on a
hard drive he brought into the Company’s Denver office. It is evident that JOHN BLOOD did not save
these materials on Company computers and that a fair amount of financial work which was in JOHN
BLOOD’S direct control went missing when he was suspended. Neither the controller nor the interim COO
were able to find the entire collection of JOHN BLOOD’S spreadsheets. This all raises an inference of
concealment, which raises inferences of intent and malfeasance on JOHN BLOOD’S part (not merely
misfeasance).

          100. To prevent the unauthorized act of the suspended Directors referenced in ¶ 102, supra, and
to provide the proper oversight (especially as the unauthorized act was being taken by suspended fiduciaries before a sale’s
actual terms could be vetted), the shareholder majority took additional action to remove the two suspended
members of the Board. Nonetheless, these removed, COPIC-affiliated Directors were once more asked to
provide their communications with potential/affiliated investors to the Company, which, once more, they
refused to do.

           101. To fill these vacancies, new Board members were selected according to the governance
provisions to help the Company investigate the issues concerned and to provide additional guidance and
oversight. Following these appointments, the Board, with its new members and new counsel, became aware
that certain provisions within the AMENDED AND RESTATED CERTIFICATE OF
INCORPORATION, which had been amended with COOLEY LLP’S help between May 26, 2016 and June
13, 2016 in the aforementioned SERIES SEED 2 PREFERRED STOCK PURCHASE AGREEMENT
that COPIC insisted was valid, were written to prevent the noteholders from being issued preferred stock on
the terms they had been offered in their agreements (or from receiving the discount that they had been offered).
CERTA DOSE’S prior outside counsel, COOLEY LLP, who had written both the notes and the
aforementioned Certificate of Incorporation, evidently never informed the Company of this issue, as noted
by the investigation and review of the Directors on the new Board. Similarly, it became evident to the new
Board, from the circumstances concerned, that the provisions concerned were not made known to the
noteholders at the time they signed their agreements, nor at any time thereafter. (This seemed exceptionally
unfair to the new Board, as it further raised the inference that the waste of the funds of the noteholders,
while keeping them out of equity, were being used to facilitate the evident hostile takeover attempt involving
COPIC, JOHN BLOOD and their affiliated investors, while also raising the significant inference that the
good faith noteholders would not be treated equally with the COPIC and JOHN BLOOD-affiliated investors
and noteholders.) In this, it was also evident that the COPIC and JOHN BLOOD-affiliated noteholders,
who included Defendant STEPHEN R. HOFFENBERG, although knowing of the waste, nonetheless
expected to receive a significant benefit from the waste. (The fact that the COPIC and JOHN BLOOD-
affiliated noteholders were the only noteholders being invited by JOHN BLOOD and the COPIC-affiliated
Directors to take part in the Series-A financing—placing more money into CERTA DOSE, INC., despite the waste
that their fiduciaries concerned supported—further adds to these inferences.) Furthermore, JOHN BLOOD tacitly
admitted that the consequences of his actions were that the CERTA DOSE, INC. shareholders would be
receiving a “haircut,” which was a reference to significantly or extremely diluting their ownership and control
in the Company.




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         102. With regard to the facts of the preceding paragraph, it became clear to the new Board that
the noteholders had not been informed of these secret provisions, as the provisions were presented in a
separate instrument that they were never provided or informed of—despite COOLEY, LLP’S statements to
the contrary, i.e., the CERTIFICATE OF INCORPORATION—which would actually override the noteholders’
rights and what the noteholders had agreed to receive in the notes, i.e., preferred stock and the promised
discount. See also ¶ 97 of EXHIBIT 1. (If it had not ultimately been due to new legal advice, this would not
have become evident to the Company, as the restrictions on acquiring preferred stock were well hidden in
pages upon pages of the aforementioned Certificate of Incorporation.) See id.

         103. The removed Directors and JOHN BLOOD hired attorneys that threatened the Company
with litigation if these matters were disclosed, further raising an inference of coordinated efforts and
coordinated concealment on the part of these Defendants.

          104. Nonetheless, it was also discovered at this time, i.e., in the investigation following the
suspension of JOHN BLOOD and the COPIC-affiliated Directors, that JOHN BLOOD knew about the
fact that the noteholders would not get preferred stock and had even planned that result out by calculating the
noteholders’ equity as common stock in spreadsheets identifying what would occur on the Series A round
(noteholders would evidently not receive the preferred stock that was promised to them in their note agreements). See also ¶¶ 40-53,
110-113 of EXHIBIT 1.

         105. Documents and e-mail discovered on JOHN BLOOD’S computer and related accounts
also revealed that he had been calculating the financial benefit to his associated investor affiliates, as well as the
related loss to the Company’s majority shareholder, for about as long as he had been at the Company
following his return in early 2018. For example, one spreadsheet that JOHN BLOOD had calculated for
Defendants LEE F. DRISCOLL, ANTHONY R. MAYER and PHOEBE FISHER—a document titled “Certa
Dose_Funding Calculations_9.3.19,” which was made without Board approval and concealed from both the Board and the
CEO—listed a valuation for the Company of $15,000,000 on September 3, 2019, although the Board was still
purportedly running due diligence following the Scalar valuation and ultimately determined, later that month,
that it would endeavor for a market valuation. The document only calculated the gains in the Company that
Defendants LEE F. DRISCOLL, ANTHONY R. MAYER and PHOEBE FISHER would have at a
valuation of $15,000,000, which was the valuation that all of those involved in the hostile takeover scheme
ultimately used, although it bore no relationship to the appraised value and had an explicit and recognized
connection to a change in the ownership structure of the Company. As noted in the previous paragraph, the
documents had the notes converting as common stock instead of preferred. JOHN BLOOD also created a
similar calculation for the COPIC-affiliated Defendants, raising the inference that the two groups were
coordinating information and a common scheme to profit from a Series A funding round that would be sold
to them at an artificial discount created by means of: (1) notes they purchased; (2) which were then knowingly
converted into looming debt that brought no legitimate benefit to the Company on account of the
management and fostering of that debt/waste by fiduciaries in the Company with whom these complicit
noteholders were affiliated; (3) supporting the maintenance of those faithless fiduciaries within the Company;
and (4) those faithless fiduciaries then setting an coordinating a low valuation of the Company from within,
while inviting only their affiliated noteholders to the Series A financing at the exclusion of other investors and
noteholders.




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           106. Based on the best information that the Company has, stemming from its investigation after
the suspension of JOHN BLOOD, JOHN BLOOD had also stated openly to subordinates who he
intimidated that his goal was to drive up the debt of the Company so as to achieve the kind of Series A that
he was trying to bring about, i.e., one where the Company was forced to sell in a state of desperation to his
associates and others with whom the associates cooperated, i.e., the COPIC-affiliated investors. Although he
kept this secret from upper management and the complete body of the Board (except, evidently, for the removed
COPIC-affiliated Directors, with whom, it was later found out, he spoke on a consistent basis in their unofficial, individual
capacities, outside of Board meetings), JOHN BLOOD’S actions, as referenced here and elsewhere in the
Complaint, indicate that he actually intended to spend away the investment provided to the Company in the
form of the notes, using it as a mechanism to lower the immediate value of the Company and provide it at a
discount to his affiliates. See, e.g., EXHIBIT 1 ¶¶ 44-53.

          107. In October and November of 2019, CERTA DOSE further cemented the evidentiary basis
for the combined efforts of JOHN BLOOD, COPIC and their affiliated investors to assist the waste created
by JOHN BLOOD and the other efforts that he had taken, with the COPIC-affiliated Directors to facilitate
the hostile takeover of CERTA DOSE. CERTA DOSE did this by requesting further assurances from the
investors affiliated with COPIC and JOHN BLOOD, as per the terms of the convertible note agreements
and as per the requirements of the UCC, which also indicated that the failure to respond would be taken as an
admission by silence of aiding and abetting JOHN BLOOD, COPIC, and the COPIC-appointed Directors
in their efforts to cause and exploit waste to effect a hostile takeover. The COPIC and JOHN BLOOD-
affiliated investors, however, refused and otherwise failed to comply with these requests, establishing
admissions by silence, while also raising further inferences of their participation and support of the evident
scheme to exploit waste caused by the CERTA DOSE fiduciaries who were affiliated with the investors that
refused to provide further assurances.

         108. In short, and with reference to the facts noted in the preceding three paragraphs, noteholders
expecting to receive preferred stock at the conversion of their notes in a Series A round would have, instead,
received common stock, despite the representations that had been made to them earlier. See, e.g., EXHIBIT 1 ¶
97. The noteholders would have also been subject to a host of dilutive vehicles and provisions in the
Certificate of Incorporation that COPIC and COOLEY LLP intended to enforce, of which the noteholders
had evidently never been notified. (The new Board discovered these facts in November of 2019, although
COOLEY LLP, the firm that purportedly represented CERTA DOSE and even the noteholders, stated in
the convertible notes that it had notified everyone concerned of what was really going on, despite the fact it
had not actually provided any of the advice that would be necessary for there to be informed consent to
either the good-faith noteholders or CERTA DOSE.) As discovered once CERTA DOSE was able to speak
with new counsel, the restrictive provisions and legends of the aforementioned Certificate of Incorporation
would have pushed down the common stockholders and the noteholders’ value, greatly diluting the value of
their investment: doing so immediately, but, even more so, over time.

         109. There were also provisions within the note agreements themselves that, under the totality of
the circumstances¾as discovered after JOHN BLOOD and the COPIC-appointed Directors had been removed¾had
been used to prevent the conversion of the notes. (This primarily took the form of a $1.5 Million Series A
minimum requirement, which was purportedly there to help value the round, but which was instead used by
COPIC to prevent the other 2017 noteholders from becoming equity holders as part of a scheme to gain
control of the Company at the expense of shareholders and the 2017 noteholders.) It became clear to the


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new CERTA DOSE Board, however, that this provision would not give the same benefit to noteholders that
it would give to the potential investors to whom the removed Directors and suspended officer evidently had
close ties, i.e., the COPIC and JOHN BLOOD-affiliated investors. (All of the factors noted before made this
readily evident in the late October and early November phases of CERTA DOSE’S 2019 investigation into
these matters.)

         110. Based on the totality of the circumstances, the Board determined that the barrier to
conversion had been used as an excuse to prevent the conversion of notes for some time, even though
greater than $1.5 million had been raised at various times before the push for the Series A round. Because the
provisions had evidently been drafted by COOLEY LLP to the benefit of COPIC and its affiliated investors,
it became evident that COOLEY LLP had coordinated with COPIC and JOHN BLOOD to both instruct
them as to the provisions and the best means to use them to accomplish their evident combined ends, while
affirmatively telling CERTA DOSE, INC. and the noteholders the opposite in the instruments concerned.

            111. To address the problems created by the instruments concerned (as noted, supra), the Board
was limited by a number of obstacles that had evidently been worked into the instruments by COOLEY LLP
to the benefit of COPIC and its affiliated investors. Thus, even though the 2017 noteholders had stated
numerous times that they wished to convert the debt of their notes into equity, they had¾as per the direction of
JOHN BLOOD, COPIC and COOLEY LLP¾simply agreed to push the notes back via previous
amendments, without removing this barrier provision. Ultimately, the Board had to ask all the noteholders
who had acted in good faith (those who were not affiliated and/or evidently cooperating with COPIC and JOHN BLOOD
in their efforts), if they agreed to amend the notes and be released from that restrictive provision. Greater than
50% of these required holders consented, as measured by the amount of investment held in the notes
concerned, and did so despite the previous amendments, agreeing to have that provision amended in the
notes.

          112. This alone, however, would not have conclusively and absolutely removed the provisions
from the aforementioned Certificate of Incorporation that COPIC, through COOLEY LLP’S aid, evidently
sought to prevent the notes¾no matter how hard the Board may have otherwise tried¾from having the ability to
become preferred stock with the negotiated 20% discount. The legal steps that were needed to prevent that
injustice were taken by the Board on November 15, 2019 and are a matter of public record, as recorded in the
state of Delaware. Those instruments, which had also been shared with the Defendants prior to the initiation
of this litigation, are also incorporated herein by reference.

                           FIRST CLAIMS FOR RELIEF
           AGAINST DEFENDANTS STEVE RUBIN AND STEPHEN R. HOFFENBERG
                            (Breach of Fiduciary Duties)
        113.     Plaintiff repeats the foregoing paragraphs with the same effect as if fully set forth herein.

     114. As alleged, all of the aforementioned fiduciary Defendants referenced in these FIRST
CLAIMS FOR RELIEF were agents of the principal, CERTA DOSE, INC., owing it fiduciary duties.

       115. Nonetheless, the Defendants referenced in these FIRST CLAIMS FOR RELIEF acted in a
manner that breached their fiduciary duties to their principal, Plaintiff CERTA DOSE, INC., by acting



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adversely towards that principal’s interests, by acting in bad faith, by acting in a manner inconsistent with their
agency to the principal and/or by omitting to disclose interests which would naturally influence the conduct
of the agents concerned when dealing within the scope of their agency, wherein disloyalty permeated the
service of these agents in the most material and substantial part, substantially violating their contracts for
service with CERTA DOSE, INC. See, e.g., ¶¶ 30-31, 36, 44-53, 57-58, 60, 64-71, 76-82, 86, 90-91, 94, 98-99,
103-104, 106, 108, 110-112, 125, footnote 5 of EXHIBIT 1.

         116. Given the facts referenced in the preceding paragraph and throughout this Complaint, the
Defendants referenced in these FIRST CLAIMS FOR RELIEF forfeited all right to payment and
compensation, as their conduct substantiality violated their contracts and agency relationships with CERTA
DOSE, INC. (This fact supports relief that CERTA DOSE, INC. seeks defensively with regard to any
claims for payment that the faithless fiduciaries may bring.)

         117. All of the Defendants referenced in these FIRST CLAIMS FOR RELIEF were also
fiduciaries of the Plaintiff, yet held on to undisclosed conflicts of interest and associated material facts that
would have helped the Plaintiff avoid harm, by virtue of the facts alleged above and as created by COOLEY,
LLP’S failure to comply with its obligations to obtain informed consent of any conflict waivers concerned,
which were known of and aided by the other faithless fiduciaries concerned, i.e., STEVE RUBIN.
STEPHEN R. HOFFENBERG and JOHN BLOOD.

         118. Additionally, the Defendants referenced in these FIRST CLAIMS FOR RELIEF had actual
knowledge, notice and/or constructive knowledge that diversion, misappropriation and waste of Company
funds was occurring, especially as facts sufficient to cause a reasonably prudent person to suspect that funds
were being misappropriated and wasted, and which would trigger a duty of inquiry on the part of agents
owing a fiduciary duty, had come to their attention. See, e.g., EXHIBIT 1 ¶¶ 44-53, 60, 69-71, 76-77, 86, 91, 94,
99, 103, 106, 112.

        119. Furthermore, the Defendants referenced in these FIRST CLAIMS FOR RELIEF failed to
conduct a reasonable inquiry and, as a result, are nonetheless charged with such knowledge as inquiry would
have disclosed. See, e.g., ¶¶ 44, 60, 69, 70-71, 76-77, 86, 91, 94, 99, 103, 106, 112 of EXHIBIT 1.

          120. As is evident, the Defendants referenced in these FIRST CLAIMS FOR RELIEF concealed
significant and material facts from Plaintiff CERTA DOSE, INC. in order to mislead or defraud said
Plaintiff, wherein CERTA DOSE, INC. and the majority stockholders reasonably relied upon the Defendants
concerned and suffered damage as a result of the reliance, thereby causing damages to the Company. See, e.g.,
¶¶ 30-31, 36, 44, 48-51, 57-58, 64-69, 74-83, 86, 90, 98, 103-104, 108, 110-112, 125, and footnote 5 of
EXHIBIT 1. In this, the damages concerned include, but are not limited to those referenced in ¶ 185 of
EXHIBIT 1. (Nonetheless, damages would, of course, at a minimum include nominal damages.)

         121. As is evident, the Defendants referenced in these FIRST CLAIMS FOR RELIEF concealed
significant and material facts from CERTA DOSE, the aforementioned employee who was also a noteholder
and the other 2017 noteholders in order to mislead or defraud them, wherein CERTA DOSE and the good
faith 2017 noteholders reasonably relied upon the Defendants concerned and suffered damage as a result of
the reliance. See, e.g., id.; see also ¶¶ 53-57 and footnote 5 of EXHIBIT 1. In this, the damages concerned
include, but are not limited to, those referenced in ¶ 185 of EXHIBIT 1. (Nonetheless, damages would, of
course, at a minimum include nominal damages.)

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           122. As per the facts recounted above, the Defendants named in this FIRST CAUSE OF
ACTION were, at best, willfully blind and/or overlooked the careless, reckless, willful and/or intentional
efforts of JOHN BLOOD to drive up the debt of the Company and to cause waste of the Company’s assets
(which, itself, is a breach of fiduciary duties); thus, placing the Company in a position where it was weakened, had
lost available revenue and funds, and where it’s control and assets could more easily be taken over and/or
away from its good faith shareholders and its good faith investors. See, e.g., EXHIBIT 1 ¶¶ 29, 44, 57, 60, 67, 69-
71, 77, 109-111. This was particularly the case because these fiduciary Defendants had failed to take proper
action, had failed to disclose material information that these Defendants knew and/or should have known
would have helped the Company to avoid harm, and because these Defendants even failed to inform or
advise the Company as to dangers about which they were specifically asked to address. See, e.g., id.; ¶ of
EXHIBIT 1 ¶¶ 72-83.

         123. Furthermore, STEVE RUBIN and STEPHEN R. HOFFENBERG and JOHN BLOOD
worked and/or coordinated with entities and persons, i.e., the other non-attorney Defendants listed in ¶¶ 129
and 131 of EXHIBIT 1, to lower the value of the Company’s stock and the value or its shares via¾among other
things¾endeavoring to coordinate the offers that said investors made to the Company in such a way as to
remove the market force of competition, thereby manipulating the value of the Company’s stock in a way
that was improper and to the detriment of CERTA DOSE, INC. See, e.g., ¶¶ 29, 44-57, 60-62, 67, 69, 70, 71-
72, 77, 85, 88, 96, 98-102, 108-110 of EXHIBIT 1. (This set of facts incorporates the facts referenced in an e-
mail that was sent on September 24, 2019, at 7:58 a.m. to COOLEY LLP, KELLY BARTLING and
MICHAEL L. PLATT, as well as the inferences that arise from the behavior of the parties after receiving the
e-mail. As such, all of these Defendants took advantage of the waste that STEVE RUBIN, STEPHEN R.
HOFFENBERG and JOHN BLOOD had created and/or facilitated, as well as the debt that had been
driven up by JOHN BLOOD, and also endeavored to conceal those efforts from the Company.

         124. Despite being on CERTA DOSE’S Board of Directors, STEVE RUBIN and STEPHEN
R. HOFFENBERG exercised greater loyalty to Defendant COPIC INSURANCE COMPANY and a group
of affiliated investors¾including ALAN YOUNG SYNN, DAVIS K. HURLEY, BRIAN C.
HARRINGTON, DANIEL LEE MILLER, NILES COLE, J. DANIEL MILLER, JEFFREY ALVIN
DORSEY, GERALDINE A. LEWIS-JENKINS, MARK A. FOGG, MATTHEW FLEISHMAN, and
THEODORE J. CLARKE¾than they showed to CERTA DOSE, thereby acting as agents to benefit these
other Defendants at the expense of Plaintiff CERTA DOSE, INC. and doing so in a number of transactions
between CERTA DOSE, INC. and COPIC INSURANCE COMPANY, and, ultimately, doing so through
the harm that they caused as part of their efforts to bring about a transaction, evidenced by a hostile takeover
offer, that these Defendants sought to enter in late September of 2019 and October of 2019 for the purchase
of CERTA DOSE’S stock. (The transactions referenced in this paragraph include the agreements and
instruments identified in ¶¶ 33, 37 and 53 of EXHIBIT 1, which are incorporated herein by reference.) See also,
e.g., EXHIBIT 1 ¶¶ 44-53, 61 and footnote 5.

       125. By exercising greater loyalty to Defendant COPIC INSURANCE COMPANY and the
group of affiliated investors referenced in the preceding subparagraph, STEVE RUBIN and STEPHEN R.
HOFFENBERG breached their duty of loyalty to CERTA DOSE, doing so through conflicts of interest,
through self-dealing, and through the harms referenced in the preceding paragraph, as well as through the
damages to CERTA DOSE which stemmed from the other harms attributed to STEVE RUBIN and
STEPHEN R. HOFFENBERG in this COMPLAINT. See id.


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         126. Despite being an officer and CFO of Plaintiff CERTA DOSE, INC., JOHN BLOOD
exercised greater loyalty to a group of outside investors with whom he was affiliated¾including ANTHONY
R. MAYER, PHOEBE FISHER, LFD III GRAT-TRUST U/A 8-26-2015 (KATHERINE DRISCOLL,
Trustee), and LEE F. DRISCOLL¾than he gave to CERTA DOSE, INC., doing so to the direct detriment
of the CERTA DOSE, INC., which he did by acting as an agent to the benefit of these Defendants, yet at
the expense of Plaintiff CERTA DOSE, INC., which he also did by endeavoring, within CERTA DOSE,
INC., to position these investors in a place where they could more easily gain control, and have a better
position than the shareholders of, and good-faith investors in, CERTA DOSE, as well as any other interested
investors who were providing and/or offering benefits and/or better terms to the Company and the interests
of its shareholders that JOHN BLOOD’S affiliated investors were evidently willing to offer. See, e.g., ¶¶ 29, 44,
57, 60, 67, 69-71, 77, 109-111 of EXHIBIT 1.

           127. In addition to the waste he caused within the Company (so as to better the position of himself and
his affiliated investors), JOHN BLOOD purposefully and intentionally neglected and endeavored to waste
opportunities that came to the Company from other outside sources, doing so to benefit the aforementioned
affiliated investors, which he ultimately did as a part of the harm that he brought to CERTA DOSE, INC. in
his efforts to bring about a transaction that his affiliated investor Defendants sought to enter with the
Company in late September of 2019 and October of 2019, which included the purchase of Plaintiff CERTA
DOSE’S stock. See, e.g., ¶¶ 29, 44, 57, 60, 67, 69-71, 77, 109-111 of EXHIBIT 1.

         128. By the actions identified in the preceding two paragraphs, JOHN BLOOD breached his
duty of loyalty to CERTA DOSE through conflicts of interest, through self-dealing, and through the harms
referenced in the preceding two subparagraphs, as well as through the damage to CERTA DOSE that
ultimately stems from the harms attributed to JOHN BLOOD in this COMPLAINT.

        129. With specific regard to the aforementioned actions of COPIC INSURANCE COMPANY,
STEVE RUBIN, STEPHEN R. HOFFENBERG and JOHN BLOOD, as referenced in this Complaint,
COOLEY LLP, MICHAEL L. PLATT and KELLY BARTLING even failed to comport themselves with
the minimum standards of how an attorney should behave in such circumstances, as judged under the
applicable rules of professional conduct, including how an attorney must act when advising a client like
CERTA DOSE: (1) as to the particular nature of a conflict of interest and/or potential conflict of interest; (2)
as to material matters affecting a client’s interests; and (3) as to danger and/or potential danger to a
corporation. (This set of facts incorporates an e-mail that was sent on September 24, 2019, at 7:58 a.m. to
COOLEY LLP, KELLY BARTLING and MICHAEL L. PLATT, which is incorporated herein by reference
as EXHIBIT 1 (Part One) to this COMPLAINT.) See, e.g., ¶¶ 26, 42, 72-83, 103 and footnote 5 of EXHIBIT 1.

          130. COOLEY LLP, MICHAEL L. PLATT and KELLY BARTLING continued to hold
themselves out as principal counsel for CERTA DOSE despite holding a conflict of interest that interfered
with their duty of loyalty and their duty of candor to CERTA DOSE, INC., especially as they also
represented COPIC INSURANCE COMPANY and wrote every contract between CERTA DOSE, INC.
and COPIC INSURANCE COMPANY to the overwhelming and condemnable benefit of COPIC
INSURANCE COMPANY, doing so to the point of writing agreements that were even unconscionable and
fraudulent under the circumstances, as COOLEY LLP, MICHAEL L. PLATT and KELLY BARTLING
did not advise CERTA DOSE, INC. as to the material terms the agreements and instruments concerned (see,
e.g., the agreements and instruments listed in ¶¶ 33, 37 and 53 of EXHIBIT 1), nor of the material facts


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affecting the CERTA DOSE’S interests in the instruments concerned. See also ¶¶ 26-44, 61, 65-67, 77-83, 90-
91, 94, 96-99, 103, 106-107, 113-117, footnote 5 of EXHIBIT 1.

        131. With respect to the allegations of preceding paragraph, COOLEY LLP, MICHAEL L.
PLATT and KELLY BARTLING all failed to follow the applicable rules of professional conflict regarding
how an attorney should act when advising clients as to the particular nature of a conflict of interest and/or
potential conflicts of interest, as to material matters affecting the client, and as to danger and/or potential
danger to a corporation. See, e.g., id. (The facts concerned include those facts noted in an e-mail that was sent
on September 24, 2019, at 7:58 a.m. to COOLEY LLP, KELLY BARTLING and MICHAEL L. PLATT, all
of which are incorporated herein by reference.) Given the facts that were evidently know to these attorney
Defendants, the conflicts of interest concerned in the referenced instruments were evident to them, as an
attorney with such knowledge would readily recognize the features that implicated these conflicts on the face of
the agreements and instruments listed in ¶¶ 33, 37 and 53 of EXHIBIT 1.

          132. In this, COOLEY, LLP was a significant part of gaining the confidence of the noteholders,
thus developing a confidential relationship and being complicit in that, which was further exacerbated by its
communications with the noteholders, such as that it “is … now … represent[ing] … Purchasers … in
matters unrelated to the transactions contemplated by this Agreement (the "Note Financing"), including
representation … in matters of a similar nature to the Note Financing,” the gaining of confidence references,
and the referenced affirmative communications that COOLEY, LLP did things that it did not in fact do—such
as following the proposed rules of professional conduct—gave the impression that COOLEY, LLP represented
purchasers affiliated with CERTA DOSE, INC. and would inform them, as such, of any actual or pertinent
conflict. See, e.g., ¶¶ 52-57, footnote 5 of EXHIBIT 1.            These circumstances created a relationship
approaching privity, as there was a writing evidencing obligations between COOLEY, LLP and such
noteholders/purchasers, which obligations COOLEY, LLP breached. As noted, these Defendants failed to
inform the aforementioned employee who was also a noteholder and the other similar noteholders of the
matters affecting his interests implicated in the facts of the two preceding paragraphs. See also, e.g., footnote 5
of EXHIBIT 1.

         133. Thus, as alleged above and summarized in the preceding eighteen (18) paragraphs,
Defendants STEVE RUBIN, STEPHEN R. HOFFENBERG, JOHN BLOOD, COOLEY LLP,
MICHAEL L. PLATT and KELLY BARTLING breached the duty of care, the duty of prudence, the duty
of loyalty, the duty of confidentiality, the duty of good faith, the duty of disclosure and the duty of candor,
which they owed to Plaintiff CERTA DOSE, INC. as fiduciaries, harming it, its shareholders and its
investors.

          134. As such, the Defendants referenced in these FIRST CLAIMS FOR RELIEF were a
foreseeable, probable, effective, natural and direct cause of the harm suffered by the Plaintiff and therefore (in
addition to the liability they share for the economic harm, devaluation and damages caused to Plaintiff CERTA DOSE, INC.),
caused damage whenever they received and/or charged for services, which were rendered meaningless due to
said Defendants’ disloyalty.

         135. Thus, the Defendants referenced in these FIRST CLAIMS FOR RELIEF, although being
fiduciaries of Plaintiff CERTA DOSE, INC., acted in ways that constituted misconduct, in ways that
included self-dealing and personal interest conflicts, wherein the Defendants concerned acted contrary to the


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interests of CERTA DOSE, INC. and its shareholders, to whom they owed duties of loyalty, candor and
care, and whom they ultimately caused damages on account of said breaches of their fiduciary duties,
including, but not limited to: (1) waste of the $8,000,000 invested in CERTA DOSE, INC. via the promissory
notes; (2) holding the Company back from what would otherwise be its realized value of $127,000,000, and
bringing it to a point where it had to settle with noteholders at a negotiated value of $25,000,000, a difference
of $102,000,000; and (3) lost revenues in an amount to be provided in discovery. See ¶¶ 185, 44-57, footnote 4
of EXHIBIT 1.

        136. In the alternative, the Defendants referenced in these FIRST CLAIMS FOR RELIEF have
caused the Plaintiff¾at the very least¾nominal damages.

                          SECOND CLAIMS FOR RELIEF
AGAINST COPIC INSURANCE COMPANY, STEVE RUBIN, STEPHEN R. HOFFENBERG, ALAN
 YOUNG SYNN, DAVIS K. HURLEY, BRIAN C. HARRINGTON, NILES COLE, GERALDINE A.
  LEWIS-JENKINS, MATTHEW FLEISHMAN, THEODORE J. CLARKE, MICHAEL L. PLATT,
 KELLY BARTLING, THOMAS S. COWAN, ANTHONY R. MAYER, PHOEBE FISHER, LFD III
                            GRAT-TRUST U/A 8-26-2015
             (KATHERINE DRISCOLL, TRUSTEE), AND LEE F. DRISCOLL
                  (Aiding and Abetting a Breach of Fiduciary Duties)
        137.     Plaintiff repeats the foregoing paragraphs with the same effect as if fully set forth herein.

          138. Defendants COPIC INSURANCE COMPANY, STEVE RUBIN, STEPHEN R.
HOFFENBERG, JOHN BLOOD, COOLEY LLP, ALAN YOUNG SYNN, DAVIS K. HURLEY,
BRIAN C. HARRINGTON, DANIEL LEE MILLER, NILES COLE, J. DANIEL MILLER, JEFFREY
ALVIN DORSEY, GERALDINE A. LEWIS-JENKINS, MARK A. FOGG, MATTHEW FLEISHMAN,
THEODORE J. CLARKE, MICHAEL L. PLATT, KELLY BARTLING, THOMAS S. COWAN,
ANTHONY R. MAYER, PHOEBE FISHER, LFD III GRAT-TRUST U/A 8-26-2015 (KATHERINE
DRISCOLL, Trustee), LEE F. DRISCOLL aided and abetted the aforementioned breaches of fiduciary
duties, in that:

              a. All of the Defendants referenced in ¶ 143 of EXHIBIT 1 sought to take advantage of the
    breaches of fiduciary duties by STEVE RUBIN, STEPHEN R. HOFFENBERG and/or JOHN
    BLOOD referenced in the FIRST CLAIMS FOR RELIEF, supra, seeking to take advantage of the harm
    that those fiduciaries had caused the Company: harm of which the Defendants referenced in ¶ 143 knew
    and/or were aware of, and which they encouraged and aided for their own enrichment and/or for the
    enrichment of their affiliates (who are also included in the list of Defendants referenced in ¶¶ 129 and 131 of
    EXHIBIT 1). See, e.g., EXHIBIT 1 ¶¶ 71, 29, 44, 57, 60, 65, 67-74, 77-78, 80-83, 90-91, 94, 99, 109-112, 128-
    131.

               b. As a related matter, Defendants COPIC INSURANCE COMPANY, STEVE RUBIN,
    STEPHEN R. HOFFENBERG and JOHN BLOOD all took advantage of, and aided, the breach of
    fiduciary duties by COOLEY LLP, MICHAEL L. PLATT and KELLY BARTLING, doing so for their
    own enrichment and/or for the enrichment of their affiliates (who are also included in the list of Defendants
    above), in that they¾among other things¾knowingly approved of, and facilitated, steps taken by COOLEY



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    LLP, MICHAEL L. PLATT and KELLY BARTLING to draft agreements and instruments in the favor
    of COPIC INSURANCE COMPANY, but that were determinantal to the CERTA DOSE, INC. (see,
    e.g., the agreements and instruments listed in ¶¶ 33, 37 and 53, of EXHIBIT 1). Defendants COPIC
    INSURANCE COMPANY, STEVE RUBIN, STEPHEN R. HOFFENBERG and JOHN BLOOD
    did his in the ways identified, supra. See, e.g., ¶¶ 120-140 of EXHIBIT 1.

         139. With regard to the preceding paragraph, the instruments concerned were procured without
the informed consent and/or informed waiver of Plaintiff CERTA DOSE, INC. and/or the majority of its
shareholders, being that these fiduciary Defendants kept pertinent and material information concerned in the
instruments and/or transactions from the Company and from the majority shareholder(s) whose informed
consent was needed for such consents as per Delaware law. See, e.g., ¶¶ 26-38 of EXHIBIT 1. (This raises the
inference that the Defendants’ statements as to informing the Company’s majority of shares, as required by
Delaware law, was deception and affirmative misrepresentation and that the associated breaches of fiduciary
duties were knowing and intentional, as they were conducted despite an affirmance to the contrary.)

             a. Even after being notified of the circumstances, the Defendants listed in subparagraph (c) of
    the FIRST CLAIMS FOR RELIEF, supra, chose to use the detrimental nature of the debt created and
    fomented by JOHN BLOOD as a form of leverage (under the supervision and complicit approval of STEVE R.
    HOFFENBERG and STEVE RUBIN, a CPA), and as a variety of “weapon” against the interests of
    CERTA DOSE, INC., attempting to use it as a means of pressuring CERTA DOSE to acquiesce to the
    takeover attempts advanced by the Defendants concerned and their affiliates, and to the efforts that they
    had been making against the Company. See, e.g., ¶¶ 36-43, 47-53, 61 of EXHIBIT 1.

        140. As such, the Defendants referenced in these SECOND CLAIMS FOR RELIEF induced
and/or knowingly participated in the breach of fiduciary duties concerned.

         141. As such, the Defendants referenced in these SECOND CLAIMS FOR RELIEF also
provided substantial assistance to the primary violators identified in the FIRST CLAIMS FOR RELIEF,
supra, by helping to conceal and by failing to act when otherwise required to do so, and by failing to act in
good faith and fair dealing with Plaintiff, and by failing and refusing to act in the ways referenced with regard
to each Defendants referenced in these SECOND CLAIMS FOR RELIEF despite the contractual duty to
do so. See, e.g., id.

          142. As noted in the facts recounted above, Plaintiff suffered damages as a result of the breaches
concerned as these harms were used as a mechanism to: waste their investment; waste operational funds that
would have otherwise gone to building the aspects of the parts of the business that the funds were
purportedly going toward; and place them in a position of having to recoup and salvage the wasted
investment and operational funds. See ¶¶ 44-53, 61, footnote 4 of EXHIBIT 1. _Said Defendants’ actions also
kept the investment from maturing as it otherwise would have absent the attack upon the value of the
investment that was furthered by the waste concerned. See id. In this, it is evident the scheme for a hostile
takeover would not have been possible without purchasers, such as the COPIC and JOHN BLOOD-
affiliated investors, who would coordinate with COPIC, the COPIC-affiliated Directors and JOHN BLOOD
to then coordinate a discounted purchase of the Company after artificially weakening it through the waste
favoring only those parties. As such, the purchase of the notes concerned was substantial support of the
scheme.


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         143. Thus, the Defendants referenced in these SECOND CLAIMS FOR RELIEF, although
being fiduciaries of Plaintiff CERTA DOSE, INC. and/or parties that owed a duty of good faith and fair
dealing, acted in ways that constituted misconduct and bad faith, in ways that included self-dealing and
personal interest conflicts, in ways that were contrary to the interests of CERTA DOSE, INC., to whom they
owed a duties of loyalty, candor and care, and ultimately caused damages to the Plaintiff on account of said
breaches of said Defendants’ fiduciary and/or good faith duties, including: (1) waste of the $8,000,000
invested in CERTA DOSE, INC.; (2) holding the Company back from what would otherwise be its realized
value of $127,000,000, and bringing it to a point where it had to settle with noteholders at a negotiated value
of $25,000,000, a difference of $102,000,000; and (3) lost revenues. See ¶ 185 of EXHIBIT 1.

        144. In the alternative, the Defendants referenced in these SECOND CLAIMS FOR RELIEF
have caused the Plaintiff¾at the very least¾nominal damages.

                                  THIRD CLAIMS FOR RELIEF
                                 AGAINST ALL THE DEFENDANTS
                  (Breach of the Covenant and Duty of Good Faith and Fair Dealing)
        145.     Plaintiff repeats the foregoing paragraphs with the same effect as if fully set forth herein.

        146. At all times herein reference, Plaintiff acted in good faith and performed its part of the
contracts and instruments referenced.

        147. By taking part in the aiding and abetting of a breach of fiduciary duties, as referenced above,
by taking part in an improper takeover attempt (as summarized in the EIGHTH CLAIMS FOR RELIEF, infra),
and as otherwise noted in the circumstances that are alleged in this Complaint, all of the named Defendants
acted improperly and/or in bad faith and, therefore, are subject to claims for breach of the implied covenant
of good faith and fair dealing as well as the associated duty of good faith and fair dealing, which these
Defendants breached in all of the contracts in which they are parties with the Plaintiff.

         148. As such, the actions and omissions of the Defendants, and their associated actions
constituting breaches, which are summarized and recounted in ¶¶ 120-148 of EXHIBIT 1, caused damages to
the Plaintiff in the ways recounted above, including, but not limited to those referenced in ¶ 185 of EXHIBIT
1. In the alternative, the Defendants concerned should not be able to enforce any provision of any contract
that they have with the Plaintiff, against the Plaintiff, as per the first breach rule and should also lose the right
to enforce all equitable rights against the Plaintiff.

                                     FOURTH CLAIMS FOR RELIEF
                                      AGAINST ALL DEFENDANTS
                                          (Breach of Contract)
        149.     Plaintiff repeats the foregoing paragraphs with the same effect as if fully set forth herein.

         150. At all times herein reference, the Plaintiff acted in good faith and performed its part of the
contracts and instruments referenced. See, e.g., EXHIBIT 11 (Part One) at 9 ¶ 5, EXHIBIT 11 (Parts Two-Three)
at 9 ¶ 5.5 (as later amended 9 ¶¶ 5.6 and 5.5); EXHIBIT 2 (Part One) at 010-362; all of EXHIBIT 1. This
includes the aforementioned convertible promissory notes referenced in this Complaint.


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            151. By breaching the implied covenant and duty of good faith and fair dealing through the
actions that the Defendants took, as noted above, and by failing to provide further assurances as identified
EXHIBIT 18 (Parts One-Ten) of EXHIBIT 1, which all of the Defendants have previously been served with in
New York, all of the Defendants breached and repudiated their duties to the Plaintiff in the respective
contracts and agreements concerned through anticipatory breach, as recognized in the common law and the
UCC (by their conduct and by their refusal to give further assurances), thereby demonstrating that they had breached
the purposes of the agreements, which involved, as an implicit terms, that the Defendants would not taking
part in the hostile takeover, contribute to and/or cause waste to the funds provided through the notes, or
interfere in such a way as to cause interference with the economic and prospective economic (as later evidenced
by the Defendants’ failure to provide further assurances and/or through their associated admissions by silence, which breached a
specific term in the agreements). (The Defendants, therefore, cannot enforce the terms of the contracts against the
Plaintiff, having repudiated the agreements through anticipatory breach.)

          152. As such, all of the Defendants are subject to claims for breach of contract, including a
breach of all the securities instruments and other agreements that the Defendants entered into with the
Plaintiff, which include the CERTA DOSE, INC. NOTE PURCHASE AGREEMENT, the
CONVERTIBLE PROMISSORY NOTE, the SERIES SEED 2 PREFERRED STOCK PURCHASE
AGREEMENT, the AMENDED AND RESTATED CERTIFICATE OF INCORPORATION OF
CERTA DOSE, INC., the CERTA DOSE, INC. AMENDED AND RESTATED INVESTOR RIGHTS
AGREEMENT, the CERTA DOSE, INC. AMENDED AND RESTATED CO-SALE AGREEMENT,
the CERTA DOSE, INC. AMENDED AND RESTATED VOTING AGREEMENT, as well as all the
amendments and restatements to all of the securities instruments and agreements that the Defendants
entered into with Plaintiff.

         153. As such, the Defendants concerned harmed the Plaintiff and caused damages to Plaintiff,
including damages to the Plaintiff’s interests in the investments concerned, as referenced in this Complaint,
especially as the Defendants caused measurable damage to the Company itself. See ¶ 185 of EXHIBIT 1. infra.
The Defendants, therefore, cannot enforce the terms of the contracts against the Plaintiff, having repudiated
the agreements through anticipatory breach. Furthermore, the Defendants are at least liable for nominal
damages.

                                          FIFTH CLAIMS FOR RELIEF
                                          AGAINST ALL DEFENDANTS
       (Fraud, Constructive Fraud, and Aiding and Abetting Fraud and/or Constructive Fraud)

         154. Plaintiff repeats the foregoing paragraphs with the same effect as if fully set forth herein,
including, but not limited to the allegations that identify fiduciaries, facts that would¾as a matter of
law¾require disclosure by the Defendants, and those facts depicting deception, affirmative misrepresentation
and a failure to disclose material facts and information to the Plaintiff. See, e.g., ¶¶ 30-31, 36, 48-53, 57-58, 64-
69, 74-83, 86, 90, 98, 103-104, 108, 110-112 of EXHIBIT 1.

         155. By keeping material information from the Company, although they were Company
fiduciaries who owed a duty of candor, in the case of JOHN BLOOD, STEVE RUBIN, STEPHEN
HOFFENBERG, COOLEY LLP, MICHAEL L. PLATT and KELLY BARTLING, and/or by taking


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advantage of the information that had been withheld from the Company by the aforementioned fiduciaries
and the deception provided through those fiduciaries—using those fiduciaries as a mechanism for fraud—in the case
of COPIC INSURANCE COMPANY, STEVE RUBIN, STEPHEN R. HOFFENBERG, JOHN
BLOOD, COOLEY LLP, ALAN YOUNG SYNN, DAVIS K. HURLEY, BRIAN C. HARRINGTON,
DANIEL LEE MILLER, NILES COLE, J. DANIEL MILLER, JEFFREY ALVIN DORSEY,
GERALDINE A. LEWIS-JENKINS, MARK A. FOGG, MATTHEW FLEISHMAN, THEODORE J.
CLARKE, MICHAEL L. PLATT, KELLY BARTLING, THOMAS S. COWAN, ANTHONY R.
MAYER, PHOEBE FISHER, LFD III GRAT-TRUST U/A 8-26-2015 (KATHERINE DRISCOLL,
Trustee), LEE F. DRISCOLL¾including the information listed below¾the Defendants harmed CERTA DOSE,
INC. when they deprived the Company of funds and assets after it reasonably relied on communications that
were false and/or false in the absence of the material information withheld, as noted above, subjecting said
Defendants to claims for fraud, constructive fraud and/or aiding and abetting such fraud and/or constructive
fraud, including the Defendants’ inducement of the Plaintiff to enter the agreements and instruments listed,
supra, and the withholding of the following material information:

               a. Information wherein the Company’s counsel, COOLEY LLP, was cooperating with COPIC
    INSURANCE COMPANY to draft Plaintiff’s corporate instruments identified in ¶¶ 33, 37 and 53 of
    EXHIBIT 1, in a way that would ultimately provide all ownership of the Company, and ownership of its
    assets, to COPIC INSURANCE COMPANY—in a hostile takeover—if the transactions were entered
    (something that went against the legitimate and purported intent of the transactions and which COOLEY, LLP specifically
    stated was not the case, providing affirmative misrepresentations);

              b. The coordination and cooperation that the parties took part in with regard to the actions
    referenced in the EIGHTH CLAIMS FOR RELIEF, infra, which are—by definition—deceptive acts.
    General Business Law § 349; N.Y. Bus. Corp. Law § 1609(c); Delaware Tender Offer Act, 8 Del.C. § 203;
    Showpiece Homes Corp. v. Assurance Co. of Am., 38 P.3d 47, 54 (Colo.2001); FTC POLICY STATEMENT
    ON DECEPTION, October 14, 1983, appended to Cliffdale Associates, Inc., 103 F.T.C. 110, 174 (1984).

              c. Relevant and material information as to the intentional and the artificial nature of JOHN
    BLOOD’S efforts to drive up of debt and to create waste, which JOHN BLOOD performed with the
    knowledge and/or approval of STEVE RUBIN and STEPHEN HOFFENBERG, thereby preventing
    the Company from having rightful access to material information that would have changed how it
    approached all of the transactions that involved any of the Defendants concerned, including those
    transactions listed in ¶¶ 33, 37 and 53 of EXHIBIT 1, which specifically include dates of the transactions
    wherein such material information was withheld from Plaintiff (see, e.g., ¶¶ 42-53, 72-83 of EXHIBIT 1);
    and

             d. That JOHN BLOOD created and used multiple copies of the Company’s books, with
    competing and inconsistent information, to conceal the true nature of JOHN BLOOD’S efforts at
    CERTA DOSE, INC., and which he used to conceal true and material information from the Company
    that would have alerted it as to his aims. See, e.g., EXHIBIT 1 ¶ 159.

              e. As such, i.e., in these ways, the Defendants concerned made representations of fact that were
    either untrue or recklessly made;



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               f. As such, the Defendants concerned made false and misleading statements to the Plaintiff;

             g. As such, the Defendants concerned made misrepresentation of fact that they knew to be
    false and/or deceitful, and which were made with intent to induce the Plaintiff’s reliance upon such
    statements; and

                h. Plaintiff justifiably relied upon the Defendants’ false, deceitful and misleading statements,
    especially as the deceptions were based on the Defendants gaining the confidence of the Plaintiff, i.e.,
    confidential relationships, the use of agents, and also made use of fiduciaries and attorneys on matters in
    which it is the rule that one should be able to trust the party making the communication and/or should
    trust that all material information needed for one’s own good is provided and not intentionally withheld.
    See, e.g., EXHIBIT 1 ¶ 159.

          156. As such, by their actions the Defendants concerned were the cause of damages to the
Plaintiff and were liable for such damages. See ¶ 185 of EXHIBIT 1.

                                    SIXTH CLAIMS FOR RELIEF
                                 AGAINST ALL THE DEFENDANTS
                          (Conversion and/or Aiding and Abetting Conversion)
        157.      Plaintiff repeats the foregoing paragraphs with the same effect as if fully set forth herein.

         158. By aiding and abetting JOHN BLOOD’S efforts to drive up the debt of the Company
through their aforementioned efforts to benefit from JOHN BLOOD’S endeavors to weaken the Company,
and too cooperate with him in his own aims for the Company, the Defendants received a benefit to
themselves in the form of strengthening their position to take over the Company; thus, JOHN BLOOD
converted Company funds which he did not have a right to so convert, and the Defendants aided and abetted
JOHN BLOOD in that conversion, subjecting JOHN BLOOD and these other Defendants to claims for
conversion and aiding and abetting conversion. See, e.g., ¶¶ 42-53, footnote 4, 60, 69, 70-71, 76-77, 86, 91, 91,
94, 99, 103, 106, 112 of EXHIBIT 1.

                 a.      In the ways identified, the Defendants took part in unauthorized dominion over
        identifiable funds, particularly the $8 Million in investment funds, to which the Plaintiff had an
        immediate and superior right of possession.

        159. By substantially supporting the waste concerned, and by attempting to acquire a benefit
therefrom, the Defendants caused damages to the Plaintiff in the ways otherwise recounted in the Complaint,
including but not limited to the foreseeable damages to the Company that stemmed from the waste of the
roughly $8 Million invested in CERTA DOSE, INC. See ¶ 185 of EXHIBIT 1.

                           SEVENTH CLAIMS FOR RELIEF
               AGAINST COPIC INSURANCE COMPANY, STEVE RUBIN,
      STEPHEN R. HOFFENBERG, ALAN YOUNG SYNN, DAVIS K. HURLEY, BRIAN C.
  HARRINGTON, NILES COLE, GERALDINE A. LEWIS-JENKINS, MATTHEW FLEISHMAN,
 THEODORE J. CLARKE, THOMAS S. COWAN, ANTHONY R. MAYER, PHOEBE FISHER, LFD
 III GRAT-TRUST U/A 8-26-2015, KATHERINE DRISCOLL, TRUSTEE, AND LEE F. DRISCOLL


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      (Equitable Relief, Amotion, Disgorgement of Shares and Loss of Status as Stockholders)
        160.     Plaintiff repeats the foregoing paragraphs with the same effect as if fully set forth herein.

         161. Given the above-referenced breaches of good faith and fair dealing, the breaches of
fiduciary duties, and the aiding and abetting of the breach of those duties—all of which are inequitable—all the
named Defendants who have argued to own stock, interest, or equity in Plaintiff, CERTA DOSE, INC., i.e.,
COPIC INSURANCE COMPANY, STEVE RUBIN, STEPHEN R. HOFFENBERG, ALAN YOUNG
SYNN, DAVIS K. HURLEY, BRIAN C. HARRINGTON, NILES COLE, GERALDINE A. LEWIS-
JENKINS, MATTHEW FLEISHMAN, THEODORE J. CLARKE, THOMAS S. COWAN, ANTHONY
R. MAYER, PHOEBE FISHER, LFD III GRAT-TRUST U/A 8-26-2015, KATHERINE DRISCOLL,
trustee, and LEE F. DRISCOLL, have broken the bonds essential to membership and to being part of a
company, and are, therefore, subject to claims for amotion.

         162. Given that all the named Defendants purporting to own stock, some stake, interest or equity
in Plaintiff, CERTA DOSE, INC., have broken the bonds essential to membership, equity, recoupment,
profit, and even to being part of a company, have caused the Company damages in excess of the value of
their stocks; and given that it would be improper to permit such disloyal and faithless Defendants to maintain
a benefit in any instrumentality of their wrongdoing, said Defendants are subject to claims for disgorgement
of their stock and shares, unjust enrichment, equitable fraud, and estoppel, particularly as, by their
aforementioned actions which are recounted here by incorporation, the Defendants concerned were the
cause of damages and harm to the Plaintiff. See ¶ 185 of EXHIBIT 1.

        163. PLAINTIFF ALSO PRAYS FOR ALL EQUITABLE RELIEF THAT MAY APPLY UNDER THE FACTS
ALLEGED IN THE BACKGROUND ALLEGATIONS, INCLUDING ESTOPPEL, PROMISSORY ESTOPPEL AND UNJUST
ENRICHMENT, AS THE DEFENDANTS MADE REPRESENTATIONS AND/OR PROMISES TO THE PLAINTIFF THAT
THEY DID NOT INTEND TO KEEP IN AN EQUITABLE AND FAIR MANNER AND AS THEY PROFITED FROM HARM
AGAINST THE PLAINTIFF IN WHICH THEY TOOK PART.

                                EIGHTH CLAIMS FOR RELIEF
AGAINST COPIC INSURANCE COMPANY, STEVE RUBIN, STEPHEN R. HOFFENBERG, ALAN
 YOUNG SYNN, DAVIS K. HURLEY, BRIAN C. HARRINGTON, NILES COLE, GERALDINE A.
  LEWIS-JENKINS, MATTHEW FLEISHMAN, THEODORE J. CLARKE, THOMAS S. COWAN,
 ANTHONY R. MAYER, PHOEBE FISHER, LFD III GRAT-TRUST U/A 8-26-2015 (KATHERINE
                         DRISCOLL, TRUSTEE), AND LEE F. DRISCOLL
 (Civil Conspiracy, Including Conspiracy to Improperly Buy Securities During Corporate Takeover
        and/or analogous cause of action under Delaware Law, Delaware Tender Offer Act,)
        164.     Plaintiff repeats the foregoing paragraphs with the same effect as if fully set forth herein.

     165. Defendants COPIC INSURANCE COMPANY, STEVE RUBIN, STEPHEN R.
HOFFENBERG, JOHN BLOOD, ALAN YOUNG SYNN, DAVIS K. HURLEY, BRIAN C.
HARRINGTON, DANIEL LEE MILLER, NILES COLE, J. DANIEL MILLER, JEFFREY ALVIN
DORSEY, GERALDINE A. LEWIS-JENKINS, MATTHEW FLEISHMAN, THEODORE J. CLARKE,
THOMAS S. COWAN, ANTHONY R. MAYER, PHOEBE FISHER, LFD III GRAT-TRUST U/A 8-26-



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2015 (KATHERINE DRISCOLL, Trustee), LEE F. DRISCOLL improperly bought securities during a
corporate takeover, in that:

          166. Said Defendants were in possession of material information relating to a takeover bid (see,
e.g., ¶¶ 29, 44, 57, 60, 67, 69-71, 77, 109-112 of EXHIBIT 1.

        167.     Wherein said Defendants knew that that information was nonpublic;

        168. Wherein the information concerned was acquired before and/or after a takeover bid and
said Defendants knew or had reason to know that the information was acquired directly or indirectly from: (1)
an offeror; (2) the target company, i.e., CERTA DOSE, INC.; and/or (3) an officer, director, or any other
person acting on behalf of the offeror or target company;

        169. Wherein said Defendants sought to use the information concerned to purchase and/or sell,
or cause to be purchased or sold, the target company, i.e., CERTA DOSE, INC.;

        170.     Wherein Defendants’ actions happened both within and without the state of New York; and

        171. Wherein circumstances concerned securities that were sought and/or which were to be
sought by such takeover bid, and/or any securities convertible into or exchangeable for any such securities or
any option or right to obtain or to dispose of any such securities.

       172. As noted herein, the actions of these Defendants were in violation of New York Business
Corporation Law § 1609(b), the Delaware Tender Offer Act, and analogous common law obligations.

        173. As noted above, the Defendants also conspired to commit the above-referenced torts and
improper purposes referenced in the preceding CLAIMS FOR RELIEF, which are also purposes against
public policy, doing so knowingly and willingly.

         174. As such, by their actions the Defendants concerned were the proximate cause of damages to
the Plaintiff. See ¶ 185 of EXHIBIT 1.

                           STATEMENT AS TO THE RESULTS
                   OF THE DEFENDANTS’ AFOREMENTIONED ACTIONS
        175.     Plaintiff repeats the foregoing paragraphs with the same effect as if fully set forth herein.

         176. By the breaches referenced above, and by the actions and omissions referenced, the
Defendants breached duties owed to the Plaintiff, and to society, and were the actual, expected, foreseeable,
natural, direct and proximate cause of the associated damages referenced, including those damages referenced
in the relief requested, supra. In short, the Defendants caused waste of the funds borrowed from investors,
charged for services for which they, given their faithlessness and disloyalty, they had no right, and caused the
Company to reach a position where its value was treated as roughly $15 Million, ultimately necessitating the
Company to settle with most good faith investors at a valuation of $25 Million. In this, the Defendants
caused the Company to be set back in reaching the full potential of the objective valuation of roughly $127
Million, a present difference of roughly $100 Million, as well as the waste of roughly $8 Million in investments


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previously referenced. These numbers are supported by an accountant’s review of where the Company
would be and would also likely be in the absence of the harms perpetrated, an accounting of the damages
stemming from those harms, and as also based on the appraisals of the Company that were made by a
licensed appraisal firm, i.e., Scalar. Furthermore, because the damages were a result of wanton and reckless
behavior, and of malicious acts, it is just to punish the Defendants to protect society from similar acts.

                                              PRAYER FOR RELIEF
WHEREFORE, the Plaintiff seeks relief from the Court that includes judgement against the Defendants
on all of the claims and CLAIMS FOR RELIEF referenced above, for money damages of $102,500,000 (and
the highest amount permitted, if ultimately including punitive damages that may be awarded by the Court), for interest
thereon, respectively, from the date of December 20, 2014, as well as for equitable relief in the form of
amotion, disgorgement of shares and recognition of disenfranchisement in the status of a stockholder in
CERTA DOSE, INC., for the costs in this action, for all equitable remedies affordable to the Plaintiff on the
facts alleged, and for any and all other relief or claims that may be just and proper under the circumstances
and/or facts referenced in this Complaint.

                                                  JURY DEMAND
         PLAINTIFFS DEMAND TRIAL BY JURY ON ALL ISSUES SO TRIABLE.
         DATED: February 9, 2021.
                                             Respectfully submitted,
                                                      /s/ Josue David Hernandez
                                                      JOSUE D. HERNANDEZ
                                                      P.O. Box 838
                                                      Denver, CO 80201
                                                      Telephone: (720) 312-9553
                                                      Facsimile: (303) 200-7801
                                                      jhernandez@DenverContractLaw.com
                                                      CO BAR No. 44509
                                                      ATTORNEY FOR THE PLAINTIFF
PLAINTIFF’S ADDRESS:
CERTA DOSE, INC.
101 Avenue of the Americas,
3rd Floor
NY, NY 10013




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                              EXHIBIT "D"




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DISTRICT COURT, CITY AND COUNTY OF DENVER,
                                    FILING ID: 6D0FB5D0BCB3F
COLORADO                            CASE NUMBER: 2021CV30193
1437 Bannock St., Room 256
Denver, CO 80202

Plaintiff:
CERTA DOSE, INC.,

v.

Defendant:
JOHN BLOOD.
                                                                       p COURT USE ONLY p

ATTORNEY FOR THE PLAINTIFF:                                            Case Number:
NAME:             JOSUE DAVID HERNANDEZ                                Division:
                                                                       Courtroom:
ADDRESS:        P.O. Box 838
                Denver, CO 80201
Telephone:      720-312-9553
Facsimile:      303-200-7801
E-Mail: jhernandez@DenverContractLaw.com
ATTORNEY REGISTRATION NUMBER: 44509


                              COMPLAINT WITH JURY DEMAND


        Plaintiff, CERTA DOSE, INC., for its Complaint, states as follows:

                                                THE PARTIES

     1. Plaintiff CERTA DOSE, INC. (hereinafter also “CERTA DOSE” and the “Company”), is a foreign
        business corporation from Delaware, with a New York principal office 101 Avenue of the Americas,
        3rd Floor NY, NY 10013. (Being a Delaware corporation, Defendants should be on notice that
        Delaware law will apply to corporate law portions of Plaintiff’s claims, subject to governing
        choice of law rules.)

     2. Defendant JOHN BLOOD is a natural person who is a resident of the state of Colorado and who,
        during the times identified in this Complaint, was an officer of CERTA DOSE, INC.




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                                              JURISDICTION AND VENUE

         3.      Because the Defendant took actions within Colorado so as to harm Plaintiff in the
ways identified in the GENERAL ALLEGATIONS and in the CLAIMS FOR RELIEF provided below, the
Defendant took actions in Colorado that constitute torts, which constitute grounds for the assertion
of jurisdiction. The Defendant also lives in Colorado, and in the City and County of Denver.

       4.      Defendant JOHN BLOOD resides in the City and County of Denver, constituting
grounds for the assertion of venue in the City and County of Denver.

                                               GENERAL ALLEGATIONS

        5.       Plaintiff incorporates all of the preceding allegations as though fully set forth herein.

         6.      Defendant JOHN BLOOD offered to help the founder and majority shareholder of
CERTA DOSE, DR. CALEB HERNANDEZ (hereinafter “DR. HERNANDEZ”), incorporating the Company on
July 12, 2013, which JOHN BLOOD did through his connections at COOLEY LLP, acting as incorporator.
Thereafter, COOLEY LLP acted as counsel for CERTA DOSE and remained its principal counsel.

        7.       With regard to the facts of the preceding paragraph, JOHN BLOOD informed DR.
HERNANDEZ: that he had previously worked with a law firm, COOLEY LLP; that it was the best in the
business for startups; that COOLEY LLP was expensive, but that it was worth it; and that he could use his
connections in COOLEY LLP to perhaps negotiate a discount. JOHN BLOOD treated his ability to bring
on COOLEY, LLP as one of the greatest assets that he could bring to the table.

        8.        Upon initially meeting JOHN BLOOD’S contacts at COOLEY LLP, attorneys KELLY
BARTLING and MICHAEL L. PLATT, they informed DR. HERNANDEZ that they had worked numerous
times in the past with JOHN BLOOD, that they were familiar with how he did business, and that JOHN
BLOOD was very knowledgeable and would be able to provide good internal legal guidance for the
proposed startup. (This last statement not only served as support for JOHN BLOOD, to build confidence in
him, but it is also—as a matter of law—a false statement: people who are not lawyers cannot provide legal
guidance.)

           9.        Although admittedly familiar with JOHN BLOOD’S business practices, KELLY
BARTLING and MICHAEL L. PLATT failed to inform DR. HERNANDEZ about JOHN BLOOD’S
practice of running up the debt of companies he helped start up for his own personal benefit, i.e., so as to
facilitate its sale (an arrangement that financially benefited COOLEY LLP, JOHN BLOOD and the preferred stockholder
investors that benefited from the desperation, dilution and windfall resulting from the combination of JOHN BLOOD and
COOLEY LLP’S efforts), as noted further below. In fact, what they did communicated at the time was not
only false, as noted above, but also served to conceal this material information. In all of their dealings with
CERTA DOSE, neither COOLEY LLP, KELLY BARTLING, MICHAEL L. PLATT, nor any other
COOLEY LLP attorney ever informed CERTA DOSE of JOHN BLOOD’S modus operandi, despite
purportedly not representing JOHN BLOOD.




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           10.       The facts addressed in the preceding three paragraphs¾particularly when taken in light of the
totality of the circumstances addressed in this Complaint¾raise the inferences that: (1) COOLEY LLP’S startup
practice, as well as the attorneys concerned, benefited financially from its relationship with JOHN BLOOD;
(2) the attorneys and firm concerned treated the relationship with JOHN BLOOD as more valuable or
important to them than the fiduciary obligations that they owed to a client and to a prospective client; (3) the
attorneys and firm concerned were willing to repeatedly engage in a pattern, and in a relationship, that
profited them, which involved the kinds of business practices that this Complaint attributes to JOHN
BLOOD, as well as a degree of sanction for JOHN BLOOD’S business practices; (4) the attorneys and firm
concerned were willing to conceal the material dangers implicated from those to whom they owed fiduciary
obligations, showing more loyalty to JOHN BLOOD than to their fiduciary; and (5) the attorneys and firm
concerned entered this arrangement with JOHN BLOOD knowingly and intentionally, acted with knowledge
of the results that JOHN BLOOD had and would likely have, and also, therefore, acted with intent in all of
their dealings, as addressed in this Complaint, infra.

         11.       Upon the preceding facts, upon the totality of the circumstances, as well as upon
information and belief, it is evident that COOLEY LLP and JOHN BLOOD used concealment of the
actual nature of their relationship and modus operandi¾through failures to disclose, failures to give informed consent,
coupled with waiver instruments such as arbitration agreements¾to preserve their ability to gain the confidence of
future startups in a pattern that benefited them financially, allowing them a continued means to serve up
startups to venture capital firms and other predatory investors.

         12.     On or about December 19, 2014 through December 22, 2019, COOLEY LLP purportedly
represented CERTA DOSE in all matters concerned regarding an AMENDED AND RESTATED
CERTIFICATE OF INCORPORATION OF CERT A DOSE, INC., which was amended to account for
the sale of preferred stock¾through number of agreements that are incorporated herein by reference¾to Defendant
COPIC INSURANCE COMPANY, who COOLEY LLP also represented. The principal attorney from
COOLEY LLP involved in these dealings was Defendant MICHAEL L. PLATT. Defendant JOHN
BLOOD acted as President of CERTA DOSE in the transactions, although he kept his intentions and his
secret knowledge of COOLEY, LLP’S intentions secret from the Plaintiff.

        13.      In the transactions referenced in the preceding paragraph, neither COOLEY LLP,
Defendant MICHAEL L. PLATT, nor Defendant JOHN BLOOD informed CERTA DOSE, INC.,
including the majority shareholder of CERTA DOSE of: (1) the consequences that were likely, known, and
which would result from the kind of preferred stock that was being provided to the venture capital investor,
COPIC; or (2) the nature and legal significance of the anti-dilution provisions and minority stock protection
provisions involved, which would work together over time to provide all of the protections of a minority to
COPIC, yet made it a practical certainty that COPIC would, in time, become the majority shareholder of
CERTA DOSE and own its intellectual property.

         14.       Although the transactions and instruments concerned in the preceding two paragraphs
required the informed consent of CERTA DOSE’S majority shareholders, the material facts mentioned and
referenced, supra, were never provided to the majority shareholder, DR. HERNANDEZ, when his consent was
sought by the Defendants concerned (meaning and raising the inference that the actions taken by the Defendants concerned
were improper, fraudulent and void).


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      15.     Between May 26, 2016 and June 13, 2016, the foregoing agreements and instruments were
amended and restated in a SERIES SEED 2 PREFERRED STOCK PURCHASE AGREEMENT, a
CERTA DOSE, INC. AMENDED AND RESTATED INVESTOR RIGHTS AGREEMENT, a
CERTA DOSE, INC. AMENDED AND RESTATED CO-SALE AGREEMENT, and a CERTA
DOSE, INC. AMENDED AND RESTATED VOTING AGREEMENT. The principal attorney from
COOLEY LLP involved in these dealings was MICHAEL L. PLATT.

           16.       Given the totality of the circumstances surrounding the amendments and restatements
referenced in the preceding paragraph (such as the conflicts of interest concerned, factors that worked materially against the
interest of CERTA DOSE, and the incentives for wrongdoing that are implicated on behalf of the Defendants concerned in
these transactions), and given the reasonable inference that an attorney understands the legal effect of his or her
work product, while those not educated in the law typically do not, these facts raise the inference that
COOLEY LLP and MICHAEL L. PLATT operated to benefit their client COPIC, yet at the expense of
CERTA DOSE (despite asserting that they were representing, principally or exclusively, the interests of CERTA DOSE,
INC.), while also acting to their own economic benefit. See, e.g., ¶¶ 26-37 of EXHIBIT 1.

        17.      In the transactions referenced in the preceding paragraph, neither COOLEY LLP,
MICHAEL L. PLATT, nor Defendant JOHN BLOOD informed CERTA DOSE’S majority shareholder or
CERTA DOSE, INC. of the consequences that were likely, and known to these Defendants, which should
have been known to them, and which also would almost certainly result from the kind of preferred stock that
was being provided to COPIC INSURANCE COMPANY, as would be known by people with the
background in business and law of these Defendants (particularly given the advice of COOLEY, LLP), and as also
implicated by the facts referenced in ¶¶ 26-38 of EXHIBIT 1. (This raises the inference that the statements as
to informing the Company’s majority of shares, as required by Delaware law, were deceptions and affirmative
misrepresentations, and that the associated breaches of fiduciary duties were knowing and intentional, as they
were conducted despite an affirmance to the contrary.)

         18.      CERTA DOSE began 2018 with roughly $3.5 million in convertible promissory notes that
had been raised from friends and family of the shareholders, mostly the friends and family of DR.
HERNANDEZ. This occurred after CERTA DOSE had been extended promising business opportunities in
New York following favorable recognition in the industry, which its proprietary technology received in
November of 2017. Due to the efforts and urgings of JOHN BLOOD, the noteholders referenced in this
paragraph, i.e., the 2017 noteholders, were told to expect a Series A in the Fall 2018. These
investors/noteholders were informed by COOLEY, LLP, MICHAEL L. PLATT, and JOHN BLOOD that
they would receive preferred stock with the discounts listed in the notes. This, however, was a lie, as JOHN
BLOOD knew that by virtue of how the preferred stock provisions in the CERTIFICATE OF
INCORPORATION functioned—which these investors had not been provided nor informed of—none of the good
faith noteholders would receive preferred stock or the referenced discount. JOHN BLOOD even calculated
that the investors would not receive preferred stock or the discount.

     19.   As per the language of the note instruments, COOLEY LLP purportedly represented
CERTA DOSE as its principal client, but it also purported to represent the noteholders.




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        20.      In this, COOLEY LLP included a waiver of conflicts in the note documents; however,
COOLEY LLP never actually informed CERTA DOSE, nor the noteholders, of what the conflicts were,
what the nature of the conflicts were, nor did it advise any of them concerning the consequences of the
language in the agreements, which ultimately implicated conflicts with the interests of COPIC, as further
noted in this Complaint. Cf. id.

         21.      At this time (see ¶ 40 of EXHIBIT 1), JOHN BLOOD also asked DR. HERNANDEZ to be
CEO and Chairman of CERTA DOSE, INC., yet did so in a context where it was made clear, and
understood, that DR. HERNANDEZ was, nonetheless, still to go to New York to further CERTA DOSE’S
interests in the business opportunities concerned.

        22.        With regard to the facts identified in the preceding paragraph, it later became evident to the
Company—in its subsequent investigations and through review of the corporate records and e-mails that had been hidden by the
Defendants concerned, which followed the dismissal of the COPIC-appointed Directors and JOHN BLOOD—that having
the CEO and Chairman in New York was used by those later-dismissed fiduciaries to conceal the steps that
JOHN BLOOD was taking to drive up the debt of the Company, to cause waste, and to use those
circumstances as the principal means of forcing a sale of shares that would benefit his investor affiliates.
COOLEY, LLP used the distance, and the practical difficulties of assembling the entire board, which included
those complained of, as a pretext for not addressing the issue in the methods required by the rules of
professional conduct. See ¶¶ 53-59, 72-83 of EXHIBIT 1.

        23.       The facts concerned therefore raise the inference that the effort of moving of DR.
HERNANDEZ to New York, while also making him CEO and the Chair of the Board, were an intentional and
knowing set of acts complained of, which was instrumental in the coordinated effort of the Defendants
concerned to ultimately transfer the assets, shares and control of CERTA DOSE from those in the Company
to whom the COPIC-appointed Directors and JOHN BLOOD owed fiduciary duties to their affiliates. In
short, encouraging DR. HERNANDEZ to move to New York allowed these Defendants to operate without
oversight and to easily have secretive meetings without the knowledge and oversight of CEO and Chairman,
or ultimately the Company.

         24.     In January of 2018, Defendant JOHN BLOOD was also hired as COO/CFO of CERTA
DOSE, following a conversation that he had with the COPIC-appointed director, Defendant STEPHEN R.
HOFFENBERG, and DR. HERNANDEZ. (Although Defendant JOHN BLOOD had originally taken part in
the incorporation of the Company, he had stepped away from the business after bringing in COPIC.) Once
it was found that CERTA DOSE was valuable,1 JOHN BLOOD’S interest in the Company was aroused, and

1
  At roughly the time that JOHN BLOOD first left CERTA DOSE, INC., he informed DR.
HERNANDEZ that he had experience with a lot of companies and that his approach was to see if a
company was ripe for applying his special approach to business. If a company was not ripe for his
approach, JOHN BLOOD admitted that he would move on to another company with which he had
connections where investment money was present or coming in, where he could then apply his
approach to business. As noted earlier, JOHN BLOOD had a specific methodology that he applied
to companies with significant investment funds; companies that could then be sold to venture
capitalists with whom he and/or COOLEY, LLP had relationships, but at an artificially created
discount. That methodology, however, depended on the company concerned being ripe for

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he pursued a place in the Company with a zeal that was, significantly, also aimed at dealing specifically with the
funds of the 2017 notes, as noted below. See, e.g., ¶¶ 48-51, 57, 66-67 and 75 of EXHIBIT 1. To gain the
Company’s confidence at this time, and to gain greater control over the operations and capital of the
Company, JOHN BLOOD lied to DR. HERNANDEZ, stating that the prior CFO had falsified the Company’s
financials and that the financials were largely a work of fiction. A COPIC-appointed director and JOHN
BLOOD both urged DR. HERNANDEZ that it was appropriate for JOHN BLOOD to rectify this problem
through accounting. (As detailed below, however, JOHN BLOOD would burn through the aforementioned
$3.5 million in 6 months; a fact he kept from the CEO in New York.) See ¶ 40, ¶¶ 48-51, 57, 66-67 and 75 of
EXHIBIT 1. (However, Company records and subsequent review by accountants reveal that JOHN BLOOD
had done zero accounting, and had not even made a journal entry with regard to the finances, he stated—at
this time—that his efforts to correct and rectify the books were akin to changing the engine on a car as it went
down the road at 60 mph, and while changing the tires.)

         25.    Defendant JOHN BLOOD did not raise any of the aforementioned capital. See ¶ 40 of
EXHIBIT 1. He was, however, given the task managing the financials, while helping with the organizational
structure of the Company and its operations. (The COPIC-appointed Directors and JOHN BLOOD
convinced DR. HERNANDEZ that it would be best for him to be in charge of new product development and
product manufacturing while in New York; Defendant JOHN BLOOD would stay Colorado to run
operations and what was believed at the time to be the core business, as well as sales.)

        26.       When DR. HERNANDEZ first arrived in New York, JOHN BLOOD had not brought up
any concern about finances, despite being asked; however, within one month, he told DR. HERNANDEZ that
there was an urgent need to raise capital, but that the good news was that they had some of their investors on
hand who could come in with that capital. At that time, JOHN BLOOD mentioned that the Company
would have to do an emergency funding round, which was a surprise, as JOHN BLOOD had actually sent
some of the funding that had been raised in the 2017 notes back to investors “because they were not the kind
of investors that [they] want[ed].”

         27.     DR. HERNANDEZ was surprised and upset that JOHN BLOOD was not keeping him up to
date on the financial state of the Company despite numerous requests. He informed JOHN BLOOD that
there should have been some explanation or diligence to present the situation within the 6 months concerned
so that the Company could address issues appropriately and, at a minimum, do some degree of planning.
The COPIC-affiliated Director working with JOHN BLOOD responded by saying, “we all make mistakes
and we need to look out for each other.” DR. HERNANDEZ noted that when he asked JOHN BLOOD for
information, he had simply replied, “I've got this, don't worry about this; I know what I'm doing. You're a
physician and you’d get upset if I asked you to explain yourself about medicine. I'm like a doctor when it
comes to finances and I have this covered.” The evident cooperation between JOHN BLOOD and the
COPIC-affiliated Director seemed out of place, particularly given the fact that they were directing the rounds
of funding only to their affiliates and refusing others who were interested in investing. It felt like a bit of an
ambush to DR. HERNANDEZ, but he trusted these fiduciaries and they had also left no other option to the
Company but what they were willing to bring in in the eleventh hour.


investment, such as when CERTA DOSE, INC. received FDA approval and industry recognition of
its technology. See, e.g., ¶¶ 29-42, ¶¶ 57, 66-67 of EXHIBIT 1.

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        28.       After the capital had been raised in the 2018 notes,2 JOHN BLOOD mentioned that he
wanted to start hiring more employees. DR. HERNANDEZ told him that he was concerned about that, as the
previous money had been used so quickly. JOHN BLOOD responded by saying, “Caleb, don't worry, even
if we don't sell a single bit of product, I've already done the calculations and we have 14 months of runway.
We're safe and in a good position: trust me, I know how to build world-class organizations.”

         29.     Shortly after this, DR. HERNANDEZ asked JOHN BLOOD about looking into changing
banks. JOHN BLOOD noted that he did not like the idea, but said he would look into it. He then went to
the Company’s controller/CPA, who had also been telling him for some time that the Company could be
making more interest on the savings at another bank (2% vs. 0.1%), but JOHN BLOOD told her a different
story than that he had told DR. HERNANDEZ, as recounted in the preceding paragraph. JOHN BLOOD told
her, “Don't worry about it, we'll be through all this money in 4 months or so, so it's not worth it to make the
change.” JOHN BLOOD then came to the Board with a pretext for not changing the bank that had nothing
to do with what he told the controller, saying that it was “too much brain-damage” to change the bank; that it
would be “incredibly distracting and time-consuming” to do so and that the Company should wait until after
Series A.

        30.     An employee who was also a noteholder, who is also known to all Parties to this action
(CERTA DOSE’S Chief of Design at the time), also came on board with the Company in January of 2018,
due to the need to have a designer involved for the products that were linked to the business opportunities
developing in New York. (By the end of 2019, the New York-based operations would be the core business
of CERTA DOSE, INC., bringing in 85% of the Company’s revenue.) Previously, and during this time, the
aforementioned employee, who was also a noteholder, was an investor in the Company through the
aforementioned convertible promissory notes.

          31.       When the aforementioned employee who was also a noteholder entered the agreements
concerned in the aforementioned convertible promissory notes¾which he entered into with all of the other parties to
the note agreements on March 7, 2017 through December 15, 2017, July 2-16, 2018, and March 14 through April 19, 2019,

2
  Although the 2017 noteholders had been promised a Series A, and although the round of funding
exceeded the amount needed to convert the notes, JOHN BLOOD and COPIC maneuvered the
circumstances, in numerous ways, to ensure that the investment coming in was only in the form of
promissory notes to their affiliates. See EXHIBIT 1 (Part Three). These facts, taken in light of the
totality of the circumstances (including the referenced deception), raise an inference that the Defendants
concerned: (1) intended to create dept that would then be used to effect a hostile takeover; (2) were
working with their affiliated noteholders to this end; and (3) the steps taken in furtherance of this
coordinated effort were intentional on the part of all concerned, particularly as JOHN BLOOD
disparaged the notes. (These inferences also arise from these fact that a reasonable investor—i.e., an
investor who did not know that that he or she had an agent in the Company who would drive up the debt up so as to
ultimately create a Series A, down the road, that only had such an investor and their affiliates invited to it and which
would produced a total change in the ownership of the Company at an artificially discounted price—would prefer a
Series A to simply purchasing notes that their ally within the Company considered to be on par with
feces. It also raises the inference that these investors were working with COPIC, as its control of
the notes is what made them dangerous to investors/noteholders and comparable to feces, as per
JOHN BLOOD’S admissions. See ¶¶ 61-62 of EXHIBIT 1.

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as noted in the Company’s bridge financing binders¾he was sent the agreements and instruments concerned in New
York, which he executed in New York and then mailed back to CERTA DOSE, INC. The aforementioned
employee who was also a noteholder’s dealings on all but the first convertible promissory note were with
JOHN BLOOD. See id.

       32.        After the aforementioned employee who was also a noteholder had become an employee of
CERTA DOSE, JOHN BLOOD contacted the aforementioned employee who was also a noteholder about
amending the notes and informed the aforementioned employee who was also a noteholder that the notes
could be amended merely with his signature and the approval of COPIC, but that if the aforementioned
employee who was also a noteholder did not sign, that the notes would nonetheless be amended (indicating that
COPIC essentially held the power to amend the notes at will). See also ¶¶ 52-53 of EXHIBIT 1.

         33.     With regard to the facts referenced in the preceding paragraph, JOHN BLOOD also used
his position as a superior officer to pressure the aforementioned employee who was also a noteholder into
signing an amendment of the notes that kept them from maturing or converting into equity, intimating that
there could be negative consequences for the aforementioned employee who was also a noteholder’s
employment if he did not comply.

           34.      Because JOHN BLOOD took steps with the COPIC-affiliated Directors to keep the 2017
notes from converting into equity—despite the fact that those noteholders, aside from COPIC, all wished to become
equity—insisting that the 2017 notes remain debt instead of being converted into equity with the promised
Series A, it is evident that JOHN BLOOD and COPIC were on the same page of creating debt that brought
no benefit to the noteholders or the Company, but which would benefit COPIC, JOHN BLOOD, and their
affiliates. This not only shows that JOHN BLOOD deceived the Company and the 2017 noteholders, with
the help of COOLEY, LLP, but these inferences are also bolstered by the fact that JOHN BLOOD spent the
$3.5 raised through the 2017 notes in 6 months. (The 2017 notes included the retirements and savings of
over 24 people and trusts, raising the inference that the wrongdoing concerned was committed with
a depraved heart.) This, in turn, also shows that JOHN BLOOD had no intention of spending the money
concerned in accordance with any duty of care, as he deceptively indicated with his lies as to the previous
accounting, but that JOHN BLOOD, instead, had the intention—from the beginning—of bringing in new
investment, in the form of promissory notes on account of the debt, which would be funneled to his
affiliates. See ¶¶ 46-51 of EXHIBIT 1.

         35.      This was concealed from the CEO and Chairman of CERTA DOSE (who was in New York),
as it was revealed in the later investigation that: (1) JOHN BLOOD’S subordinate employees were told by
him not to communicate this information to the CEO; (2) the CEO was told something materially different
as to the status of the money raised in the 2017 notes;3 and (3) being in New York, the CEO and Chairman
did not have access to seeing what was happening in the Colorado office and depended upon JOHN
BLOOD, the rest of the board, and the information he was provided by employees. The efforts that JOHN
BLOOD would take to control employees at the Colorado office and to conceal information from the New
York office is recounted in DR. HERNANDEZ’S annexed affidavits. These efforts were, thus, used to conceal
the material information at issue from the Company.

3
    See, e.g., ¶¶ 48-51 of EXHIBIT 1.



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         36.       With regard to the facts referenced above (see ¶¶ 52-53 of EXHIBIT 1), the aforementioned
employee who was also a noteholder made it clear to JOHN BLOOD that he preferred to have his notes
either mature or become an equitable interest, given that the funds that were being invested in the bridge
rounds could have simply been treated as a conversion event under a good faith view of the provisions of the
contract (if all concerned were treating each other fairly). At the time, the actions simply did not make sense to the
aforementioned employee who was also a noteholder, as the facts that would ultimately lead to the
understanding the significance of these circumstances had not been revealed by COOLEY LLP or its
attorneys, COPIC, JOHN BLOOD or the COPIC-affiliated Directors, nor had it been revealed by the
troubling circumstances leading to the removal of the COPIC-affiliated Directors and JOHN BLOOD, nor
the investigation that followed, making any purported prior representations of disclosure affirmative
misrepresentations.4 The aforementioned employee who was also a noteholder’s referenced confusion was
representative of the confusion experienced by the other 2017 noteholders, who had been kept in the dark of
the material information concerned by the Defendants: something that would come to light in the
investigation following the suspension of JOHN BLOOD.

          37.       In the interactions referenced in the preceding three paragraphs, JOHN BLOOD did not
inform the aforementioned employee who was also a noteholder of the evident intentions that he or COPIC,
or their affiliated investors had with regard to the notes, which is something that was discovered later when
the aforementioned employee who was also a noteholder later became the COO of CERTA DOSE and had
access to JOHN BLOOD’S documents following JOHN BLOOD’S suspension. Similarly, when the
aforementioned employee who was also a noteholder purchased the notes (and even after he became a shareholder
prior to his notes converting on November 15, 2019), JOHN BLOOD refused to share the material information
concerned as to his intentions for the notes (or the intentions of COPIC and COOLEY LLP), for CERTA
DOSE, to create debt and waste, and to disavow any duties of good faith to the noteholders, particularly the
2017 noteholders.

           38.        After JOHN BLOOD’S suspension, CERTA DOSE discovered that JOHN BLOOD
would openly tell the COPIC-appointed Directors that the promissory notes were horrible, actually
comparing them to feces, in crude terms, and that he could not imagine why anyone would be so “stupid” as
to buy them. JOHN BLOOD would, however, then turn around and tell investors that the notes were
amazing and that they were one of the best investments imaginable. This information was discovered by
interviewing JOHN BLOOD’S subordinates, whom he had also instructed not to disclose information
concerning his activities to the CEO. Because the notes concerned had so many terms that were against the
interests of CERTA DOSE and in the favor of COPIC (although COOLEY LLP had purportedly written them to
the principal benefit of CERTA DOSE), this strange behavior from JOHN BLOOD would otherwise simply be

4
  Although COOLEY, LLP professed to follow the applicable rules of professional conflict, it and its
involved attorneys had not complied with them, which it is evident that they all knew, as the adverse
consequences were not provided to the Plaintiff or to the good faith noteholders. Furthermore, it is evident
that although COOLEY, LLP professed to have solely represented CERTA DOSE, INC.’S best interests in
the note transactions, it did not disclose what representation it was actually providing for COPIC or the other
parties that were taking part in the hostile takeover through their purchase of the notes and involvement in
JOHN BLOOD and COPIC’S scheme, nor did COOLEY, LLP disclose what the adverse consequences of
this were.

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perplexing, were it were not for the fact that he knew COPIC could amend the notes at will to make the notes
and their terms essentially meaningless, constantly extending them or changing the terms of their promised
payment. A strong inference, therefore, arises that JOHN BLOOD made affirmative misrepresentations to
both CERTA DOSE, INC. and any good faith noteholders, i.e., those who were not affiliated with COPIC
and JOHN BLOOD, through his efforts to sell the notes, especially as only one of his conflicting statements
could be true. (Because these acts were done in furtherance of the scheme, all those who took part in the
scheme, or who aided and abetted those involved, are also liable for this misrepresentation.)

         39.     The inferences of wrongdoing and bad faith identified in the preceding paragraph became
further evident when CERTA DOSE discovered an e-mail from JOHN BLOOD to the COPIC-affiliated
Directors, dated September 17, 2019, indicating that they would use a $97 Million valuation to value the
interests of those who were not their affiliates, whereas their affiliates¾as noted below¾were to receive a
valuation of roughly $15 Million. See also ¶¶ 99, 110 of EXHIBIT 1.

         40.      Upon facts such as those of the preceding paragraph, it became evident to CERTA
DOSE¾in its investigation following the suspension of JOHN BLOOD and the COPIC-appointed Directors¾that the
referenced faithless fiduciaries intended to apply different terms to the noteholders in a Series A than they
would apply to their affiliated investors and that, intrinsically, the affiliated investors of these faithless
fiduciaries intended to apply different terms to themselves in a Series A than they would to the noteholders.

         41.      The aforementioned employee who was also a noteholder informed CERTA DOSE that he
would never have invested in CERTA DOSE if the intentions of JOHN BLOOD and the COPIC-affiliated
Directors had been disclosed to him. Because the associated concealment was managed by JOHN BLOOD
and the COPIC-affiliated Directors in furtherance of the hostile takeover scheme, all those who took part in
the scheme, or who aided and abetted it, are also liable for the associated deception, and this also serves to
show that but for the concealment and deception, the 2017 noteholders would not have been deprived of the
value of their investment.

          42.       The facts concerned in the preceding ten paragraphs also raise the inference that COPIC,
JOHN BLOOD and the COPIC-affiliated Directors all knew the significance of provisions that had actually
been written in their favor and in the favor of their affiliates, yet to the detriment of CERTA DOSE and the
good faith noteholders, i.e., those who were not receiving the preferential treatment that JOHN BLOOD and
the COPIC-affiliated Directors were giving to COPIC, its affiliates and JOHN BLOOD’S affiliates. These
facts¾especially when considered in light of its concealment on behalf of JOHN BLOOD, COPIC, their affiliated investors,
and the COPIC-appointed Directors¾also indicate that COOLEY had likely written the documents concerned to
the benefit of COPIC, JOHN BLOOD and their affiliated investors (who it turns out would be the only parties
invited to a Series A financing round), particularly in light of the fact that COOLEY, LLP knew of JOHN
BLOOD’S method of operation.

      43.     While DR. HERNANDEZ was in New York (following the aforementioned January 2018 meetings),
JOHN BLOOD began to spend inordinate and unsound amounts of the Company’s funds, as evidenced by
Company records and also by the later review of accountants. For example, it was discovered in CERTA
DOSE, INC.’S investigation, and in reviewing billings that COOLEY, LLP sent to JOHN BLOOD, that
JOHN BLOOD allowed COOLEY LLP to begin billing at higher prices than their engagement letter, with


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his evident knowledge, while not bringing that to the Company’s attention (something that benefited both of these
fiduciaries at the expense of the Company, particularly when considered in light of the totality of the circumstances). (As also
noted, JOHN BLOOD and COOLEY, LLP took efforts to conceal this information and its significance
from the Company.)

          44.         Among other things, JOHN BLOOD took the actions complained of in the preceding
paragraph by: (1) working with the COPIC-affiliated Directors to keep the promissory notes from becoming
equity¾pushing strongly under the threat of COPIC’S displeasure if the wishes of the COPIC-appointed Directors were not
complied with¾to have the notes remain debt whenever a vote of the matter arose; (2) expending a fortune in
legal fees to COOLEY LLP, spending roughly $30,000 a month¾and more than twice as much as other firms
ultimately offered to charge for the same work¾because of the understanding that COOLEY LLP was somehow, in
an undefined way, essential for the success of the startup operation; (3) pushing for, and hiring, a giant cast of
employees and paying them well above the market rate¾salary with benefits¾for jobs that were previously
done on an “as needed” basis by outsourced services at a fraction of the cost, something that could not have
been done without the pressure of JOHN BLOOD and the COPIC-affiliated Directors working within the
Company to achieve these ends. In short, JOHN BLOOD worked, intentionally, and even against the wishes
of the CEO¾his superior officer¾to spend through the roughly $8,000,000 dollars of funds that had ultimately
been raised through all the convertible promissory notes by August of 2019, spending at a burn rate of
roughly $500,000 a month, which JOHN BLOOD did with the full knowledge of COPIC, the COPIC-
affiliated Directors and their affiliated noteholders, along with the JOHN BLOOD-affiliated
noteholders/investors. This was all in accordance with his admitted modus operandi of driving up the debt of a
Company to then profit when it was sold to investors with whom he had a relationship, who would then
compensate him at that point (which he confessed to a subordinate employee, as discovered in the investigation following his
suspension). See, e.g., ¶ 68 of EXHIBIT 1.

           45.        It was later discovered, in the investigation following JOHN BLOOD’S suspension, that the
accountant and controller who worked under JOHN BLOOD¾and whom he, as a habit, continually intimidated so
as to conceal his activities¾had informed him repeatedly that the burn rate was fiscally unsound, yet that JOHN
BLOOD, nonetheless, insisted on operating the Company at that burn rate. (Because JOHN BLOOD
depended on the expertise of this accountant and controller¾being that she was an actual accountant, and was
accomplished and competent in the requisite proficiencies, and in light of the fact that accountants would generally view it as
dishonest for JOHN BLOOD to refer to himself as an accountant, given his measurable lack of necessary and marketable skills
in that regard, as ultimately discovered in the Company’s investigation¾the facts concerned in this paragraph
demonstrate that JOHN BLOOD acted knowingly, wantonly, for his own profit, and intentionally when
acting in opposition to the controller’s warnings.) See also ¶¶ 48-51 of EXHIBIT 1.

         46.     Before his suspension, JOHN BLOOD informed employees and investors that a large
pharmaceutical company would be doing the Series A investment, wherein he spoke of this Series as if it
were a foregone conclusion. Once he was suspended, however, the Company discovered that there was never
an offer on the table and that the large pharmaceutical company concerned never even reached the point of
anything approaching a serious conversation on the topic, nor did any decisionmaker with apparent power at
that company ever make such a communication. Nonetheless, JOHN BLOOD used this as an excuse with
some of those who questioned him to continue to spend as if such a Series A were a sure thing even though
the Company was bleeding financially due to JOHN BLOOD’S efforts. This was also further deception


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hiding the fact that he intended, all along, for it to be his affiliates and the COPIC-affiliated investors who
came in on the Series A. These facts raise an inference of JOHN BLOOD’S statements being deception that
concealed what he was actually doing and that bought him time in doing so. This set of facts also raises the
inference that is was his intention to actually create debt within the Company through waste, beginning
expensive projects that had no reasonable likelihood of achieving their ends before the money devoted to
them was spent, but which certainly achieved the end of creating debt through such waste of the note funds.

         47.        As another example, although JOHN BLOOD communicated to others that the business
would be selling product with the JIT (just in time) business model, wherein product would be produced just
in time for the distributors as orders came in, that was actually a deception. To inflate the sales numbers,
JOHN BLOOD had actually purchased more than 20,000 vials of epinephrine and had placed a purchase
order to produce 20,000 kits. In this, JOHN BLOOD wasted money and product, further evidence of his
methodology to create debt/waste in the Company for his own, ultimate personal benefit, while doing the
opposite of the JIT business model. In this, JOHN BLOOD took these actions with distributors so that it
appeared as if the Company had consumer sales, which JOHN BLOOD both knew not to be the case and
which he actually took steps against, keeping the waste increasing, while limiting the securing of revenue to
the Company (which would have hindered his aim and methodology of creating debt so that he could profit in the forced sale of a
company to investors with whom he had a relationship).

           48.      It was later discovered, as evidenced by Company records that had been kept hidden by
JOHN BLOOD, as well as interview with employees, that JOHN BLOOD had communicated secretly with
his affiliated investors, informing them of the debt within the Company, of the control they would receive in
a Series A round that would be based on a low valuation of the Company (due to the debt JOHN BLOOD was
creating), and of his efforts to ensure that only they, their affiliates, COPIC, and its affiliates knew of the state
of the COMPANY and would be invited to the Series A round of financing. See, e.g., ¶¶ 48-51, ¶¶ 99, 109-111
of EXHIBIT 1. These facts, along with the fact that JOHN BLOOD continually and evidently acted as an
agent for these investors within the Company¾by, for example, giving them preference above other investors and by
computing capitalization tables for their benefit¾serve to demonstrate that JOHN BLOOD had an interest in these
affiliates reaping a benefit from the waste and detriment inflicted upon CERTA DOSE by JOHN BLOOD’S
actions, and which he oversaw, particularly as they fit within his pattern and admitted methodology of
purposefully creating debt within a company to benefit from its sale in a Series A round of financing to
investors with whom he was affiliated. See also ¶¶ 22, 44, 57, 60, 67, 69-70, 77 and 109-111 of EXHIBIT 1.

          49.       The facts concerned in the preceding paragraph also raise the inference of a quid pro quo
between JOHN BLOOD and his affiliated investors, as well as the inherent and significant support offered to
JOHN BLOOD through the security that his efforts would be rewarded in taking such a risk—particularly as
the relationships with these affiliated investors were ultimately described by JOHN BLOOD in economic
terms and the efforts taken against CERTA DOSE, INC., through JOHN BLOOD’S actions, would make
no economic sense without there being such a quid pro quo. See EXHIBIT 1 at ¶¶ 22, 44, 57, 60, 67, 69-70. This
inference is also bolstered by the fact that the group of investors concerned, knew of the debt, were kept
informed by JOHN BLOOD of the debt (which they knew he caused), and affirmatively told the Company that
one of their demands was that JOHN BLOOD remain within the Company (despite the Company’s protests about
JOHN BLOOD’S misfeasance), thereby providing support to JOHN BLOOD’S efforts to further the hostile
takeover scheme, not merely through purchasing the securities concerned and through actions that would—
absent for the scheme—be contrary to their interest, but through efforts to maintain their agent within CERTA


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DOSE, INC., continuing the efforts of the hostile takeover scheme. The fact that investors from this group
had worked with JOHN BLOOD previously, which he and they admitted to the Company, also serves as
evidence that this support of the JOHN BLOOD was knowing and intentional.

          50.       It was also later discovered, in CERTA DOSE’S investigation following the suspension of
JOHN BLOOD, that he communicated on an almost daily basis with a then COPIC-affiliated Director,
doing so outside of the normal and proper channels, outside of Board meetings, outside of the presence of
the Chair of the Board (to an extensive degree), and outside of the regular accountability that is created when a
board functions as a body (as opposed to individual board members taking unsanctioned action). It was evident to
employees who were subordinate to JOHN BLOOD, and who had been intimidated by JOHN BLOOD
(from the nature of the communications and the circumstances concerned), when these employees relayed this information
to CERTA DOSE during its investigation, that STEPHEN R. HOFFENBERG was managing JOHN
BLOOD and monitoring the state of the Company on behalf of COPIC, the COPIC-affiliated investors,
and its interests.

         51.     As noted, the 2017 notes included the retirements and savings of over 24 people and trusts,
which JOHN BLOOD had deceptively burned through in 6 months to place his and COPIC’S affiliates in a
favorable position.) See EXHIBIT 1 at ¶¶ 49-53 and 57. The preceding paragraph also raises the inference that
the referenced efforts in favor of waste and the associated hostile takeover were intentional and were being
kept from the Company by keeping their treatment out of the proper channels that a company needs to
address such matters, e.g., bringing matters to the attention of upper management and Company governance,
or bringing these matters up in board meetings, so as to remedy them. This concealment would not have
been possible without the transfer of the CEO and Chairman of the Board to New York and these
Defendants took advantage of the CEO and Chairman of the Board’s presence in New York to manage and
oversee the creation of the debt and to keep it hidden from the parts of the Company’s body that were
needed to address the scheme, e.g., the CEO and Chairman of the Board.

          52.      JOHN BLOOD also took other efforts to create waste by sabotaging opportunities that the
Company had to create revenue and also did so by alienating investors who were not his affiliated investor
Defendants, i.e., those noted in ¶ 53 of EXHIBIT 1, including extremely bizarre actions such as leveling racial
insults at pharmaceutical executives.

           53.        As per Company documents, numerous concerns raised by the facts referenced in the
preceding paragraph were brought to the attention of the COPIC-appointed board members and to
COOLEY LLP, yet no action or investigation was taken by these fiduciaries to stop JOHN BLOOD. To the
contrary, the COPIC-appointed board members fought the efforts to address JOHN BLOOD’S waste (even
cryptically stating that the entire operation depended on JOHN BLOOD, which would only make sense if the operation involved
driving up the debt and using that as a basis for selling control of the intellectual property to COPIC and those with which it was
aligned), which constituted support of his aforementioned efforts. See, e.g., id. Similarly, COOLEY, LLP,
through Defendants MICHAEL L. PLATT and KELLY BARTLING refused to advise on the issue without
the entire board being present, which they did despite being warned by DR. HERNANDEZ that the COPIC-
appointed Directors were resistant to having the issue brought to the attention of the Board in any formal
capacity, which would require it take action on the best advice of counsel. In this, MICHAEL L. PLATT and
KELLY BARTLING took steps in contravention of Colo. RPC 1.13(a)-(d) and (f), further raising the
inference that their refusal to provide advice on an issue that they were actually required to give advice on was


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knowingly supportive of the efforts of the COPIC-appointed Directors and JOHN BLOOD to not have
these issues actually treated by the Company.

            54.        Under the totality of the circumstances, these aforementioned repeated refusals on the part
of the COOLEY-affiliated attorney Defendants concerned to advise the Company when advice was
requested by Company agents who certainly had the authority to request advice under the governing law and
rules¾and the fact that the refusal was on bases that violated the applicable and governing standards of conduct¾raise the
inference that the excuses given were pretextual and deceptive, and were, thus, affirmative steps in favor of a
scheme from which COOLEY, LLP profited (meant to avoid advising CERTA DOSE, INC. about a material
conflict of interest that COOLEY LLP had on account of its relationship with COPIC).

         55.     This determined refusal to address the dangers to CERTA DOSE, as also noted in the
preceding paragraph, served to insulate COPIC’S actions from proper treatment and discovery at a time
when CERTA DOSE still had enough money to operate for about a year without needing further
investment, if run properly: a factor that would not only have thwarted the evident takeover attempts by
JOHN BLOOD, COPIC, the COPIC-affiliated Directors and their affiliated investors earlier, but which also
would have minimized the associated financial harms that the Company suffered from the efforts that JOHN
BLOOD and the COPIC-affiliated Director Defendants continued to engage in to bring about that harm.
These determined refusals also show that COOLEY, LLP and its attorneys knew of these conflicts before all
of the money concerned was spent, going back to its initial concealment, but had determinedly kept those
issues from CERTA DOSE, INC., to whom it owed fiduciary duties of loyalty and candor. See also ¶¶ 26-33,
37, 53 of EXHIBIT 1.

           56.      The financial harm associated with the wrongs referenced in the preceding two paragraphs
would have been avoided if proper action had been taken by the attorneys concerned. Because these attorney
Defendants were also informed by the Company of the difficulty that the complained of circumstances were
creating for investment that coincided with its appraised value, i.e., the Scalar valuation, the attorney
Defendants were on notice that their excuses, obfuscation, concealment and refusal to comport with their
legal and fiduciary duties of loyalty, care and candor—as well as their duties to disclose the true nature of any conflict of
interest involving COPIC—also contributed to the loss of value that the Company suffered as the COPIC and
JOHN BLOOD-affiliated Defendants created that loss of value so as to later profit from it in a Series A
financing that provided an artificial discount to the COPIC and JOHN BLOOD-affiliated investors.

        57.     The facts concerned in the preceding paragraph illustrate another example of COOLEY
LLP and the attorneys concerned using legal pretext to conceal their improper relationships with the
Defendants, or other similarly-situated predatory investors, and, as a result, the benefits that those involved in the
improper relationships would all receive through the aid of this particular kind of concealment. See, e.g., ¶¶
26-42 of EXHIBIT 1.

     58.   The facts concerned in the preceding three paragraphs also illustrate examples of how
COOLEY LLP provided aid to faithless fiduciaries and their affiliates, doing so to the detriment of a client,
CERTA DOSE, to whom they owed fiduciary duties.

       59.     In the late Summer of 2019, investors affiliated with COPIC and JOHN BLOOD made
what appeared by all reasonable accounts to be a coordinated hostile takeover attempt, as JOHN BLOOD


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had coordinated meetings with those involved, which were kept secret from CERTA DOSE’S CEO and
Chair of the Board, coordinating efforts between his affiliated investors, as well as COPIC’S affiliated
investors.

          60.        With regard to the facts of the preceding paragraph, a demand was made by CERTA
DOSE for candor form the referenced fiduciaries¾JOHN BLOOD and the COPIC-affiliated Directors¾as to
the nature of their dealings with the affiliated investors, and further requesting candor with regard to the aims
that the faithless fiduciaries and affiliated investors concerned had for the Company. Nonetheless, the
demand was not honored, nor was the requested material information turned over to the Company or
provided by the fiduciaries concerned (despite the explicit acknowledgement by those fiduciaries that their fiduciary duties
did indeed require them to provide candor to the Company).

           61.       The outright refusal to comply with candor requirements reference in the preceding
paragraph¾particularly in light of the recognition by those fiduciaries of such obligations, as well as in light of statements which
indicated that the COPIC-affiliated Directors intended to take part in the transaction concerned, along with statements that they
also intended to invite only a specially invited list of family members and close affiliates, accidental admissions that they had
discussed more with COPIC and the affiliated investors than they were willing to share with CERTA DOSE, INC., as well as
the fact of the coordination between JOHN BLOOD, the COPIC-affiliated Directors and their related camps of secretly invited
investors, which ultimately resulted in the hostile takeover offers that were made to CERTA DOSE, INC. progressively becoming
worse through the elimination of any competition between these two camps¾raises the inference that there was self-dealing
on the part of these evidently faithless fiduciaries and it also raises an inference that all of those involved in
the two camps of affiliated investors were supporting the waste created by JOHN BLOOD, were benefiting
from that waste, and were operating in an illicit manner that was benefited by the various forms of
concealment employed by the various Defendants. See also EXHIBIT 1 at ¶¶ 22, 44, 57, 60, 67, 69-70. These
circumstances also demonstrate a certain meeting of the minds between all of the wrongful actors concerned
and further demonstrate that there was mutual support in a material and significant way that benefited all of
those involved in the hostile takeover scheme.

          62.      Given the circumstances raised in the preceding paragraph, an inference is also raised by the
facts involved that those concerned significantly supported the breach of fiduciary duties concerned by
coordinating with the evidently faithless fiduciaries for mutual reward at the expense of CERTA DOSE, INC.,
through a meeting of the minds with those faithless fiduciaries, and through taking part in a common plan
and scheme¾evidencing a meeting of the minds¾which would not have been possible if the parties concerned
had refused to so aid the faithless fiduciaries involved or contribute to their efforts in the ways referenced.

         63.     In September of 2019, the Board of CERTA DOSE voted to investigate the relationship
between JOHN BLOOD, the COPIC-affiliated Directors, as well as the true nature of the offers that were
being assembled for the Series A round. The Chair of the Board, DR. HERNANDEZ, who had urged the
investigation and pushed through the vote for an investigation, noted to the Board that its members owed a
duty to the noteholders and to the shareholders to make sure that their investments were protected.

        64.     With regard to the facts of the preceding paragraph, CERTA DOSE’S outside counsel at
the time, Defendant COOLEY LLP (through KELLY BARTLING), who was also a longtime associate of
JOHN BLOOD, had suggested, in prior Board meetings, that there was no such duty owed to noteholders.


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Nonetheless, the Chair of the Board took issue with that statement, even though COOLEY LLP’S
aforementioned position¾presented through Defendant KELLY BARTLING¾was also voiced, and approved
of, by the Directors that opposed the investigation.

         65.      Ultimately, and outside of the Board meeting, CERTA DOSE’S counsel at the time
(KELLY BARTLING of COOLEY LLP), after being confronted by CERTA DOSE’S Chairman, had to
admit that there indeed was a duty owed to the noteholders to protect their investment, but this admission
was only made to DR. HERNANDEZ after he had pressed her repeatedly outside of the Board meetings for
clarity on the point she had previously offered as advice to the Board. (This, along with the fact that
COOLEY, LLP refused to take action outside of board meetings, raises the strong inference not only that
COOLEY, LLP had previously lied in the board meetings concerned, but that it was using the very
mechanisms of the Company to actively avoid its legal obligations and to conceal its role in assisting COPIC
and JOHN BLOOD in their hostile takeover efforts.)

        66.      In subsequent meetings and communications to the other directors and to COOLEY LLP,
the Chair of the Board noted that that the red flags and irregularities surrounding the apparent coordination
between JOHN BLOOD, the waste he created and the offers of apparent hostile takeover, all indicated that
there was danger, which should be investigated, that threatened the value of the investments that those who
had already invested in the Company had made, and that such danger should be looked into before simply
proceeding, blindly, with a sale round that was surrounded by warning signs.

        67.      With regard to the facts of the preceding paragraph, there were also other indications, as
noted from what was advocated by JOHN BLOOD and the COPIC-affiliated Directors, in Company
meetings, that the promissory notes would not actually be treated with the same terms or ultimate valuation
that was to be provided to the potential COPIC and JOHN BLOOD-affiliated investors, who were being
jockeyed by the COPIC-affiliated Directors and JOHN BLOOD to come in on the Series A round. See
EXHIBIT 1 at ¶ 62.

         68.     As could also be noted from the positions that the Defendant took as to the danger noted by
DR. HERNANDEZ, the Directors who opposed the investigation, as well as JOHN BLOOD, were evidently
working with certain of the “potential Series A investors,” i.e., those other Defendants in this litigation who
are not attorneys, to eliminate the normal market factors and to drive down the value of CERTA DOSE’S
stock, thereby driving down the value of the investments that had previously been made into the Company,
while also driving down the value of the Company itself for all but those who would capitalize on the
lowered value. See, e.g., EXHIBIT 1 at ¶¶ 48-53.

          69.      JOHN BLOOD did not communicate to the good-faith noteholders, either before or after
cooperating with COPIC to extend the note maturity dates, that the only investors for a Series A would be his
and the COPIC-affiliated investors. In short, although the affiliated investors were purportedly offered the
chance to take part in the Series A, the other note holders were not offered the same opportunity. See also id.
Conversely, and as noted above, JOHN BLOOD, the COPIC-affiliated Directors and COOLEY, LLP were
unified in opposing disclosure to the 2017 noteholders of the opportunity or of other issues that greatly
affected their investment. (This further raises the inference that the waste that JOHN BLOOD and the
COPIC-affiliated Directors wrought upon the funds that had been provided through the notes was to benefit
their affiliated noteholders, both creating an opportunity for them and allowing only them to benefit in this


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opportunity to purchase the Company stock at an artificially discounted rate.) In this way, these interested
parties used unjust/deceptive measures, benefiting themselves while systematically neglecting or harming
weaker groups (i.e., the investors who did not have similar influence within the Company on account of
lacking involvement in the scheme), and the public good.

          70.      Nonetheless, instead of even extending the notes another 6 months and/or doing another
bridge round of investment (as they had done before), JOHN BLOOD and the COPIC-affiliated Directors
moved to extend the maturity of the notes by only 45 days. This was exactly enough time to “squeeze”
CERTA DOSE, financially, into taking a bad deal to survive. In September of 2019, the aforementioned
employee who was also a noteholder asked DR. HERNANDEZ, “How many times did John and Steve mention
the Company would be insolvent today if you didn't take the deal?” DR. HERNANDEZ responded, “At least
200 times today.” In this, it was evident that 45 days was just enough time to close a Series A deal with JOHN
BLOOD’S friends and repel any existing/active, and then courting, investors due to the weak cash position.
DR. HERNANDEZ and the aforementioned employee who was also a noteholder were desperately trying to
attract investors, yet JOHN BLOOD used some of his various financials to counter these efforts, only now
he was using the Company’s “high month” cash spend and its last cash position to give potential Series A
investors a picture that would cause them to run from CERTA DOSE.

        71.      CERTA DOSE’S outside counsel at the time, i.e., COOLEY, LLP, refused to answer direct
questions as to the likely harm that these circumstances posed for investors and the Company; nonetheless,
the COOLEY Defendants concerned had previously admitted, after being pressed significantly, that the
circumstances were generally problematic and suggestive of abuse. (Thus, they were willing to concede that
there was a troubling set of issues present, but they still refused to help address the problem, as noted earlier,
supra.)

            72.     With regard to the facts referenced in the preceding paragraph, the COOLEY LLP counsel
concerned had also noted that they represented COPIC, for which the two Directors who voted against the
investigation worked or had worked; similarly, and as also stated in the convertible promissory notes,
COOLEY LLP purported to represent the noteholders, although it had never notified the Company or the
noteholders of how these provisions would negatively affect and/or impact the Company or the noteholders.
See, e.g., footnote 5 of EXHIBIT 1.

          73.      At about this time (August of 2019 through September of 2019), COPIC had ordered an
appraiser’s valuation of CERTA DOSE, which came back at between $67 Million and $120 Million.
Although it was evident that the COPIC-affiliated Directors certainly intended to use this valuation for setting
the value that some investors would receive, it was also clear that they planned to offer a roughly $15 Million
valuation to their affiliated investors, with whom they had close ties. See, e.g., EXHIBIT 1 at ¶ 62. Thus, the
existence and apparent significance of these two different valuations, among other factors which indicated
that the noteholders would probably not be receiving the benefits that the COPIC and JOHN BLOOD-
affiliated investors would be receiving, presented a potential for abuse that could not be ignored. See id. It also
raises an inference that the faithless fiduciaries concerned sought to benefit from the waste caused by JOHN
BLOOD under the watch of the COPIC-affiliated Directors and that they also intended such waste as a
means to benefit themselves and their affiliates at the expense of CERTA DOSE, INC. (As such, the Chair
of the Board pressed the issue of the investigation with COOLEY LLP and with the COPIC-affiliated
Directors, reminding them all of the fiduciary duties implicated.) This raises an inference that the acts and


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omissions of the Defendants concerned, both before and after being pressed by DR. HERNANDEZ, were
knowing and intentional.

        74.      Nonetheless, and despite the aforementioned vote for an investigation, the COPIC-affiliated
Directors, who had opposed the investigation concerned, attempted to hold a meeting at COPIC
headquarters in Colorado, on October 4, 2019, with the apparent intent of forcing the sale on through
without an investigation. (Because the COPIC-affiliated Directors lacked the votes to do this, there were other
circumstances and factors present which indicated that the meeting was suspect, irregular, and was being
scheduled to facilitate the apparent hostile takeover concerned.)

          75.     Because of the danger that proceeding without vetting a sale, or looking into potential self-
dealing, posed for the Company and its investors, shareholder action was taken on October 4, 2019,
supported by an action without vote of the majority of shares in the Company, to suspend the COPIC-
affiliated Directors and JOHN BLOOD. These evidently faithless fiduciaries were also asked by the
Company to provide copies of the communications that they had exchanged with the potential Series A
investors to whom they had close ties, i.e., their affiliates, thus being further asked by the Company to comply
with their duty of candor. The evidently faithless fiduciaries concerned did not comply with these requests,
resulting in admissions by silence of their involvement in the referenced hostile takeover.

         76.     The faithless fiduciaries refused to turn over the requested communications and, instead, on
October 21, 2019, attempted to conduct another meeting at which it appeared quite evident that they were
seeking to force a sale through without an investigation.

          77.      In similar fashion to the breach of fiduciary duties referenced in the preceding paragraph,
and instead of providing advice to the sitting Board (now that its prior excuses for refusing to give advice on the dangers to
the Company had been removed by the suspension), COOLEY LLP resigned as counsel for CERTA DOSE without
addressing the pending questions that it had been asked, which was highly irregular given the requirements
placed upon COOLEY LLP by the rules of professional conduct. As such, these circumstances also raise a
further inference that COOLEY LLP had been avoiding disclosure of the nature of its conflicts, i.e., what
COPIC was planning to do to CERTA DOSE, and that COOLEY LLP was, thus, working to conceal its
role in the efforts of JOHN BLOOD, COPIC and their affiliates to prey upon CERTA DOSE (to whom
COOLEY LLP owed the duties of a fiduciary), as these acts of avoidance amount to an admission of silence and
also raise the inference that COOLEY, LLP was providing support for those involved in the referenced hostile
takeover, supporting the efforts at earlier stages, including those efforts that the other Defendants took to
bring about waste in the Company, as well as through obfuscation, concealment and even advice to COPIC
and/or JOHN BLOOD’S affiliates. See, e.g., EXHIBIT 1 at ¶¶ 53-56.

        78.      With further regard to concealment, the investigation following JOHN BLOOD’S
suspension revealed that budgets, which JOHN BLOOD had shown investors, the Board of Directors and
the controller are missing, including the vast body of Company documents that JOHN BLOOD kept on a
hard drive he brought into the Company’s Denver office. It is evident that JOHN BLOOD did not save
these materials on Company computers and that a fair amount of financial work which was in JOHN
BLOOD’S direct control went missing when he was suspended. Neither the controller nor the interim COO
were able to find the entire collection of JOHN BLOOD’S spreadsheets. This all raises an inference of



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concealment, which raises inferences of intent and malfeasance on JOHN BLOOD’S part (not merely
misfeasance).

           79.        To prevent the unauthorized act of the suspended Directors referenced in ¶ 102 of
EXHIBIT 1, and to provide the proper oversight (especially as the unauthorized act was being taken by suspended
fiduciaries before a sale’s actual terms could be vetted), the shareholder majority took additional action to remove the
two suspended members of the Board. Nonetheless, these removed, COPIC-affiliated Directors were once
more asked to provide their communications with potential/affiliated investors to the Company, which, once
more, they refused to do.

         80.     To fill these vacancies, new Board members were selected according to the governance
provisions to help the Company investigate the issues concerned and to provide additional guidance and
oversight. Following these appointments, the Board, with its new members and new counsel, became aware
that certain provisions within the AMENDED AND RESTATED CERTIFICATE OF
INCORPORATION, which had been amended with COOLEY LLP’S help between May 26, 2016 and June
13, 2016 in the aforementioned SERIES SEED 2 PREFERRED STOCK PURCHASE AGREEMENT
that COPIC insisted was valid, were written to prevent the noteholders from being issued preferred stock on
the terms they had been offered in their agreements (or from receiving the discount that they had been offered). CERTA
DOSE’S prior outside counsel, COOLEY LLP, who had written both the notes and the aforementioned
Certificate of Incorporation, evidently never informed the Company of this issue, as noted by the
investigation and review of the Directors on the new Board. Similarly, it became evident to the new Board,
from the circumstances concerned, that the provisions concerned were not made known to the noteholders
at the time they signed their agreements, nor at any time thereafter. (This seemed exceptionally unfair to the
new Board, as it further raised the inference that the waste of the funds of the noteholders, while keeping
them out of equity, were being used to facilitate the evident hostile takeover attempt involving COPIC,
JOHN BLOOD and their affiliated investors, while also raising the significant inference that the good faith
noteholders would not be treated equally with the COPIC and JOHN BLOOD-affiliated investors and
noteholders.) In this, it was also evident that the COPIC and JOHN BLOOD-affiliated noteholders,
although knowing of the waste, nonetheless expected to receive a significant benefit from the waste. (The
fact that the COPIC and JOHN BLOOD-affiliated noteholders were the only noteholders being invited by
JOHN BLOOD and the COPIC-affiliated Directors to take part in the Series-A financing—placing more money
into CERTA DOSE, INC., despite the waste that their fiduciaries concerned supported—further adds to these
inferences.) Furthermore, JOHN BLOOD tacitly admitted that the consequences of his actions were that the
CERTA DOSE, INC. shareholders would be receiving a “haircut,” which was a reference to significantly or
extremely diluting their ownership and control in the Company.

         81.       With regard to the facts of the preceding paragraph, it became clear to the new Board that
the noteholders had not been informed of these secret provisions, as the provisions were presented in a
separate instrument that they were never provided or informed of—despite COOLEY, LLP’S statements to
the contrary, i.e., the CERTIFICATE OF INCORPORATION—which would actually override the noteholders’
rights and what the noteholders had agreed to receive in the notes, i.e., preferred stock and the promised
discount. See also ¶ 97 of EXHIBIT 1. (If it had not ultimately been due to new legal advice, this would not
have become evident to the Company, as the restrictions on acquiring preferred stock were well hidden in
pages upon pages of the aforementioned Certificate of Incorporation.) See id.



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          82.       It was also discovered at this time, i.e., in the investigation following the suspension of
JOHN BLOOD and the COPIC-affiliated Directors, that JOHN BLOOD knew about the fact that the
noteholders would not get preferred stock and had even planned that result out by calculating the
noteholders’ equity as common stock in spreadsheets identifying what would occur on the Series A round
(noteholders would evidently not receive the preferred stock that was promised to them in their note agreements). See also ¶¶ 40-53
and 110-113 of EXHIBIT 1.

          83.      Documents and e-mail discovered on JOHN BLOOD’S computer and related accounts
also revealed that he had been calculating the financial benefit to his associated investor affiliates, as well as the
related loss to the Company’s majority shareholder, for about as long as he had been at the Company
following his return in early 2018. For example, one spreadsheet that JOHN BLOOD had calculated for his
affiliated investors—a document titled “Certa Dose_Funding Calculations_9.3.19,” which was made without Board
approval and concealed from both the Board and the CEO—listed a valuation for the Company of $15,000,000 on
September 3, 2019, although the Board was still purportedly running due diligence following the Scalar
valuation and ultimately determined, later that month, that it would endeavor for a market valuation. The
document only calculated the gains in the Company that JOHN BLOOD’S affiliated investors would have at a
valuation of $15,000,000, which was the valuation that all of those involved in the hostile takeover scheme
ultimately used, although it bore no relationship to the appraised value and had an explicit and recognized
connection to a change in the ownership structure of the Company. As noted in the previous paragraph, the
documents had the notes converting as common stock instead of preferred. JOHN BLOOD also created a
similar calculation for the COPIC-affiliated Defendants, raising the inference that the two groups were
coordinating information and a common scheme to profit from a Series A funding round that would be sold
to them at an artificial discount created by means of: (1) notes they purchased; (2) which were then knowingly
converted into looming debt that brought no legitimate benefit to the Company on account of the
management and fostering of that debt/waste by fiduciaries in the Company with whom these complicit
noteholders were affiliated; (3) supporting the maintenance of those faithless fiduciaries within the Company;
and (4) those faithless fiduciaries then setting an coordinating a low valuation of the Company from within,
while inviting only their affiliated noteholders to the Series A financing at the exclusion of other investors and
noteholders.

           84.      Based on the best information that the Company has, stemming from its investigation after
the suspension of JOHN BLOOD, JOHN BLOOD had also stated openly to subordinates who he
intimidated that his goal was to drive up the debt of the Company so as to achieve the kind of Series A that
he was trying to bring about, i.e., one where the Company was forced to sell in a state of desperation to his
associates and others with whom the associates cooperated, i.e., the COPIC-affiliated investors. Although he
kept this secret from upper management and the complete body of the Board (except, evidently, for the removed
COPIC-affiliated Directors, with whom, it was later found out, he spoke on a consistent basis in their unofficial, individual
capacities, outside of Board meetings), JOHN BLOOD’S actions, as referenced here and elsewhere in the
Complaint, indicate that he actually intended to spend away the investment provided to the Company in the
form of the notes, using it as a mechanism to lower the immediate value of the Company and provide it at a
discount to his affiliates. See, e.g., EXHIBIT 1 at ¶¶ 44-53.

         85.   In October and November of 2019, CERTA DOSE further cemented the evidentiary basis
for the combined efforts of JOHN BLOOD, COPIC and their affiliated investors to assist the waste created
by JOHN BLOOD and the other efforts that he had taken, with the COPIC-affiliated Directors to facilitate


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the hostile takeover of CERTA DOSE. CERTA DOSE did this by requesting further assurances from the
investors affiliated with COPIC and JOHN BLOOD, as per the terms of the convertible note agreements
and as per the requirements of the UCC, which also indicated that the failure to respond would be taken as an
admission by silence of aiding and abetting JOHN BLOOD, COPIC, and the COPIC-appointed Directors
in their efforts to cause and exploit waste to effect a hostile takeover. The COPIC and JOHN BLOOD-
affiliated investors, however, refused and otherwise failed to comply with these requests, establishing
admissions by silence, while also raising further inferences of their participation and support of the evident
scheme to exploit waste caused by the CERTA DOSE fiduciaries who were affiliated with the investors that
refused to provide further assurances.

         86.     In short, and with reference to the facts noted in the preceding three paragraphs, noteholders
expecting to receive preferred stock at the conversion of their notes in a Series A round would have, instead,
received common stock, despite the representations that had been made to them earlier. See, e.g., ¶ 97 of
EXHIBIT 1. The noteholders would have also been subject to a host of dilutive vehicles and provisions in the
Certificate of Incorporation that COPIC and COOLEY LLP intended to enforce, of which the noteholders
had evidently never been notified. (The new Board discovered these facts in November of 2019, although
COOLEY LLP, the firm that purportedly represented CERTA DOSE and even the noteholders, stated in
the convertible notes that it had notified everyone concerned of what was really going on, despite the fact it
had not actually provided any of the advice that would be necessary for there to be informed consent to
either the good-faith noteholders or CERTA DOSE.) As discovered once CERTA DOSE was able to speak
with new counsel, the restrictive provisions and legends of the aforementioned Certificate of Incorporation
would have pushed down the common stockholders and the noteholders’ value, greatly diluting the value of
their investment: doing so immediately, but, even more so, over time.

         87.         There were also provisions within the note agreements themselves that, under the totality of
the circumstances¾as discovered after JOHN BLOOD and the COPIC-appointed Directors had been removed¾had
been used to prevent the conversion of the notes. (This primarily took the form of a $1.5 Million Series A
minimum requirement, which was purportedly there to help value the round, but which was instead used by
COPIC to prevent the other 2017 noteholders from becoming equity holders as part of a scheme to gain
control of the Company at the expense of shareholders and the 2017 noteholders.) It became clear to the
new CERTA DOSE Board, however, that this provision would not give the same benefit to noteholders that
it would give to the potential investors to whom the removed Directors and suspended officer evidently had
close ties, i.e., the COPIC and JOHN BLOOD-affiliated investors. (All of the factors noted before made this
readily evident in the late October and early November phases of CERTA DOSE’S 2019 investigation into
these matters.)

         88.       Based on the totality of the circumstances, the Board determined that the barrier to
conversion had been used as an excuse to prevent the conversion of notes for some time, even though
greater than $1.5 million had been raised at various times before the push for the Series A round. Because the
provisions had evidently been drafted by COOLEY LLP to the benefit of COPIC and its affiliated investors,
it became evident that COOLEY LLP had coordinated with COPIC and JOHN BLOOD to both instruct
them as to the provisions and the best means to use them to accomplish their evident combined ends, while
affirmatively telling CERTA DOSE, INC. and the noteholders the opposite in the instruments concerned.




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            89.        To address the problems created by the instruments concerned (as noted, supra), the Board
was limited by a number of obstacles that had evidently been worked into the instruments by COOLEY LLP
to the benefit of COPIC and its affiliated investors. Thus, even though the 2017 noteholders had stated
numerous times that they wished to convert the debt of their notes into equity, they had¾as per the direction of
JOHN BLOOD, COPIC and COOLEY LLP¾simply agreed to push the notes back via previous
amendments, without removing this barrier provision. Ultimately, the Board had to ask all the noteholders
who had acted in good faith (those who were not affiliated and/or evidently cooperating with COPIC and JOHN BLOOD
in their efforts), if they agreed to amend the notes and be released from that restrictive provision. Greater than
50% of these required holders consented, as measured by the amount of investment held in the notes
concerned, and did so despite the previous amendments, agreeing to have that provision amended in the
notes.

          90.       This alone, however, would not have conclusively and absolutely removed the provisions
from the aforementioned Certificate of Incorporation that COPIC, through COOLEY LLP’S aid, evidently
sought to prevent the notes¾no matter how hard the Board may have otherwise tried¾from having the ability to
become preferred stock with the negotiated 20% discount. The legal steps that were needed to prevent that
injustice were taken by the Board on November 15, 2019 and are a matter of public record, as recorded in the
state of Delaware. Those instruments, which had also been shared with the Defendants prior to the initiation
of this litigation, are also incorporated herein by reference. See id.

                                      FIRST CAUSE OF ACTION
                                      (Breach of Fiduciary Duties)

    91. Plaintiff repeats the foregoing paragraphs with the same effect as if fully set forth herein.

    92. As alleged, all of the aforementioned fiduciary Defendant was an agent of the principal,
        CERTA DOSE, INC., owing it fiduciary duties.

    93. Nonetheless, Defendant acted in a manner that breached his fiduciary duties to the principal,
        Plaintiff CERTA DOSE, INC., by acting adversely towards that principal’s interests, by
        acting in bad faith, by acting in a manner inconsistent with their agency to the principal
        and/or by omitting to disclose interests which would naturally influence the conduct of the
        agents concerned when dealing within the scope of their agency, wherein disloyalty
        permeated the service of these agents in the most material and substantial part, substantially
        violating their contracts for service with CERTA DOSE, INC. See, e.g., ¶¶ 30-31, 36, 44-53,
        57-58, 60, 64-71, 76-82, 86, 90-91, 94, 98-99, 103-104, 106, 108, 110-112, 125, footnote 5 of
        Exhibit 1.

    94. Given the facts referenced in the preceding paragraph and throughout this Complaint, the
        Defendant forfeited all right to payment and compensation, as his conduct substantiality
        violated his employment contracts and agency relationships with CERTA DOSE, INC.,
        including any agreement to arbitrate. (This fact supports relief that CERTA DOSE, INC.
        seeks defensively with regard to any claims for payment that the faithless fiduciary may
        bring.)



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  95. The Defendant was a fiduciary of the Plaintiff, yet held on to undisclosed conflicts of
      interest and associated material facts that would have helped the Plaintiff avoid harm, by
      virtue of the facts alleged above and as created by COOLEY, LLP’S failure to comply with
      its obligations to obtain informed consent of any conflict waivers concerned.

  96. Additionally, the Defendant had actual knowledge, notice and/or constructive knowledge
      that diversion, misappropriation and waste of Company funds was occurring, especially as
      facts sufficient to cause a reasonably prudent person to suspect that funds were being
      misappropriated and wasted, and which would trigger a duty of inquiry on the part of agents
      owing a fiduciary duty, had come to their attention. See, e.g., EXHIBIT 1 to this Complaint at
      ¶¶ 44-53, 60, 69-71, 76-77, 86, 91, 94, 99, 103, 106, 112.

  97. Furthermore, the Defendant failed to conduct a reasonable inquiry and, as a result, are
      nonetheless charged with such knowledge as inquiry would have disclosed. See, e.g., ¶¶ 44, 60,
      69, 70-71, 76-77, 86, 91, 94, 99, 103, 106, 112 of EXHIBIT 1.

  98. As is evident, the Defendant concealed significant and material facts from Plaintiff CERTA
      DOSE, INC. in order to mislead or defraud said Plaintiff, wherein CERTA DOSE, INC.
      and the majority stockholders reasonably relied upon the Defendant concerned and suffered
      damage as a result of the reliance, thereby causing damages to the Company. See, e.g., ¶¶ 30-
      31, 36, 44, 48-51, 57-58, 64-69, 74-83, 86, 90, 98, 103-104, 108, 110-112, 125, footnote 5 of
      EXHIBIT 1. In this, the damages concerned include, but are not limited to those referenced
      in ¶ 185 of EXHIBIT 1. (Nonetheless, damages would, of course, at a minimum include
      nominal damages.)

  99. As is evident, the Defendant concealed significant and material facts from CERTA DOSE,
      The aforementioned employee who was also a noteholder and the other 2017 noteholders in
      order to mislead or defraud them, wherein CERTA DOSE and the good faith 2017
      noteholders reasonably relied upon the Defendants concerned and suffered damage as a
      result of the reliance. See, e.g., id.; see also ¶¶ 53-57 and footnote 5 of EXHIBIT 1. In this, the
      damages concerned include, but are not limited to, those referenced in ¶ 185 of EXHIBIT 1.
      (Nonetheless, damages would, of course, at a minimum include nominal damages.)

  100.         As per the facts recounted above, the Defendant was, at best, willfully blind and/or
     overlooked the careless, reckless, willful and/or intentional efforts of JOHN BLOOD to
     drive up the debt of the Company and to cause waste of the Company’s assets (which, itself, is
     a breach of fiduciary duties); thus, placing the Company in a position where it was weakened, had
     lost available revenue and funds, and where it’s control and assets could more easily be taken
     over and/or away from its good faith shareholders and its good faith investors. See, e.g.,
     EXHIBIT 1 at ¶¶ 29, 44, 57, 60, 67, 69-71, 77, 109-111. This was particularly the case
     because these fiduciary Defendant had failed to take proper action, had failed to disclose
     material information that the Defendant knew and/or should have known would have
     helped the Company to avoid harm, and because these Defendant even failed to inform or
     advise the Company as to dangers about which they were specifically asked to address. See,
     e.g., ¶¶ 72-83 of EXHIBIT 1.


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  101.         Furthermore, JOHN BLOOD worked and/or coordinated with entities and persons,
     i.e., the other non-attorney Defendants listed in ¶¶ 129 and 131 of EXHIBIT 1, to lower the
     value of the Company’s stock and the value or its shares via¾among other
     things¾endeavoring to coordinate the offers that said investors made to the Company in
     such a way as to remove the market force of competition, thereby manipulating the value of
     the Company’s stock in a way that was improper and to the detriment of CERTA DOSE,
     INC. See, e.g., ¶¶ 29, 44-57, 60-62, 67, 69, 70, 71-72, 77, 85, 88, 96, 98-102, 108-110 of
     EXHIBIT 1.

  102.        Despite being an officer and CFO of Plaintiff CERTA DOSE, INC., JOHN
     BLOOD exercised greater loyalty to a group of outside investors with whom he was
     affiliated¾including ANTHONY R. MAYER, PHOEBE FISHER, LFD III GRAT-TRUST
     U/A 8-26-2015 (KATHERINE DRISCOLL, Trustee), and LEE F. DRISCOLL¾than he
     gave to CERTA DOSE, INC., doing so to the direct detriment of the CERTA DOSE,
     INC., which he did by acting as an agent to the benefit of these Defendants, yet at the
     expense of Plaintiff CERTA DOSE, INC., which he also did by endeavoring, within
     CERTA DOSE, INC., to position these investors in a place where they could more easily
     gain control, and have a better position than the shareholders of, and good-faith investors in,
     CERTA DOSE, as well as any other interested investors who were providing and/or
     offering benefits and/or better terms to the Company and the interests of its shareholders
     that JOHN BLOOD’S affiliated investors were evidently willing to offer. See, e.g., ¶¶ 29, 44,
     57, 60, 67, 69-71, 77, 109-111 of EXHIBIT 1.

  103.        In addition to the waste he caused within the Company (so as to better the position of
     himself and his affiliated investors), JOHN BLOOD purposefully and intentionally neglected and
     endeavored to waste opportunities that came to the Company from other outside sources,
     doing so to benefit the aforementioned affiliated investors, which he ultimately did as a part
     of the harm that he brought to CERTA DOSE, INC. in his efforts to bring about a
     transaction that his affiliated investor Defendants sought to enter with the Company in late
     September of 2019 and October of 2019, which included the purchase of Plaintiff CERTA
     DOSE’S stock. See, e.g., ¶¶ 29, 44, 57, 60, 67, 69-71, 77, 109-111 of EXHIBIT 1.

  104.       By the actions identified in the preceding two paragraphs, JOHN BLOOD breached
     his duty of loyalty to CERTA DOSE through conflicts of interest, through self-dealing, and
     through the harms referenced in the preceding two subparagraphs, as well as through the
     damage to CERTA DOSE that ultimately stems from the harms attributed to JOHN
     BLOOD in this Complaint.

  105.        As such, the Defendant was a foreseeable, probable, effective, natural and direct
     cause of the harm suffered by the Plaintiff and therefore (in addition to the liability they share for
     the economic harm, devaluation and damages caused to Plaintiff CERTA DOSE, INC.), caused
     damage whenever he received and/or charged for services, which were rendered
     meaningless due to said Defendant’s disloyalty.




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  106.       Thus, the Defendant, although being a fiduciary of Plaintiff CERTA DOSE, INC.,
     acted in ways that constituted misconduct, in ways that included self-dealing and personal
     interest conflicts, wherein the Defendant acted contrary to the interests of CERTA DOSE,
     INC. and its shareholders, to whom they owed duties of loyalty, candor and care, and whom
     he ultimately caused damages on account of said breaches of his fiduciary duties, including,
     but not limited to: (1) waste of the $8,000,000 invested in CERTA DOSE, INC. via the
     promissory notes; (2) holding the Company back from what would otherwise be its realized
     value of $127,000,000, and bringing it to a point where it had to settle with noteholders at a
     negotiated value of $25,000,000, a difference of $102,000,000; and (3) lost revenues in an
     amount to be provided in discovery. See ¶ 185, ¶¶ 44-57, footnote 4 of EXHIBIT 1.

  107.     In the alternative, the Defendant caused the Plaintiff¾at the very least¾nominal
     damages.

                            SECOND CAUSE OF ACTION
           (Breach of the Covenant and Duty of Good Faith and Fair Dealing)

  108.       Plaintiff repeats the foregoing paragraphs with the same effect as if fully set forth
     herein.

  109.      At all times herein reference, Plaintiff acted in good faith and performed its part of
     the contracts and instruments referenced, particularly the employment contracts it had with
     the Defendant.

  110.       By taking part in, and by also aiding and abetting of a breach of fiduciary duties, as
     referenced above, by taking part in an improper takeover attempt, and as otherwise noted in
     the circumstances that are alleged in this Complaint, the Defendant acted improperly and/or
     in bad faith and, therefore, is subject to claims for breach of the implied covenant of good
     faith and fair dealing as well as the associated duty of good faith and fair dealing, which the
     Defendant breached in all of the contracts in which they are parties with the Plaintiff.

  111.        As such, the actions and omissions of the Defendant, and his associated actions
     constituting breaches, which are summarized and recounted in ¶¶ 120-148 of EXHIBIT 1,
     caused damages to the Plaintiff in the ways recounted above, including, but not limited to
     those referenced in ¶ 185 of EXHIBIT 1. In the alternative, the Defendant should not be
     able to enforce any provision of any contract that he may have with the Plaintiff, against the
     Plaintiff, as per the first breach rule and should also lose the right to enforce all equitable
     rights against the Plaintiff.

                                THIRD CAUSE OF ACTION
                                   (Breach of Contract)

  112.       Plaintiff repeats the foregoing paragraphs with the same effect as if fully set forth
     herein.



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  113.       At all times herein reference, the Plaintiff acted in good faith and performed its part
     of the contracts and instruments referenced, particularly any employment agreement that it
     had with Defendant.

  114.         By breaching the implied covenant and duty of good faith and fair dealing through
     the actions that the Defendant took, as noted above, and by failing to provide further
     assurances, the Defendant breached and repudiated their duties to the Plaintiff in the
     respective contracts and agreements concerned through anticipatory breach, as recognized in
     the common law and the UCC (by their conduct and by their refusal to give further assurances),
     thereby demonstrating that he had breached the purposes of the agreements, which
     involved, as an implicit terms, that the Defendant would not taking part in the hostile
     takeover, contribute to and/or cause waste to the funds provided through the notes, or
     interfere in such a way as to cause interference with the economic and prospective economic
     (as later evidenced by the Defendants’ failure to provide further assurances and/or through their associated
     admissions by silence, which breached a specific term in the agreements). (The Defendant, therefore,
     cannot enforce the terms of the contracts against the Plaintiff, having repudiated the
     agreements through anticipatory breach.)

  115.        As such, the Defendant is subject to claims for breach of contract, including a breach
     of all the securities instruments and other agreements that the Defendant entered into with
     the Plaintiff, as well as all the amendments and restatements thereof.

  116.        As such, the Defendant harmed the Plaintiff and caused damages to Plaintiff,
     including damages to the Plaintiff’s interests in the investments concerned, as referenced in
     this Complaint, especially as the Defendant caused measurable damage to the Company
     itself. See ¶ 185 of EXHIBIT 1. The Defendant, therefore, cannot enforce the terms of the
     contracts against the Plaintiff, particularly any arbitration agreement that was a part of his
     overall scheme to defraud the Plaintiff, having repudiated the agreements through
     anticipatory breach. Furthermore, the Defendant is at least liable for nominal damages.


                            FOURTH CAUSE OF ACTION
 (Fraud, Constructive Fraud, and Aiding and Abetting Fraud and/or Constructive Fraud)

  117.       Plaintiff repeats the foregoing paragraphs with the same effect as if fully set forth
     herein, including, but not limited to the allegations that identify fiduciaries, facts that
     would¾as a matter of law¾require disclosure by the Defendant, and those facts depicting
     deception, affirmative misrepresentation and a failure to disclose material facts and
     information to the Plaintiff. See, e.g., ¶¶ 30-31, 36, 48-53, 57-58, 64-69, 74-83, 86, 90, 98, 103-
     104, 108, 110-112 of EXHIBIT 1.

  118.       By keeping material information from the Company, although he was a Company
     fiduciary, the Defendant harmed CERTA DOSE, INC. when he deprived the Company of
     funds and assets after it reasonably relied on communications that were false and/or false in
     the absence of the material information withheld, as noted above, subjecting said Defendant


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     to claims for fraud, constructive fraud and/or aiding and abetting such fraud and/or
     constructive fraud, including the Defendant’s inducement of the Plaintiff to enter the
     agreements and instruments listed, supra, and the withholding of the following material
     information:

        a. Information wherein the Company’s counsel, COOLEY LLP, was cooperating with
           COPIC INSURANCE COMPANY to draft Plaintiff’s corporate instruments
           identified in ¶¶ 33, 37 and 53 of EXHIBIT 1, in a way that would ultimately provide
           all ownership of the Company, and ownership of its assets, to COPIC—in a hostile
           takeover—if the transactions were entered (something that went against the legitimate and
           purported intent of the transactions and which COOLEY, LLP specifically stated was not the
           case, providing affirmative misrepresentations);

        b. The coordination and cooperation that the parties took part in with regard to the
           actions of a hostile takeover, which are—by definition—deceptive acts. General
           Business Law § 349; N.Y. Bus. Corp. Law § 1609(c); Delaware Tender Offer Act, 8
           Del.C. § 203;

        c. Relevant and material information as to the intentional and the artificial nature of
           JOHN BLOOD’S efforts to drive up of debt and to create waste, thereby preventing
           the Company from having rightful access to material information that would have
           changed how it approached all of the transactions that involved any of the
           Defendants concerned, including those transactions listed in ¶¶ 33, 37 and 53 of
           EXHIBIT 1, which specifically include dates of the transactions wherein such material
           information was withheld from Plaintiff (see, e.g., ¶¶ 42-53, 72-83 of EXHIBIT 1.
           supra); and

        d. That JOHN BLOOD created and used multiple copies of the Company’s books,
           with competing and inconsistent information, to conceal the true nature of JOHN
           BLOOD’S efforts at CERTA DOSE, INC., and which he used to conceal true and
           material information from the Company that would have alerted it as to his aims. See,
           e.g., Exhibit 1 at ¶ 159.

        e. As such, i.e., in these ways, the Defendant made representations of fact that were
           either untrue or recklessly made;

        f. As such, the Defendant made false and misleading statements to the Plaintiff;

        g. As such, the Defendant made misrepresentation of facts that he knew to be false
           and/or which were deceitful, and which were made with intent to induce the
           Plaintiff’s reliance upon such statements; and

        h. Plaintiff justifiably relied upon the Defendant’s false, deceitful and misleading
           statements, especially as the deceptions were based on the Defendant gaining the
           confidence of the Plaintiff, i.e., a confidential relationship, the use of agents, and also


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             made use of fiduciaries and attorneys on matters in which it is the rule that one
             should be able to trust the party making the communication and/or should trust that
             all material information needed for one’s own good is provided and not intentionally
             withheld. See, e.g., EXHIBIT 1 at ¶ 159.

  119.         As such, by his actions the Defendant was the cause of damages to the Plaintiff and
     is liable for such damages. See ¶ 185 of EXHIBIT 1.

                                FIFTH CAUSE OF ACTION
                                      (Conversion)

  120.       Plaintiff repeats the foregoing paragraphs with the same effect as if fully set forth
     herein.

  121.       JOHN BLOOD’S efforts to drive up the debt of the Company through the
     aforementioned efforts to benefit from weakening the Company, and too cooperate with
     others in a destructive hostile takeover attempt, the Defendant received a benefit in the form
     of strengthening his position ant that of his affiliates to take over the Company; thus, JOHN
     BLOOD converted Company funds which he did not have a right to so convert. See, e.g., ¶¶
     42-53, footnote 4, 60, 69, 70-71, 76-77, 86, 91, 91, 94, 99, 103, 106, 112 of EXHIBIT 1.

         a. In the ways identified, the Defendant took part in unauthorized dominion over
            identifiable funds, particularly the $8 Million in investment funds, to which the
            Plaintiff had an immediate and superior right of possession.

  122.      By the waste concerned, and by attempting to acquire a benefit therefrom, the
     Defendant caused damages to the Plaintiff in the ways otherwise recounted in the
     Complaint, including but not limited to the foreseeable damages to the Company that
     stemmed from the waste of the roughly $8 Million invested in CERTA DOSE, INC. See ¶
     185 of EXHIBIT 1.

                             SIXTH CAUSE OF ACTION
 (Equitable Relief, Amotion, Disgorgement of Shares and Loss of Status as Stockholders)

  123.       Plaintiff repeats the foregoing paragraphs with the same effect as if fully set forth
     herein.

  124.        Given the above-referenced breaches of good faith and fair dealing, the breaches of
     fiduciary duties, and the aiding and abetting of the breach of those duties—all of which are
     inequitable—the Defendant has broken the bonds essential to membership and to being part
     of a company, and are, therefore, subject to claims for amotion.

  125.       Given that the Defendant may purport to own stock, some stake, interest or equity
     in Plaintiff, CERTA DOSE, INC., but has broken the bonds essential to membership,
     equity, recoupment, profit, and even to being part of a company, and has thus caused the


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        Company damages in excess of the value of any stock he could claim to have right in; and
        given that it would be improper to permit such a disloyal and faithless fiduciary and/or
        member to maintain a benefit in any instrumentality of their wrongdoing, said Defendant is
        subject to claims for disgorgement of stock and shares, unjust enrichment, equitable fraud,
        and estoppel, particularly as, by his aforementioned actions which are recounted here by
        incorporation, the Defendant was the cause of damages and harm to the Plaintiff. See ¶ 185,
        of EXHIBIT 1. (Furthermore, any disenfranchisement by the Company against Defendant
        should also be recognized in Court.)

                   STATEMENT AS TO THE DAMAGES AND RESULTS
                 OF THE DEFENDANT’S AFOREMENTIONED ACTIONS

    126.       Plaintiff repeats the foregoing paragraphs with the same effect as if fully set forth
       herein.

    127.       By the breaches referenced above, and by the actions and omissions referenced, the
       Defendant breached duties owed to the Plaintiff, and to society, which were the actual,
       expected, foreseeable, natural, direct and proximate cause of the associated damages
       referenced, including those damages referenced in the relief requested, supra. In short, the
       Defendant caused waste of the funds borrowed from investors, charged for services for
       which he, given his faithlessness and disloyalty, had no right, and caused the Company to
       reach a position where its value was treated as roughly $15 Million, ultimately necessitating
       the Company to settle with most good faith investors at a valuation of $25 Million. In this,
       the Defendant caused the Company to be set back in reaching the full potential of the
       objective valuation of roughly $127 Million, a present difference of roughly $100 Million, as
       well as the waste of roughly $8 Million in investments moneys previously referenced. These
       numbers are supported by an accountant’s review of where the Company would be and
       would also likely be in the absence of the harms perpetrated, an accounting of the damages
       stemming from those harms, and as also based on the appraisals of the Company that were
       made by a licensed appraisal firm, i.e., Scalar. Furthermore, because the damages were a
       result of wanton and reckless behavior, and of malicious acts, it is just to punish the
       Defendant to protect society from similar acts.

                                           PRAYER FOR RELIEF

WHEREFORE, the Plaintiff seeks relief from the Court that includes judgement against the
Defendant on all of the claims and causes of action referenced above, for money damages of
$102,500,000 (and the highest amount permitted, if ultimately including punitive damages that may be awarded by
the Court), for interest thereon, respectively, from the date of December 20, 2014, as well as for
equitable relief in the form of amotion, disgorgement of shares and recognition of
disenfranchisement in the status of a stockholder in CERTA DOSE, INC., for the costs in this
action, for all equitable remedies affordable to the Plaintiff on the facts alleged, and for any and all
other relief or claims that may be just and proper under the circumstances and/or facts referenced in
this Complaint.



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                                        JURY DEMAND

       PLAINTIFFS DEMAND TRIAL BY JURY ON ALL ISSUES SO TRIABLE.

       DATED: January 19, 2021.
                                     Respectfully submitted,
                                             /s/ Josue David Hernandez
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                                             CO BAR No. 44509
                                             ATTORNEY FOR THE PLAINTIFF

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